Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 1 of 264 PageID 8508




                             PX6(1)

         (PX6-1 through PX6-257)

       Excerpts and Exhibits
    From Corporate Defendants’
        30(b)(6) Deposition
         (2/15/17-2/16/17)
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                             In the Matter of:

                   FTC v. Roca Labs, Inc., et al.

                            February 15, 2017
                             George Whiting




                       Condensed Transcript with Word Index




                         For The Record, Inc.
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                                                                         PX6-1
  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 3 of 264 PageID 8510
                                                      Whiting
FTC v. Roca Labs, Inc., et al.                                                                       2/15/2017
                                                          1                                                    3
  1                    I N D E X                               1          UNITED STATES DISTRICT COURT
  2                                                                       MIDDLE DISTRICT OF FLORIDA
  3   WITNESS                               PAGE
  4                                                            2               TAMPA DIVISION
  5   GEORGE WHITING                                           3   FEDERAL TRADE COMMISSION,
  6          BY MR. SETTLEMYER                 5                          Plaintiff,
                                                               4
  7
  8   EXHIBITS        DESCRIPTION             PAGE             5   ROCA LABS, INC., a corporation, et al.
  9    1 Copy of Rule 30(b)(6) Notice                          6                   Defendants.
          of Deposition                        5                   ________________________________
 10
       2   Copy of the Federal Trade                           7
 11        Commission's complaint                              8                   Wednesday, February 15, 2017
           (First Amended)                     5                                   Offices of Shumaker, Loop &
                                                               9
 12
       3   Copy   of Answer of Defendant,                     10                   Kendrick, LLP
 13        Roca   Labs, Inc.                   5              11                   101 East Kennedy Boulevard
 14    4   Copy   of Answer of Defendant,                                          Suite 2800
           Roca   Labs Nutraceuticals,
                                                              12
 15        USA,   Inc.                         5              13                   Tampa, Florida
 16    5   Copy   of Answer of Defendant,                     14
           Must   Cure Obesity                 5                      The above-entitled matter came on for
                                                              15
 17
       6   Copy of Roca Labs Form 1120                        16   deposition, pursuant to Notice, at 9:32 a.m.
 18        (2010 corporation income                           17
           Tax return)                        20
                                                              18
 19
       7   Copy of statement dated                            19
 20        31/July/2013                       23              20
 21    8   Copy of Roca Labs profit
           and Loss, January-December
                                                              21
 22        2013                               23              22
 23    9   Copy of document reflecting                        23
           sales numbers in years                             24
 24        2009-2015                          34
 25                                                           25

                                                          2                                                    4
  1   EXHIBITS        DESCRIPTION                    PAGE      1   APPEARANCES
  2   10 Copy of document reflecting                           2   ON BEHALF OF THE FEDERAL TRADE COMMISSION:
          sales numbers in years
                                                               3          MICHAEL J. DAVIS, ESQ.
  3       2009-2015                                  34
  4   11 Copy of trademark filings                   44        4          CARL H. SETTLEMYER, III, ESQ.
  5   12 Copy of trademark filings                   44        5          600 Pennsylvania Avenue, NW
  6   13 Copy of trademark filings                   44        6          Washington, DC 20580
  7   14 Copy of trademark filings                   44                   (202) 326-2458
      15 Copy of restructuring agreement             45        7
  8
  9   16 Copy of application to open                           8          EMAIL: mdavis@ftc.gov
          account                                    46        9                 csettlemyer@ftc.gov
 10                                                           10
      17    Copy of FDMS merchant services                         ON BEHALF OF THE DEFENDANT, GEORGE WHITING:
            Application                              47       11
 11
 12   18    Copy of American Express                          12          SUZETTE MARTENY, ESQ.
            Statements (3/13-12/13)                  49       13          SHUMAKER, LOOP & KENDRICK, LLP
 13                                                           14          101 East Kennedy Boulevard
      19    Copy of American Express                                      Suite 2800
                                                              15
 14         Statements (1/14-2/15)                   49
 15   20    Copy of American Express                          16          Tampa, Florida 33602
            Statements (2/14-1/15)                   49       17          (813) 229-7600
 16                                                           18          EMAIL: Smarteny@slk-law.com
 17                                                           19
 18
 19                                                           20   Also present:   Mr. Don Juravin
 20                                                           21
 21                                                           22
 22                                                           23
 23
 24                                                           24
 25                                                           25


                                                                                                 1 (Pages 1 to 4)
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                                                        Whiting
FTC v. Roca Labs, Inc., et al.                                                                         2/15/2017
                                                          5                                                         7
  1      (Plaintiff's Exhibit Nos. 1 through 5 were            1   BY MR. SETTLEMYER:
  2    premarked for identification.)                          2     Q. Back on. All right. So, first exhibit is
  3               PROCEEDINGS                                  3   the Rule 30(b)(6) deposition notice, I'll put
  4              --------                                      4   here in front of Mr. Whiting since he'll be up
  5    Whereupon,                                              5   first. Copies for me. You'll have to share,
  6               GEORGE WHITING,                              6   unfortunately.
  7    a witness, called for examination,                      7           Exhibit 2 is a copy of the
  8    having been first duly sworn, was                       8   Federal Trade Commission's complaint in this
  9    examined and testified as follows:                      9   matter. I'll just put that. The first
 10               EXAMINATION                                 10   amended complaint I'll say.
 11            MR. SETTLEMYER: Good morning, everyone.        11           MS. MARTENY: Okay.
 12        My name's Carl Settlemyer. I'm an                  12   BY MR. SETTLEMYER:
 13        attorney for the Federal Trade                     13     Q. Exhibit 3 is the answer of defendant, Roca
 14        Commission. We're here in connection               14   Labs, Inc. Exhibit 4 is the answer of defendant,
 15        with FTC versus Roca Labs, et al. With             15   Roca Labs Nutraceuticals USA, Inc.
 16        me is Mike Davis, also with the FTC.               16   Exhibit 5 is the answer of defendant, Must
 17        And the others in the room to                      17   Cure Obesity. We don't necessarily have to
 18        introduce themselves for the record,               18   refer to those right now. I'm just offering
 19        please.                                            19   them for convenience later.
 20            THE WITNESS: I'm George Whiting.               20           We'll start with Exhibit 1, which
 21        W-h-i-t-i-n-g.                                     21   is the Rule 30(b)(6) deposition notice. And
 22            MS. MARTENY: Suzette Marteny,                  22   before I ask Mr. Whiting questions about that,
 23        attorneys for defendants.                          23   I just want to ask you general questions.
 24            MR. JURAVIN: Don Juravin. J-u-r-a-v-i-n.       24        Mr. Whiting, you understand that you've
 25            MR. SETTLEMYER: Today is the Rule 30(b)(6)     25   taken an oath to tell the truth. Correct?

                                                          6                                                         8
  1        deposition of Roca Labs, Inc., Roca Labs            1     A. That is correct.
  2        Nutraceutical USA, Inc., and Must Cure Obesity      2     Q. I'll try to finish my questions before
  3        Co. and we have -- Mr. Whiting and Mr. Juravin,     3   you begin any answer, and I would ask that
  4        I understand, are here to be the                    4   you -- I will try to let you finish your
  5        representatives of those three                      5   answer before I start asking another question.
  6        defendants. Is that correct?                        6   Please answer audibly with words, not nods or
  7            MS. MARTENY: That's correct.                    7   uh-huhs. Do you understand?
  8            MR. SETTLEMYER: Okay. And I believe             8     A. Yes.
  9        Mr. Whiting is prepared to testify on               9     Q. If you don't understand a question,
 10        behalf of Roca Labs, Inc., and I                   10   please tell me. I'm not trying to trick or
 11        suppose to the extent necessary, Zero              11   confuse you. If you answer, I'll assume you
 12        Calorie Labs, Inc., another defendant              12   understood. You understand?
 13        in connection with several of the                  13     A. I understand.
 14        topics for today's deposition.                     14     Q. If you hear your attorney make an
 15            I've had marked as exhibits several            15   objection to a question, you should go ahead
 16        documents, and I would just like to go             16   and answer the question unless they're making
 17        ahead and put those out on the table               17   an objection based on privilege and
 18        and recite what they are. And we can               18   instructing you not to answer.
 19        refer to those early on and, then, try             19           Ms. Marteny may at times object to
 20        to front load our questions so we get              20   things for form, but you may still have to
 21        Mr. Whiting's portion of this done as              21   answer the question. If you need a break,
 22        expeditiously as possible.                         22   say something. We can take a break, and
 23            MS. MARTENY: Yes.                              23   we'll try not to do that when a question is
 24            MR. SETTLEMYER: Pause for two seconds.         24   pending. But please let us know. You
 25            (Off the record from 9:33 a.m. to 9:34 a.m.)   25   understand?

                                                                                                    2 (Pages 5 to 8)
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                                                     Whiting
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                                                      13                                                      15
   1      A. I talked briefly with Don. But not --          1     A. I recall we talked about them. Yes.
   2    you know, we didn't go into any great detail        2   I don't recall the substance of the
   3    or anything.                                        3   conversation.
   4      Q. Okay. And are there any people other           4     Q. Are you prepared as representative of Roca
   5    than Don and your attorneys who you could have      5   Labs, Inc. to adopt your personal testimony from
   6    consulted with to obtain information relevant       6   your January 11, 2017 deposition about the Roca
   7    to topic one that you did not consult with?         7   Labs 2011, 2014, and 2015 tax returns as that of
   8      A. I suppose I could have talked to Hal           8   the company?
   9    Hershkowitz.                                        9     A. Yes.
  10      Q. He's an accountant?                           10     Q. Mr. Whiting, I believe on January 11,
  11      A. He's a CPA in St. Petersburg.                 11   2017, you also testified about corporate
  12      Q. And he's done accounting work for Roca        12   structure and some Secretary of State
  13    Labs, Inc.?                                        13   records relating to Roca Labs, Inc. Do
  14      A. He's assisted us.                             14   you recall that generally?
  15      Q. Okay. And when you refer to Don, you're,      15     A. Generally, yes.
  16    of course, referring to Don Juravin. Correct?      16     Q. Okay. Are you prepared as representative
  17      A. Yes.                                          17   of Roca Labs, Inc. to adopt your individual
  18      Q. Who's a defendant in this case.               18   testimony from January 11, 2017 about the
  19    Did you review the records of any other person     19   Roca Labs, Inc. Secretary of State records and
  20    other than your own in order to prepare for        20   corporate structure as the testimony of Roca
  21    today's deposition?                                21   Labs, Inc. today?
  22      A. No. Let me be very clear about this.          22     A. Yes.
  23    When you're asking about records and               23     Q. Let's see. Now, Mr. Whiting, you're
  24    documents and all that, I took a look -- I         24   also here, to the extent relevant, as the
  25    skimmed through what was on my computer.           25   representative of Zero Calorie Labs, Inc.

                                                      14                                                      16
   1       Q. Okay. All right. Now, in order to             1   Is that correct?
   2    perhaps economize on time, I'm going to ask you     2     A. Yes.
   3    if you recall testifying about Roca Labs, Inc.      3     Q. At least as to the topics we
   4    bank statements in your January 11 deposition.      4   enumerated earlier. Right?
   5       A. Yes, I do.                                    5     A. Yes.
   6       Q. Are you prepared as a representative of       6     Q. In terms of your own previous testimony,
   7    Roca Labs, Inc. to adopt your individual            7   you've made any testimony about Zero Calorie
   8    testimony from January 11th as the testimony of     8   Labs, Inc. in your deposition on January 11th
   9    the company as to your discussion of Roca Labs,     9   based on your own personal knowledge. Is that
  10    Inc. bank statements on January 11th?              10   correct?
  11       A. Yes.                                         11     A. That is correct.
  12            MR. SETTLEMYER: Okay. So, I will           12     Q. Since that time, did you do anything
  13         forgo detailed questioning of                 13   additional to prepare to testify today as
  14         Mr. Whiting on those. But I won't             14   to the deposition topics for -- as they relate
  15         promise that that won't come up at some       15   to Zero Calorie Labs?
  16         point. Can we go off the record for           16     A. As I said earlier, I just skimmed
  17         one minute?                                   17   through what was on my computer. Some of it
  18            (Off the record from 9:44 a.m.             18   was Roca. Some of it was Zero.
  19    to 9:45 a.m.)                                      19     Q. So, when you were discussing what
  20    BY MR. SETTLEMYER:                                 20   you did for Roca Labs just a few minutes ago,
  21       Q. Back on the record. Mr. Whiting, I           21   is that essentially coextensive with what you
  22    believe on January 11th you personally testified   22   did to prepare to testify on behalf of Zero
  23    about the Roca Labs income tax returns, Roca       23   Calorie Labs, Inc.?
  24    Labs, Inc. income tax return for 2011, 2014, and   24     A. Yes.
  25    2015. Do you recall that?                          25     Q. On January 11th you testified, if you

                                                                                             4 (Pages 13 to 16)
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                                                        Whiting
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                                                        21                                                       23
   1       A. Yes.                                            1     Q. Forty-seven. Yes. I'm sorry. 423,247
   2       Q. Okay. So, in line one of the 2010 tax           2   and 75 cents.
   3    return for Roca Labs, Inc., Exhibit 6 --              3     A. Yes.
   4       A. Mmm-hmm.                                        4     Q. How was that number in line 22 derived?
   5       Q. -- what is the source of the gross              5     A. Again, I worked exclusively off the
   6    receipts for Roca Labs, Inc.?                         6   bank statements, and when I saw entries for
   7       A. The source for the gross receipts               7   things like Google, Facebook, they were
   8    would have been the deposits on the bank              8   advertising, and that's how the numbers were
   9    statements.                                           9   derived.
  10       Q. That's the source of the information.          10     Q. Okay. Let me back up to line one again
  11    But what would be the source of the receipts,        11   just to state for the record we agreed that that
  12    of the actual funds?                                 12   figure, gross receipts for sales, is $732,195.88.
  13       A. Well, that was the way I did it.               13   Correct?
  14    I assumed, unless I was informed otherwise,          14     A. Gross receipts. Yes.
  15    that all deposits were receipts.                     15     Q. That's the same as total income on line
  16       Q. Receipts from what?                            16   11. Is that correct?
  17       A. Sale of products.                              17     A. That is correct.
  18       Q. Okay. Of which product?                        18     Q. Okay. We're done with Exhibit 6 for now.
  19       A. Well, whatever -- whatever Roca Labs           19   I'm having two exhibits marked as 7 and 8.
  20    was selling.                                         20           (Plaintiff's Exhibit Nos. 7 and 8
  21       Q. So, how did you ascertain that                 21   were marked for identification.)
  22    that was the case?                                   22   BY MR. SETTLEMYER:
  23       A. Well, I remember asking Don once               23     Q. Mr. Whiting, I'm handing you documents
  24    if the deposits were receipts. And he said,          24   that have been marked as Exhibit 7 and 8.
  25    "Yes."                                               25   Let's start with No. 7. Could you please

                                                        22                                                       24
   1       Q. So, as far as you knew, that accounts for       1   review Exhibit 7 and let me know when you've
   2    the entirety of the gross receipts for, you           2   had a chance to look at that?
   3    expressed in the 2010 return, line one.               3     A. Exhibit 7, this is a letter dated --
   4       A. Okay. The line one gross receipts for           4   this is a statement, I guess, dated 31, July
   5    2010 are the sum of the deposits listed on            5   2013. And what questions do you have?
   6    the bank statements.                                  6     Q. Okay. First of all, do you recall seeing
   7       Q. Which bank statements? Roca Labs, Inc.          7   this same document in your individual deposition
   8    bank statements?                                      8   of January 11th?
   9       A. Well, it's Roca Labs, Inc. So, yes,             9     A. Vaguely.
  10    it would have been the Roca Labs, Inc. bank          10     Q. Okay. Let's go over this one a little
  11    statements.                                          11   more closely. In the indented portion in the
  12       Q. Was that a Bank of America account,            12   middle of the page --
  13    do you recall?                                       13     A. Mmm-hmm.
  14       A. I don't remember. It could have been.          14     Q. -- the document states, 2010 sales of
  15       Q. Look down to line 22 on the first              15   $732,195, reinvested profits of $140,000.
  16    page of Exhibit 6 --                                 16   Do you see that?
  17       A. Mmm-hmm.                                       17     A. Yes.
  18       Q. -- for advertising.                            18     Q. And in your capacity as representative
  19       A. Yes.                                           19   of Roca Labs, Inc. for topics one and three,
  20       Q. And that amount is $423,274. Is that           20   which covers corporate defendants' finances,
  21    correct?                                             21   do you adopt that number of $732,195 as the
  22       A. Actually, it's --                              22   2010 sales for Roca Labs, Inc.?
  23       Q. And 75 cents.                                  23     A. Yes.
  24       A. I apologize. You said 74. I believe            24     Q. I just want to stop for a moment
  25    47.                                                  25   and just read into the record topic three, is

                                                                                                 6 (Pages 21 to 24)
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                                                         Whiting
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                                                         29                                                       31
   1      A. Correct.                                          1   income of $4,480,678.73.
   2      Q. What does that figure represent?                  2     A. Yes. Mmm-hmm.
   3      A. That would be the income for the year.            3     Q. And that I believe is only slightly
   4      Q. Income from what?                                 4   off from the figure cited in Exhibit 7
   5      A. Again, from the bank statements.                  5   as to 2012. Do you see that?
   6    All the deposits on the bank statements for            6     A. Mmm-hmm. Well, let me come back
   7    the year.                                              7   and take a look at it.
   8      Q. And deposits for -- of money for what?            8     Q. Take a look.
   9      A. Well, again, I would get the bank                 9     A. About six thousand off. Yes.
  10    statement, the bank statement would show              10     Q. Okay. Which figure is the correct
  11    deposits. Based on previous conversation              11   one, in your view? In Exhibit 7 or
  12    with Don, I simply assumed it was income.             12   Exhibit 8?
  13      Q. You assumed, or you understood when              13     A. I would say Exhibit 8.
  14    you were preparing the statement that it              14     Q. Looking down further in column --
  15    was income?                                           15   the right-hand column of Exhibit 8, you'll
  16      A. I don't -- I don't see a significant             16   see the line for total advertising.
  17    difference between assumed and understood.            17     A. Total advertising, $1,513,369.28.
  18    So, I'll just say yes.                                18     Q. Is it your testimony that the total
  19      Q. But in your role as representative               19   advertising expenditure for Roca Labs,?
  20    of Roca Labs, Inc. today, is it your testimony        20   Inc. in 2012 was $1,513,369.28?
  21    that the total income for Roca Labs, Inc. for         21     A. Again, as determined by the bank
  22    2013 was $6,999,180.97?                               22   statements, yes.
  23      A. That is correct.                                 23     Q. Again, the process was you would examine
  24      Q. Looking a little further down the                24   the bank statements and include such items as --
  25    page in that same column, there is a --               25     A. Google, Facebook.

                                                         30                                                       32
   1    about halfway down the line, total                     1     Q. Correct. Okay. Essentially, what you've
   2    advertising. Do you see that?                          2   said as to 2013. Is that correct?
   3      A. Yes. $3,530,983.95.                               3     A. Yes.
   4      Q. And that represents the Roca Labs, Inc.           4     Q. Can you tell me, please, on the balance
   5    advertising expenditures for 2013. Correct?            5   sheet in the advertising column --
   6      A. As determined by the bank statements.             6     A. Are we talking balance sheet or income
   7    Yes.                                                   7   statement?
   8      Q. Could you explain to me how that was              8     Q. I'm sorry. The profit and loss
   9    determined from the bank statements, please?           9   statement, Exhibit 8.
  10      A. Well, again, the bank statements would           10     A. Mmm-hmm.
  11    show money going to entities such as Google,          11     Q. There is, above the total advertising
  12    Facebook, and those were for advertising.             12   line, there are several lines under the
  13      Q. So, it's your testimony in your                  13   advertising heading. I see radio. Right?
  14    capacity as representative of Roca Labs, Inc.         14     A. Yes.
  15    that the advertising expenditures for Roca            15     Q. Then, there's advertising other.
  16    Labs, Inc., in 2013 were $3,530,983 -- I'm            16   Correct?
  17    sorry. $3,530,983.95                                  17     A. Yes.
  18      A. Yes. As I found them on the bank                 18     Q. And advertising -- I'm sorry. Then
  19    statements.                                           19   there's CRD5019.
  20      Q. Okay. Let's look at the far right                20     A. 5019. Yes.
  21    column of Exhibit 8 under the January                 21     Q. What does that signify?
  22    through December of 2012 column, I believe.           22     A. Radio would be ads placed through
  23    Do you see that?                                      23   radio stations. Card 5019 was a bank
  24      A. Yes.                                             24   card on one of the accounts, and other was
  25      Q. The line total income shows total                25   everything else.

                                                                                                 8 (Pages 29 to 32)
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                                                      Whiting
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                                                      33                                                       35
   1      Q. Okay. What was the account associated          1          The tax returns for 2014, 2015 have since
   2    with card 5019?                                     2      been filed, so those numbers may change.
   3      A. I don't remember.                              3      And we can stipulate that the addition
   4      Q. And do you remember if it was a                4      on the total column is probably
   5    specific variety of advertising or --               5      correct.
   6      A. No. Again, I wasn't concerned with             6          MR. SETTLEMYER: Okay.
   7    the mechanics of the advertising. The               7          MS. MARTENY: Also, with respect to
   8    nature of the advertising. Or, you know,            8      Exhibit 10, that the corporate
   9    how it was booked or anything. I was only           9      defendants will make the same
  10    concerned with the dollars in and dollars          10      stipulations for years 2009 through
  11    out.                                               11      2013, and, also, with respect to 2014
  12      Q. Okay. So, if someone knew what                12      and 2015. I think that's -- did you
  13    was signified by advertising grouped               13      have other questions on the other item
  14    under Card 5019, that would probably be            14      20 on the bottom of Exhibit 10?
  15    Mr. Juravin?                                       15          MR. SETTLEMYER: No. But I do
  16      A. I would assume so.                            16      have just a few followup questions on
  17      Q. But it's not something you're                 17      item -- we'll start with 9.
  18    prepared to testify about specifically?            18          MR. DAVIS: Exhibit 9.
  19      A. No.                                           19          MR. SETTLEMYER: Exhibit 9. Yes.
  20      Q. Other than just the wrong number in the       20      So, I want to make sure we are also
  21    column. Correct?                                   21      stipulating that the dollars
  22      A. Correct.                                      22      represented in Exhibit 9 in terms of
  23      Q. We're done with Exhibit Number 8 for the      23      gross orders and I guess actual
  24    time being.                                        24      receipts are money paid to one of the
  25      A. So, we're finished with 8, and we're          25      defendants, either Roca Labs, Inc.,

                                                      34                                                       36
   1    finished with 7.                                    1      Roca Labs Nutraceutical, or Must Cure
   2      Q. Yes. Finished with 7.                          2      Obesity for purchases of Roca Labs
   3      A. This is number -- I'm getting                  3      products. Is that correct?
   4    confused.                                           4          MS. MARTENY: Yes. The numbers
   5      Q. Let's take a short break and sort our          5      reflected in Exhibit 9. Can we go off
   6    stuff here.                                         6      the record for one second?
   7             (Short recess taken from 10:14 a.m.        7          (Off-the-record discussion.)
   8    to 10:24 a.m.)                                      8          MS. MARTENY: With regard to the
   9             (Plaintiff's Exhibit Nos. 9 and 10 were    9      numbers reflected on Exhibit 9,
  10    marked for identification.)                        10      corporate defendants are willing to
  11    BY MR. SETTLEMYER:                                 11      stipulate that those revenue figures
  12      Q. Back on the record. The court reporter        12      were only generated from sales of
  13    has marked two documents as Exhibit 9 and 10.      13      products. Sales of the Roca Labs
  14    And there are going to be some stipulations        14      regimen.
  15    about what these document represent.               15          MR. SETTLEMYER: And they were sales
  16             MS. MARTENY: Counsel have conferred       16      by one or more of the defendants.
  17         off the record. And the corporate             17          MS. MARTENY: That's right.
  18         defendants have agreed to stipulate           18          MR. SETTLEMYER: Okay. And the
  19         that the numbers reflected in years           19      same would apparently be true of
  20         2009 through 2013 on Exhibit 9 are true       20      Exhibit 10 and the numbers shown there
  21         and accurate. And that the numbers            21      in the gross orders natural receipts
  22         reflected on the years 2014 and 2015          22      column of Item 19. Is that correct?
  23         were accurate, to the best of their           23          MS. MARTENY: That's correct.
  24         estimations, when this Exhibit 9 was          24   BY MR. SETTLEMYER:
  25         created.                                      25    Q. Mr. Whiting, during the period of 2009

                                                                                              9 (Pages 33 to 36)
                                      For The Record, Inc.                                      PX6-7
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                                                     Whiting
FTC v. Roca Labs, Inc., et al.                                                                    2/15/2017
                                                      41                                                     43
  1      Q. Okay. And Mr. Juravin, of course, would         1   Mr. Juravin personally?
  2    be someone else knowledgeable about that topic, I    2     A. That I don't know.
  3    assume. Correct?                                     3     Q. With respect to 2011, what is your
  4      A. If you are asking me does Don -- would          4   understanding, if any, of the amount of money
  5    Don be the best source of information about          5   paid from the Roca Labs business to Mr. Juravin
  6    money he received, the answer is yes.                6   personally?
  7      Q. Okay. Is there anyone else who would know       7     A. Again, I can't tell you how much was
  8    that information?                                    8   paid personally because I don't remember.
  9      A. I can't think of anyone.                        9   The only thing I can tell you is how I would
 10      Q. Mr. Hershkowitz?                               10   go back and track it through the bank
 11      A. I don't know. Possibly.                        11   statements.
 12      Q. But you're not personally aware?               12     Q. Okay. And the same question for 2012,
 13      A. No.                                            13   what's your understanding of how much money
 14      Q. You haven't prepared to answer that            14   Mr. Juravin was paid out of the Roca Labs
 15    particular line of questioning by consulting        15   business in 2012?
 16    with him. Is that correct?                          16     A. Again, you'd have to look at the bank
 17      A. I haven't consulted with Hal                   17   statements.
 18    Hershkowitz about Don's revenue. That is            18     Q. Okay. And for 2013, is your answer
 19    correct.                                            19   the same?
 20      Q. Okay. Why is it that you -- strike that.       20     A. Yes.
 21          Do you have a belief as to how much money     21     Q. 2014?
 22    Mr. Juravin received out of the Roca Labs           22     A. Yes.
 23    business in 2009?                                   23     Q. 2015?
 24      A. 2009, if I remember is correct, the            24     A. Yes.
 25    first year?                                         25     Q. Okay. All right.

                                                      42                                                     44
   1       Q. That sounds correct. Yes?                     1           MR. SETTLEMYER: Can we go off the
   2       A. My recollection is -- and this is             2       record for a second?
   3    just, remember, do the math, nine from 17.          3           (Off the record from 10:37 a.m. to
   4    It's been a while.                                  4   10:41 a.m.)
   5       Q. Yes.                                          5           (Plaintiff's Exhibit Nos. 11, 12, 13
   6       A. And I haven't looked at the records,          6   and 14 were marked for identification.)
   7    you know, carefully. My best guess is that          7           MR. SETTLEMYER: We've marked as
   8    for 2009, the revenue from Roca -- I'm trying       8       exhibits several documents, Exhibit 11,
   9    to think about that -- I would say probably         9       12, 13 and 14, which relate to
  10    somewhere between 35 and 40,000. If you hang       10       defendants' trademarks, and Ms. Marteny
  11    on. Okay? Are you asking me on 2009, are           11       has some stipulations the defendants
  12    you asking me for gross revenue for the            12       wish to make?
  13    company?                                           13           MS. MARTENY: Defendants are willing
  14       Q. I'm asking you for money paid to             14       to stipulate that Exhibits 11 through
  15    Mr. Juravin for 2009.                              15       14 are true and accurate copies of the
  16       A. If I had to guess -- this is just a          16       Roca Labs trademark filings, and that
  17    guess off of recollection -- I'd say probably      17       the content of the same exhibits is
  18    in the thirties.                                   18       accurate. Okay.
  19       Q. 30,000 or so?                                19           Off the record for one
  20       A. For some reason, the numbers 36 or           20       second.
  21    39,000 sticks in my mind. But that's just a        21           (Off the record from 10:42 a.m. to
  22    guess.                                             22   10:44 a.m.)
  23       Q. Okay. With respect to 2010, what             23           MR. SETTLEMYER: I guess I'll clarify
  24    would be your understanding of how much            24       that we're not asking the defendants to
  25    money from the Roca Labs business was paid to      25       stipulate that these are all of the

                                                                                            11 (Pages 41 to 44)
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                                                     Whiting
FTC v. Roca Labs, Inc., et al.                                                                      2/15/2017
                                                     49                                                        51
  1    to 11:06 a.m.)                                      1          MR. SETTLEMYER: Can I pause for one moment?
  2            (Plaintiff's Exhibit Nos. 18, 19, 20        2      Because Mr. Juravin is speaking. Mr. Juravin,
  3    were marked for identification.                     3      you've not been sworn in yet. Can we go ahead
  4            MS. MARTENY: Counsel conferred off          4      and have Mr. Juravin sworn in since we're going
  5        the record, and defendants have agreed          5      to be segueing into his testimony for a moment?
  6        to stipulate with respect to Exhibit 18         6   Whereupon,
  7        that it is a true and accurate copy of          7             DON JURAVIN,
  8        the American Express Plum statements,           8      a witness, called for examination,
  9        card number ending 5-11006, date range          9      having been first duly sworn, was
 10        March 2013 through December 2013.              10      examined and testified as follows:
 11            And also, defendants have agreed           11          MR. SETTLEMYER: And can I also just
 12        to stipulate that Exhibit 19 is a true         12      ask: Mr. Juravin, you understand
 13        and accurate copy of American Express          13      you've taken an oath to tell the truth
 14        Plumb card statement, the card ending          14      today?
 15        5-11006, for date range January 2014           15         MR. JURAVIN: Yes.
 16        through February 2015.                         16          MR. SETTLEMYER: And there's no condition,
 17            And with regard to Exhibit 20 --           17      aside from your very strained voice, that would
 18            MR. SETTLEMYER: I'm sorry. That's          18      prevent you from giving your best
 19        the same, 5-11006?                             19      testimony. Is that correct?
 20            MS. MARTENY: Yes. Card ending 5-11006.     20         MR. JURAVIN: Yes.
 21        And Exhibit 20, defendants will stipulate      21          MR. SETTLEMYER: And you've been
 22        that it is a true and accurate copy of         22      deposed before previously. So, you
 23        Amex Plum card statements, the card            23      understand the ground rules --
 24        ending in 1-91009 for the date range of        24         MR. JURAVIN: Yes.
 25        February 2014 through January 2015.            25          MR. SETTLEMYER: -- about us not talking

                                                     50                                                        52
   1           MR. SETTLEMYER: And do the                  1        over each other and trying to wait for
   2       defendants also stipulate that the              2        each other to finish. To answer
   3       expenditure shown on Exhibits 18, 19            3        verbally. Yes?
   4       and 20 that were paid to Google, Yahoo,         4            MR. JURAVIN: Yes.
   5       Microsoft and/or Bing, and Facebook are         5            MR. SETTLEMYER: And to make sure
   6       expenditures for advertising to drive           6        that if your counsel objects on
   7       traffic to Roca Labs Web sites for              7        privilege, you would be instructed to
   8       consumers to buy Roca Labs product?             8        not answer. But if you're hearing a
   9           MR. JURAVIN: It was for the                 9        different objection, you're obligated
  10       purposes of general sales. I don't             10        to answer the question. You understand
  11       know if Roca Labs, this site, this --          11        that?
  12       everything was to generate more                12            MR. JURAVIN: I do.
  13       exposure. To generate more exposure            13            MR. SETTLEMYER: So, we were
  14       regardless of what site. Because               14        talking about the advertising.
  15       they're so -- let's make it even               15        My form of stipulation I was
  16       broader.                                       16        offering was to ascertain principally
  17           MS. MARTENY: Defendants are                17        that all of the advertising shown in
  18       willing to stipulate that the                  18        18, 19, and 20 for those different
  19       advertising or the payments to                 19        entities we mentioned, all the
  20       Microsoft, Bing, Yahoo, Facebook, were         20        expenditures paid to those entities was
  21       for the purposes of driving traffic            21        to promote the Roca Labs business and
  22       to generate sales of the Roca Labs             22        products. Is that correct?
  23       regimen.                                       23            MR. JURAVIN: Not exactly.
  24           MS. JURAVIN: No. Let's call                24            MR. SETTLEMYER: Please explain.
  25       all of them advertisers. Okay.                 25            MR. JURAVIN: Let's call them advertisers

                                                                                             13 (Pages 49 to 52)
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                                                     Whiting
FTC v. Roca Labs, Inc., et al.                                                                 2/15/2017
                                                     53                                                   55
   1       instead of different stuff. It was used         1   Mr. Juravin, are appearing as a
   2       for the -- to promote the concept of            2   representative of, as I understand, for
   3       the Gastric Bypass Alternative                  3   many topics, perhaps all of them, but
   4       option. And, also, for the sales.               4   some overlap with Mr. Whiting, all of
   5       Okay?                                           5   the topics noticed in the Exhibit 1,
   6           And in a very, very small part,             6   30(b)(6) deposition notice on behalf of
   7       I used it personally to promote --              7   Roca Labs, Inc., Roca Labs
   8       depends on the years -- very small part         8   Nutraceutical USA, Inc., and Must Cure
   9       to promote personal agenda. Like,               9   Obesity. Is that correct?
  10       again, second amendment people, guns           10       THE WITNESS: Not exactly.
  11       and so on. For very, very small I used         11   Not exactly. Roca Labs, Inc. belonged
  12       it. But mainly was used for to explain         12   to -- belongs to Dr. Whiting. Must
  13       people that there is another option.           13   Cure Obesity belongs to me.
  14           So it's not just -- but it's also          14   Nutraceutical, we kind of in a
  15       to promote the idea, so we                     15   disagreement a little. But I'm
  16       eventually sell it. Which eventually,          16   responsible for everything that has to
  17       it will be sales. It's not only                17   do with the marketing, the sales, and
  18       Roca Labs. Because we also                     18   the expenditures. And that I can
  19       Nutraceutical and stuff.                       19   support that.
  20           MR. SETTLEMYER: So, we want --             20       MR. SETTLEMYER: So, in terms of
  21       I guess to make sure we're clear about         21   just -- this is maybe somewhat technically
  22       a few things. First of all, by                 22   legal -- ownership aside --
  23       advertisers, we are expressly including        23       MR. JURAVIN: Okay.
  24       what we referred to previously as              24       MR. SETTLEMYER: And Ms. Marteny can
  25       expenditures for Google advertising,           25   correct me if she disagrees with this

                                                     54                                                   56
   1       Microsoft Bing advertising, Yahoo               1   characterization -- the representative
   2       advertising, and Facebook advertising.          2   of a company for a 30(b)(6) purposes
   3       We all agreed on that. Correct?                 3   need not be the owner. And we're not
   4          THE WITNESS: At least them. Yes.             4   necessarily talking in terms of your
   5          MR. SETTLEMYER: So, in terms of              5   answers binding a company, is
   6       the beneficiary of the advertising, we          6   irrelevant in a way whether or not you
   7       are talking primarily, with maybe some          7   are the owner of any particular
   8       small exclusions, about the Roca                8   company.
   9       Labs business. Is that correct?                 9       MR. JURAVIN: Then I agree.
  10          THE WITNESS: 2009, 2012, it was Roca        10       MR. SETTLEMYER: Okay. All right.
  11       Labs. Then, it was Nutraceutical.              11       MR. JURAVIN: So, let's stipulate
  12       Then, in '15, I think it was Must Cure         12   that all expenditures on the credit
  13       Obesity. So, we can say for the                13   cards, whatever credit cards they are,
  14       general benefit of the regimen, whoever        14   which include advertisement to whatever
  15       company benefited financially.                 15   advertisement channel there is, was for
  16              So it was promoting the                 16   the purposes of promoting the concept
  17       concept of a Gastric Bypass                    17   of a Gastric Bypass Alternative, which
  18       Alternative. And every time the                18   benefited the sales of any company of
  19       beneficiary was different. Any one of          19   ours in any particular time. Okay?
  20       these companies was the beneficiary.           20       MR. SETTLEMYER: Okay.
  21          MR. SETTLEMYER: Let me also just            21       MR. DAVIS: We may want to hear that back.
  22       make sure we've got on the record: So,         22       MR. SETTLEMYER: We may want to hear
  23       this is, as we've talked about for             23   that back. But let me offer this. We
  24       Mr. Whiting, this is a 30(b)(6)                24   are asking for a stipulation that Bing,
  25       deposition, which you, today,                  25   Yahoo, Facebook, Google, are all


                                                                                        14 (Pages 53 to 56)
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                                                   Whiting
FTC v. Roca Labs, Inc., et al.                                                               2/15/2017
                                                    57                                                  59
  1        advertising channels that were used by         1       MR. SETTLEMYER: And perhaps also
  2        one or more of the entities that have          2   yourself personally to the extent you
  3        offered what you refer to as the               3   derived income from those entities.
  4        Gastric Bypass Alternative or sold for         4   Is that correct?
  5        Roca Labs formula or advertised through        5       MR. JURAVIN: Me personally?
  6        the Roca labs.com Web site. Is that            6       MR. SETTLEMYER: Right.
  7        correct?                                       7       MR. JURAVIN: I think I used some
  8           MR. JURAVIN: Yes.                           8   of it to promote concept like second
  9           MR. SETTLEMYER: All right.                  9   amendment, first amendment, and so on.
 10           MR. DAVIS: Do you want to hear that        10       MR. SETTLEMYER: No. No. I'm
 11        back, the stipulation?                        11   talking about the beneficiary of the
 12           MR. SETTLEMYER: Yes, please.               12   advertising done and placed by Roca
 13           (Testimony read back as requested.)        13   Labs, Inc. Roca Labs Nutraceuticals,
 14           MR. JURAVIN: That's fine. Can we decide    14   and Must Cure Obesity.
 15        the GBA?                                      15       MR. JURAVIN: Not for me personally.
 16           MR. SETTLEMYER: So, Mr. Juravin,           16   Let me clarify it. I see you are
 17        just to clarify, we're all agreed that        17   puzzled. I'm the inventor. I already
 18        again, Bing, Facebook, Google, Yahoo          18   got my deal. I got my deal as the
 19        are all advertising platforms.                19   inventor. I have a set amount that I
 20        Correct?                                      20   am receiving, whether the company makes
 21           MR. JURAVIN: Correct.                      21   the money or not. But if it doesn't
 22           MR. SETTLEMYER: And that the               22   make, I have an interest for the
 23        entities, be they Roca Labs, Inc., Roca       23   company to make the money because
 24        Labs Nutraceutical, or Must Cure              24   otherwise, they cannot pay me. But I
 25        Obesity is the advertiser. Correct?           25   am not directly enjoying the money.

                                                    58                                                  60
  1            MR. JURAVIN: Yes.                          1   Not directly.
  2            MR. SETTLEMYER: And that the               2       MR. SETTLEMYER: We can get to that.
  3        expenditures shown in Exhibits 18, 19          3   But you're not testifying that you
  4        and 20, for those advertising channels         4   received no money from those three
  5        is primarily, with small exclusion for         5   entities. Is that correct?
  6        your personal pursuits, but primarily          6       MR. JURAVIN: I definitely did, according
  7        to benefit the business that those             7   to the agreement.
  8        three entities were conducting.                8       MR. SETTLEMYER: Okay.
  9        Is that correct?                               9       MR. JURAVIN: But when I advertised,
 10            MR. JURAVIN: Can you explain to me        10   I did not think, "Oh, I'm getting the
 11        what do you mean "benefit of the              11   money." I did it on behalf of the
 12        business"? Because I wanted to promote        12   company so the company can have it.
 13        a concept. Not just sales. I wanted           13       MR. SETTLEMYER: Well, you're here
 14        to promote a concept. And I set the           14   right now on behalf of those companies.
 15        fruits of promoting the concept will be       15   So, your testimony as representative of
 16        probably also sales. If not, at least         16   those companies, those companies
 17        they saved themselves from a surgery.         17   sought to make money from the sales of
 18            MR. SETTLEMYER: But they were a           18   Roca Labs products by virtue of
 19        business expense of those three               19   advertising with these different
 20        entities.                                     20   channels and drawing traffic to those
 21            MR. JURAVIN: Yes.                         21   sites.
 22            MR. DAVIS: We can call them defendants?   22       MR. JURAVIN: Agreed.
 23            MR. SETTLEMYER: Yes. Those three          23       MR. DAVIS: If I may, to Mr. Settlemyer,
 24        defendants. Corporate defendants.             24   it may be helpful to refer to corporate
 25            MR. JURAVIN: Okay. Yes.                   25   defendants, if that's the label that

                                                                                      15 (Pages 57 to 60)
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                                                     Whiting
FTC v. Roca Labs, Inc., et al.                                                                      2/15/2017
                                                     49                                                        51
  1    to 11:06 a.m.)                                      1          MR. SETTLEMYER: Can I pause for one moment?
  2            (Plaintiff's Exhibit Nos. 18, 19, 20        2      Because Mr. Juravin is speaking. Mr. Juravin,
  3    were marked for identification.                     3      you've not been sworn in yet. Can we go ahead
  4            MS. MARTENY: Counsel conferred off          4      and have Mr. Juravin sworn in since we're going
  5        the record, and defendants have agreed          5      to be segueing into his testimony for a moment?
  6        to stipulate with respect to Exhibit 18         6   Whereupon,
  7        that it is a true and accurate copy of          7             DON JURAVIN,
  8        the American Express Plum statements,           8      a witness, called for examination,
  9        card number ending 5-11006, date range          9      having been first duly sworn, was
 10        March 2013 through December 2013.              10      examined and testified as follows:
 11            And also, defendants have agreed           11          MR. SETTLEMYER: And can I also just
 12        to stipulate that Exhibit 19 is a true         12      ask: Mr. Juravin, you understand
 13        and accurate copy of American Express          13      you've taken an oath to tell the truth
 14        Plumb card statement, the card ending          14      today?
 15        5-11006, for date range January 2014           15         MR. JURAVIN: Yes.
 16        through February 2015.                         16          MR. SETTLEMYER: And there's no condition,
 17            And with regard to Exhibit 20 --           17      aside from your very strained voice, that would
 18            MR. SETTLEMYER: I'm sorry. That's          18      prevent you from giving your best
 19        the same, 5-11006?                             19      testimony. Is that correct?
 20            MS. MARTENY: Yes. Card ending 5-11006.     20         MR. JURAVIN: Yes.
 21        And Exhibit 20, defendants will stipulate      21          MR. SETTLEMYER: And you've been
 22        that it is a true and accurate copy of         22      deposed before previously. So, you
 23        Amex Plum card statements, the card            23      understand the ground rules --
 24        ending in 1-91009 for the date range of        24         MR. JURAVIN: Yes.
 25        February 2014 through January 2015.            25          MR. SETTLEMYER: -- about us not talking

                                                     50                                                        52
   1           MR. SETTLEMYER: And do the                  1        over each other and trying to wait for
   2       defendants also stipulate that the              2        each other to finish. To answer
   3       expenditure shown on Exhibits 18, 19            3        verbally. Yes?
   4       and 20 that were paid to Google, Yahoo,         4            MR. JURAVIN: Yes.
   5       Microsoft and/or Bing, and Facebook are         5            MR. SETTLEMYER: And to make sure
   6       expenditures for advertising to drive           6        that if your counsel objects on
   7       traffic to Roca Labs Web sites for              7        privilege, you would be instructed to
   8       consumers to buy Roca Labs product?             8        not answer. But if you're hearing a
   9           MR. JURAVIN: It was for the                 9        different objection, you're obligated
  10       purposes of general sales. I don't             10        to answer the question. You understand
  11       know if Roca Labs, this site, this --          11        that?
  12       everything was to generate more                12            MR. JURAVIN: I do.
  13       exposure. To generate more exposure            13            MR. SETTLEMYER: So, we were
  14       regardless of what site. Because               14        talking about the advertising.
  15       they're so -- let's make it even               15        My form of stipulation I was
  16       broader.                                       16        offering was to ascertain principally
  17           MS. MARTENY: Defendants are                17        that all of the advertising shown in
  18       willing to stipulate that the                  18        18, 19, and 20 for those different
  19       advertising or the payments to                 19        entities we mentioned, all the
  20       Microsoft, Bing, Yahoo, Facebook, were         20        expenditures paid to those entities was
  21       for the purposes of driving traffic            21        to promote the Roca Labs business and
  22       to generate sales of the Roca Labs             22        products. Is that correct?
  23       regimen.                                       23            MR. JURAVIN: Not exactly.
  24           MS. JURAVIN: No. Let's call                24            MR. SETTLEMYER: Please explain.
  25       all of them advertisers. Okay.                 25            MR. JURAVIN: Let's call them advertisers

                                                                                             13 (Pages 49 to 52)
                                     For The Record, Inc.                                     PX6-12
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                                                     Whiting
FTC v. Roca Labs, Inc., et al.                                                                 2/15/2017
                                                     53                                                   55
   1       instead of different stuff. It was used         1   Mr. Juravin, are appearing as a
   2       for the -- to promote the concept of            2   representative of, as I understand, for
   3       the Gastric Bypass Alternative                  3   many topics, perhaps all of them, but
   4       option. And, also, for the sales.               4   some overlap with Mr. Whiting, all of
   5       Okay?                                           5   the topics noticed in the Exhibit 1,
   6           And in a very, very small part,             6   30(b)(6) deposition notice on behalf of
   7       I used it personally to promote --              7   Roca Labs, Inc., Roca Labs
   8       depends on the years -- very small part         8   Nutraceutical USA, Inc., and Must Cure
   9       to promote personal agenda. Like,               9   Obesity. Is that correct?
  10       again, second amendment people, guns           10       THE WITNESS: Not exactly.
  11       and so on. For very, very small I used         11   Not exactly. Roca Labs, Inc. belonged
  12       it. But mainly was used for to explain         12   to -- belongs to Dr. Whiting. Must
  13       people that there is another option.           13   Cure Obesity belongs to me.
  14           So it's not just -- but it's also          14   Nutraceutical, we kind of in a
  15       to promote the idea, so we                     15   disagreement a little. But I'm
  16       eventually sell it. Which eventually,          16   responsible for everything that has to
  17       it will be sales. It's not only                17   do with the marketing, the sales, and
  18       Roca Labs. Because we also                     18   the expenditures. And that I can
  19       Nutraceutical and stuff.                       19   support that.
  20           MR. SETTLEMYER: So, we want --             20       MR. SETTLEMYER: So, in terms of
  21       I guess to make sure we're clear about         21   just -- this is maybe somewhat technically
  22       a few things. First of all, by                 22   legal -- ownership aside --
  23       advertisers, we are expressly including        23       MR. JURAVIN: Okay.
  24       what we referred to previously as              24       MR. SETTLEMYER: And Ms. Marteny can
  25       expenditures for Google advertising,           25   correct me if she disagrees with this

                                                     54                                                   56
   1       Microsoft Bing advertising, Yahoo               1   characterization -- the representative
   2       advertising, and Facebook advertising.          2   of a company for a 30(b)(6) purposes
   3       We all agreed on that. Correct?                 3   need not be the owner. And we're not
   4          THE WITNESS: At least them. Yes.             4   necessarily talking in terms of your
   5          MR. SETTLEMYER: So, in terms of              5   answers binding a company, is
   6       the beneficiary of the advertising, we          6   irrelevant in a way whether or not you
   7       are talking primarily, with maybe some          7   are the owner of any particular
   8       small exclusions, about the Roca                8   company.
   9       Labs business. Is that correct?                 9       MR. JURAVIN: Then I agree.
  10          THE WITNESS: 2009, 2012, it was Roca        10       MR. SETTLEMYER: Okay. All right.
  11       Labs. Then, it was Nutraceutical.              11       MR. JURAVIN: So, let's stipulate
  12       Then, in '15, I think it was Must Cure         12   that all expenditures on the credit
  13       Obesity. So, we can say for the                13   cards, whatever credit cards they are,
  14       general benefit of the regimen, whoever        14   which include advertisement to whatever
  15       company benefited financially.                 15   advertisement channel there is, was for
  16              So it was promoting the                 16   the purposes of promoting the concept
  17       concept of a Gastric Bypass                    17   of a Gastric Bypass Alternative, which
  18       Alternative. And every time the                18   benefited the sales of any company of
  19       beneficiary was different. Any one of          19   ours in any particular time. Okay?
  20       these companies was the beneficiary.           20       MR. SETTLEMYER: Okay.
  21          MR. SETTLEMYER: Let me also just            21       MR. DAVIS: We may want to hear that back.
  22       make sure we've got on the record: So,         22       MR. SETTLEMYER: We may want to hear
  23       this is, as we've talked about for             23   that back. But let me offer this. We
  24       Mr. Whiting, this is a 30(b)(6)                24   are asking for a stipulation that Bing,
  25       deposition, which you, today,                  25   Yahoo, Facebook, Google, are all


                                                                                        14 (Pages 53 to 56)
                                     For The Record, Inc.                                PX6-13
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                                                   Whiting
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                                                    57                                                  59
  1        advertising channels that were used by         1       MR. SETTLEMYER: And perhaps also
  2        one or more of the entities that have          2   yourself personally to the extent you
  3        offered what you refer to as the               3   derived income from those entities.
  4        Gastric Bypass Alternative or sold for         4   Is that correct?
  5        Roca Labs formula or advertised through        5       MR. JURAVIN: Me personally?
  6        the Roca labs.com Web site. Is that            6       MR. SETTLEMYER: Right.
  7        correct?                                       7       MR. JURAVIN: I think I used some
  8           MR. JURAVIN: Yes.                           8   of it to promote concept like second
  9           MR. SETTLEMYER: All right.                  9   amendment, first amendment, and so on.
 10           MR. DAVIS: Do you want to hear that        10       MR. SETTLEMYER: No. No. I'm
 11        back, the stipulation?                        11   talking about the beneficiary of the
 12           MR. SETTLEMYER: Yes, please.               12   advertising done and placed by Roca
 13           (Testimony read back as requested.)        13   Labs, Inc. Roca Labs Nutraceuticals,
 14           MR. JURAVIN: That's fine. Can we decide    14   and Must Cure Obesity.
 15        the GBA?                                      15       MR. JURAVIN: Not for me personally.
 16           MR. SETTLEMYER: So, Mr. Juravin,           16   Let me clarify it. I see you are
 17        just to clarify, we're all agreed that        17   puzzled. I'm the inventor. I already
 18        again, Bing, Facebook, Google, Yahoo          18   got my deal. I got my deal as the
 19        are all advertising platforms.                19   inventor. I have a set amount that I
 20        Correct?                                      20   am receiving, whether the company makes
 21           MR. JURAVIN: Correct.                      21   the money or not. But if it doesn't
 22           MR. SETTLEMYER: And that the               22   make, I have an interest for the
 23        entities, be they Roca Labs, Inc., Roca       23   company to make the money because
 24        Labs Nutraceutical, or Must Cure              24   otherwise, they cannot pay me. But I
 25        Obesity is the advertiser. Correct?           25   am not directly enjoying the money.

                                                    58                                                  60
  1            MR. JURAVIN: Yes.                          1   Not directly.
  2            MR. SETTLEMYER: And that the               2       MR. SETTLEMYER: We can get to that.
  3        expenditures shown in Exhibits 18, 19          3   But you're not testifying that you
  4        and 20, for those advertising channels         4   received no money from those three
  5        is primarily, with small exclusion for         5   entities. Is that correct?
  6        your personal pursuits, but primarily          6       MR. JURAVIN: I definitely did, according
  7        to benefit the business that those             7   to the agreement.
  8        three entities were conducting.                8       MR. SETTLEMYER: Okay.
  9        Is that correct?                               9       MR. JURAVIN: But when I advertised,
 10            MR. JURAVIN: Can you explain to me        10   I did not think, "Oh, I'm getting the
 11        what do you mean "benefit of the              11   money." I did it on behalf of the
 12        business"? Because I wanted to promote        12   company so the company can have it.
 13        a concept. Not just sales. I wanted           13       MR. SETTLEMYER: Well, you're here
 14        to promote a concept. And I set the           14   right now on behalf of those companies.
 15        fruits of promoting the concept will be       15   So, your testimony as representative of
 16        probably also sales. If not, at least         16   those companies, those companies
 17        they saved themselves from a surgery.         17   sought to make money from the sales of
 18            MR. SETTLEMYER: But they were a           18   Roca Labs products by virtue of
 19        business expense of those three               19   advertising with these different
 20        entities.                                     20   channels and drawing traffic to those
 21            MR. JURAVIN: Yes.                         21   sites.
 22            MR. DAVIS: We can call them defendants?   22       MR. JURAVIN: Agreed.
 23            MR. SETTLEMYER: Yes. Those three          23       MR. DAVIS: If I may, to Mr. Settlemyer,
 24        defendants. Corporate defendants.             24   it may be helpful to refer to corporate
 25            MR. JURAVIN: Okay. Yes.                   25   defendants, if that's the label that

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                             In the Matter of:

                    FTC v. Roca Labs, Inc., et al.

                            February 15, 2017
                              Don Juravin




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                                                           Juravin
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                                                           1                                                            3
  1                    I N D E X                                1    EXHIBITS        DESCRIPTION          PAGE
  2                                                             2    62 Copy of images from 2012         120
  3    WITNESS                                    PAGE               63 Copy of images from March 2013   120
  4                                                             3    64 Copy of images from 2/13         128
  5    DON JURAVIN                                                   65 Copy of images from 2/13         128
  6           BY MR. SETTLEMYER                      6          4    66 Copy of homepage image
  7                                                                      (Mini-gastric-bypass.me 2013)   128
  8                                                             5    67 Copy of Web page                 128
  9    EXHIBITS        DESCRIPTION                  PAGE             68 Copy of images/ads               128
 10    21   Copy of Secretary of State                          6    69 Copy of Roca Labs Website with
            Documents                                6                   privacy policy language         132
 11    22   Copy of Bank of America                             7    70 Copy of text and images
            signature care for Roca Labs                                 Roca Labs Website 9/14)         140
 12         Nutraceutical account                    6          8    71 Copy of text and images
       23   Copy of Roca Labs Nutraceutical                              Roca Labs Website               141
            bank statements (3/25/15-2/28/16)        6          9    72 Copy of text and images
 13
       24   Copy of merchant processing                                  Roca Labs Website               142
            Application to iPayment                            10    73 Copy of text and images
 14                                                                      Roca Labs Website               143
            (Roca Labs Nutraceutical, USA)           6
                                                               11    74 Copy of document regarding
 15    25   Copy of 6/7/14 e-mail                    6
                                                                         Juravin, Incorporated           144
       26   Copy of Roca Labs Nutraceutical                          75 Copy of account information
            2014 tax return                          6         12
 16                                                                      regarding Roca Labs             144
       27   Copy of Roca Labs Nutraceutical                          76 Copy of account information
                                                               13
 17         2015 tax return                          6                   regarding Dieb Labs             144
       28   Copy of Roca Labs, Inc. 2012                       14    77 Copy of Roca Labs, Inc.
 18         tax return                              42                   ad with qualify and order
       29   Copy of Roca Labs, Inc. 2013                       15        information                     151
 19         tax return                              42               78 Copy of package insert           166
       30   Copy of Articles of Amendment                      16    79 Copy of instructions insert      171
 20         For Must Cure Obesity Company           43               80 Copy of Roca Labs Website
       31   Copy of Statement of Change                        17        images and text
 21         For Must Cure Obesity Company           43                   (Gastric.me)                    174
       32   Copy of annual report for                          18
 22         Must Cure Obesity                       43         19
       33   Cop of Bank of America Signature                   20
 23         Cared for Must Cure Obesity             43         21
       34   Copy of American Express                           22
 24         Account statement for                              23
            Must Cure Obesity (1/15)                43         24
 25    35   Copy of Chase Bank statement                       25


                                                           2                                                            4
  1   EXHIBITS        DESCRIPTION          PAGE                 1            UNITED STATES DISTRICT COURT
  2   36 Copy of Must Cure Obesity
          Chase Bank account statements                                      MIDDLE DISTRICT OF FLORIDA
  3       (1/1/16-12/30/16)                43
      37 Copy of Must Cure Obesity                              2                 TAMPA DIVISION
  4       2014 tax return                  43
      38 Copy of Must Cure Obesity                              3     FEDERAL TRADE COMMISSION,
  5       2015 tax return                  43                   4            Plaintiff,
      39 Copy of Must Cure Obesity
  6       PayPal statements                                     5     ROCA LABS, INC., a corporation, et al.
          (12/31/16-1/31/17)               43
  7   40 Copy of court filings             70                   6                     Defendants.
      41 Copy of court filings             70                         ________________________________
  8   42 Copy of court filings             70
      43 Copy of court filings
      44 Copy of court filings
                                           70
                                           70
                                                                 7
  9
      45 Copy of court filings             70                    8                        Wednesday, February 15, 2017
 10   46 Copy of court filings             70
      47 Copy of court filings             70                    9                        Offices of Shumaker, Loop &
 11   48 Copy of court filings             70                                             Kendrick, LLP
      49 Copy of Roca Labs, Inc.
                                                                10
 12       Website terms and conditions    80                    11                        101 East Kennedy Boulevard
      50 Copy of Roca Labs, Inc.
 13       Website terms and conditions                          12                        Suite 2800
          (September 2012)                 80
 14   51 Copy of Roca Labs, Inc.                                13                        Tampa, Florida.
          Website terms and conditions                          14
 15       (June 2014)                      80
      52 Copy of Roca Labs, Inc.                                15
 16       Website terms and conditions
          (August 2014)                    80                   16       The above-entitled matter came on for
 17   53 Copy of Roca Labs, Inc.
          Website terms and conditions                          17    deposition, pursuant to Notice, at 12:31 p.m.
 18       (December 2014)                 80                    18
      54 Copy of Facebook ads             97
 19   55 Copy of Facebook ads             97                    19
      56 Copy of Facebook ads             97
 20   57 Copy of urls for Facebook ads    97                    20
      58 Copy of Roca Labs, Inc.
 21       images                          120                   21
      59 Copy of Roca Labs, Inc.                                22
 22       images                          120
      60 Copy of images from 2011                               23
 23       Trademark application           120
      61 Copy of images from 2012         120                   24
 24                                                             25
 25



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                                                     Juravin
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                                                     5                                                         7
  1    APPEARANCES                                         1   card for Roca Labs Nutraceutical account
  2    ON BEHALF OF THE FEDERAL TRADE COMMISSION:          2   ending 5888.
  3       MICHAEL J. DAVIS, ESQ.                           3           23 is a series of bank statements
  4       CARL H. SETTLEMYER, III, ESQ.                    4   from, I guess, March 25, 2014, through
  5       600 Pennsylvania Avenue, NW                      5   February 28, 2015 for Roca Labs Nutraceutical
  6       Washington, DC 20580                             6   USA account ending 5888, and 24 is a merchant
  7       (202) 326-2458                                   7   processing application to iPayment from Roca
  8       EMAIL: mdavis@ftc.gov                            8   Labs Nutraceutical, USA.
  9           csettlemyer@ftc.gov                          9           25, which we have not stipulated
 10                                                       10   to, is an e-mail which we will ask some
 11    ON BEHALF OF THE DEFENDANT, GEORGE WHITING:        11   questions about. 26 is 2014 Roca Labs
 12       SUZETTE MARTENY, ESQ.                           12   Nutraceutical USA tax return. 27 is the
 13       SHUMAKER, LOOP & KENDRICK, LLP                  13   2015 Roca Labs Nutraceutical tax return.
 14       101 East Kennedy Boulevard                      14           Mr. Juravin, you're here today,
 15       Suite 2800                                      15   again, as we've discussed before, as a
 16       Tampa, Florida 33602                            16   corporate representative on behalf of Roca
 17       (813) 229-7600                                  17   Labs, Inc. and Roca Labs Nutraceutical, and
 18       EMAIL: Smarteny@slk-law.com                     18   Must Cure Obesity. And you, from what I
 19                                                       19   understand, have personal knowledge of many of
 20                                                       20   the topics listed in Exhibit 1, which is the
 21                                                       21   deposition notice. Is that correct?
 22                                                       22     A. Yes.
 23                                                       23     Q. Did you do any preparation to be
 24                                                       24   able to answer questions about the topics
 25                                                       25   in the deposition notice prior to coming

                                                     6                                                         8
   1        (Plaintiff's Exhibit Nos. 21, 22, 23,          1   here today, beyond your personal knowledge?
   2    24, 25, 26 and 27 were marked for                  2      A. I know what I know, and I looked at
   3    identification.)                                   3   it again. And whether I am familiar with it
   4            PROCEEDINGS                                4   or not, I didn't need the memory to refresh on
   5              --------                                 5   things.
   6    Whereupon,                                         6      Q. But you didn't actually take any --
   7               DON JURAVIN,                            7   I'm just asking what active steps you took
   8            a witness, called for examination,         8   to actually review specific documents or
   9            having been first duly sworn, was          9   consulted individuals who have knowledge that
  10            examined and testified as follows:        10   might be beyond your specific personal
  11                                                      11   knowledge to be here today.
  12            MS. MARTENY: Counsel have conferred       12      A. I didn't have to. It's either I know
  13        off the record, and the corporate             13   or I don't.
  14        defendants are able to stipulate that         14      Q. But the answer to my question is no, you
  15        Exhibits 21, 22, 23, 24, 26 and 27 are        15   didn't do anything additional. Is that correct?
  16        authentic and the information contained       16      A. I couldn't do anything additional.
  17        therein is accurate.                          17      Q. Okay.
  18              EXAMINATION                             18      A. I didn't feel I could do anything
  19    BY MR. SETTLEMYER:                                19   additional.
  20      Q. All right. Thank you. I would just           20      Q. Okay. So, do you believe your personal
  21    run through very quickly what these things        21   knowledge covers most of the topics listed in the
  22    are. So, Exhibit 21 includes documents            22   deposition notice?
  23    relating to the corporate officers of Roca        23      A. I believe so.
  24    Labs, Nutraceutical, filed with the Secretary     24      Q. Okay. Let's go on that basis.
  25    of State. 22 is a Bank of America signature       25   So, you can refer to Exhibit 21, if this

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                                                         9                                                       11
   1    refreshes your recollection. But this                  1   basically, I would say, "George, I need your
   2    document relates principally to the formation          2   signature." He will sign much faster.
   3    and officers of Roca Labs Nutraceutical.               3             When '12 and '13 and his situation
   4    Who owns Roca Labs Nutraceutical?                      4   deteriorated, and I could not wait any longer
   5      A. I don't know because George and I are             5   for signatures, and I saw that he's not
   6    a little bit in a disagreement, as far as the          6   bringing the promised investors, and I feel
   7    ownership of Roca Labs Nutraceuticals.                 7   that I need more freedom to do things, I
   8    I can tell you how it came about. But as far           8   initiated Roca Labs Nutraceutical, RNL.
   9    as true ownership, we discussed it a couple of         9     Q. RLN?
  10    times. And we are in somehow disagreement.            10     A. RLN. I created it. As an agent of
  11      Q. Okay. So, let's just start out with at           11   Roca Labs. Because I cannot be -- the
  12    the time Roca Labs Nutraceutical was formed --        12   intellectual property belongs to Roca Labs.
  13    first of all, let me back up. When you refer to       13   I cannot suddenly take a new company and use
  14    George, you're referring to Mr. Whiting. Is that      14   intellectual property from another company.
  15    correct?                                              15   So, only I did it because I wanted to avoid
  16      A. Yes.                                             16   asking him for signatures at the time.
  17      Q. So, at the time of formation of Roca             17             And I knew that his mind is not there,
  18    Labs Nutraceutical, who was considered to             18   and didn't know what to do. This one looked
  19    be the owner at that time?                            19   to me like the best solution. I notified him
  20      A. Would you allow me to take a step back           20   that it's easy. He can take the company. But
  21    and explain everything --                             21   I need the freedom right now to sign and do
  22      Q. Go ahead and explain, and then I'll              22   things.
  23    see if we can ask any follow-up questions.            23     Q. What do you mean it's his? Which "it" are
  24    I'm trying to be efficient.                           24   you referring to?
  25      A. I'll explain exactly for efficiency.             25     A. The Nutraceutical, it's an extension

                                                         10                                                      12
   1    2009 to 2012 or '13, basically, George owns            1   of Roca Labs. So, we treated it in the text.
   2    Roca Labs. George is like, in my opinion,              2   We treated Roca Labs Nutraceutical as an
   3    like board of directors. I was not supposed            3   agent of Roca labs. And in the end 2014 I
   4    to be in the company at all. I'm the                   4   said -- the end of '15. I think '14.
   5    inventor. I sold it. I promised to help,               5   The end of one of the years, I said, "George,
   6    also. George is supposed to bring the                  6   it is yours because it's an extension of Roca
   7    investors. I'm supposed to get money.                  7   Labs."
   8             But I see that George is not.                 8            And he said, Don, let me have another
   9    So, little by little, I'm doing more and more          9   try to bring in the investors." George can
  10    work to protect my investment. George's               10   benefit from our deal only if he brings the
  11    situation deteriorated '12 and '13 because of         11   investors and capitalize. Only then. I can
  12    Angie, his sister, and maybe other reasons.           12   benefit financially if I will get money from
  13    The way that it worked between -- from '09            13   my invention.
  14    till 2013 about, is that George set the rules,        14      Q. Let me interrupt you here. When you refer
  15    I followed them.                                      15   to the "deal," are you referring to what's set
  16             Like, for example, George says               16   forth in the restructuring agreement that we've
  17    no employees. I can argue once or twice, and          17   discussed?
  18    then George makes the final decision, I am to         18      A. No. The deal is any -- the
  19    follow it. And I can be also a good soldier.          19   restructuring agreement is like an odd animal
  20    So, with time, George started trusting me             20   in our relationship, but we were advised that
  21    more, and more, and more. In the beginning, I         21   we need something. Neither George or I liked
  22    had to ask permission for everything. Because         22   the agreement, agreed to it. But we were
  23    it's his company, you know, bank accounts and         23   forced to do it because somebody told us that
  24    stuff. As time progresses, between '12 and            24   we need to. But George and I work with a
  25    '13, George trusted me more and more. And,            25   handshake from the very beginning. And I

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                                                      13                                                       15
   1    work with George's understanding -- okay?           1   about employees versus independent contractors?
   2    So, I hold myself responsible for what George       2   What are some others he set?
   3    understands in the relationship.                    3     A. I would say that anything the board of
   4      Q. Let me back up. You referred to Roca Labs      4   directors would set. He wants to have a
   5    owning intellectual property. Is that right?        5   space or he doesn't want. Very general from
   6       A. Roca Labs bought my invention.                6   the top. And it was my job to work as if
   7      Q. Okay.                                          7   he's in my mind, you know, like to understand
   8       A. So, Roca Labs owns my invention. It's         8   his direction. He didn't want things to be
   9    not possible that Roca Labs, that RLN               9   complicated.
  10    suddenly will start using somebody else's          10             I cannot get into specifics.
  11    property.                                          11   If you will ask me a question, I would know.
  12      Q. I understand. I'm trying to get a             12   I have to go into his frame of mind and follow
  13    historical perspective. So, at least               13   as if it's the board of directors, and I'm
  14    originally -- correct me if I'm wrong -- Roca      14   acting as the president.
  15    Labs owned your -- the invention intellectual      15     Q. So, in terms of actual, you know,
  16    property --                                        16   decisions about advertising, Don Juravin made
  17       A. Exactly.                                     17   those decisions for Roca Labs, not George
  18      Q. -- and also owned trademarks. Is that         18   Whiting. Is that correct?
  19    correct?                                           19     A. Correct.
  20       A. No. The trademarks were mine. And            20     Q. As to the formulation, and production, and
  21    I've allowed them to use one of them. And I        21   packaging of products that were sold to
  22    don't remember which one.                          22   consumers, that was something that Don Juravin
  23      Q. Okay. So, some of the trademarks were         23   determined, not Mr. Whiting. Is that correct?
  24    registered originally with Roca Labs, and by and   24     A. Correct. For more -- for example, I
  25    in the name of Roca Labs, Inc. Correct?            25   would know that I cannot take certain risks,

                                                      14                                                       16
   1      A. For convenience only.                          1   or risk the business into certain things the
   2      Q. Okay. And, then, there was later               2   business takes risks because it's George's
   3    a formal transfer of many of the trademarks         3   name there. I would have taken the risk if
   4    except for the trademark Roca Labs to               4   it was my name. But because I knew that it's
   5    Juravin, Incorporated. Is that correct?             5   George on the line, I would not take the same
   6      A. Correct.                                       6   risks.
   7      Q. Is that the current state of ownership of      7      Q. Well, like what sort of risks are you
   8    intellectual property?                              8   referring to?
   9      A. We did not change. The reason that it          9      A. Take a loan. Or not pay something on
  10    was under the name Roca Labs is that we            10   time.
  11    wanted it to look correct, and not to look         11      Q. Okay.
  12    like one person owns the trademarks and,           12      A. Or because it's not my name. If
  13    then, the company. For some reason then,           13   it's my name, I can stretch. If it's
  14    five, six, seven years ago, it looked more         14   George's name, I cannot be in a situation
  15    correct, but George and I understood that          15   that somebody that trusts me -- you know.
  16    this is my trademark. That these are my            16   I can't -- so --
  17    trademarks. But George owns -- I'm sorry.          17      Q. Let's isolate the spending for a moment.
  18    Roca Labs owns the name Roca Labs and the          18   Are you saying that as a general matter, you were
  19    formulation.                                       19   not free to spend money that Roca Labs, Inc.
  20      Q. Okay. So, the formulation is another way      20   didn't have, but otherwise, you would be free to
  21    of saying your invention --                        21   spend money on what you felt was appropriate for
  22      A. Yes. My invention.                            22   the business? Is that the way you would
  23      Q. Okay. So, when you stated that with Roca      23   characterize it?
  24    Labs, Inc. Mr. Whiting set the rules, what types   24      A. You would have to define who is "you."
  25    of rules did he set aside from things that are     25   It's not the intervention. It's the


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                                                       Juravin
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                                                       17                                                       19
   1    marketing guy that Roca Labs hired to do.            1     Q. But without any separate act of permission
   2       Q. In this case, we're always referring to        2   from Mr. Whiting --
   3    Don Juravin since we're in the corporate setting.    3     A. Not day by day. Not day by day. But
   4       A. Let me explain.                                4   in general amounts -- yes. The general
   5       Q. Yes, please.                                   5   amounts cannot exceed our agreement.
   6       A. Don sold -- Don Juravin sold the               6     Q. Okay. So, Mr. Whiting did not select who
   7    invention. Don Juravin is done. But I see            7   was hired, whether it was employee or independent
   8    that George and Roca Labs are not really             8   contractor, to perform work for the benefit of
   9    bringing the investors as much as they               9   Roca Labs, Inc. Is that correct?
  10    thought they will. I cannot leave it by             10     A. He did not individually approve them.
  11    itself because then there is no income. So I        11     Q. Okay. That responsibility was that of
  12    became like the marketing guy within the            12   Mr. Juravin. Is that correct?
  13    company. All the time, all the time, hoping         13     A. Yes.
  14    that he will bring the investors, and I will        14     Q. Okay. And you mentioned previously that
  15    train them, and I will be out of there.             15   there were things for which Mr. Whiting's
  16             So, all the monies that I received         16   signature would be required. What sorts of
  17    was monies -- because that's why I was sitting      17   things was Mr. Whiting's signature required to
  18    there, and I wanted to say something. I             18   approve? For Roca Labs, Inc.
  19    received monies only as the inventor.               19     A. Corporate. Anything that required a
  20       Q. Regardless of the capacity in which you       20   corporate officer. Because I was never a
  21    want to characterize it --                          21   corporate officer. So, anything of corporate
  22       A. Then, basically, I was in the capacity        22   officer. Anything that I thought it
  23    of the marketing guy, not the inventor.             23   substantial that he must know. And it was I
  24    Marketing guy.                                      24   think in the beginning opening a bank
  25             MS. MARTENY: Wait, Don. We're way          25   account. Credit cards. Merchant services,

                                                       18                                                       20
  1         off track.                                       1   and so on.
  2    BY MR. SETTLEMYER:                                    2     Q. Okay. So --
  3      Q. I don't want to cut you off, but I think         3     A. Whether he signed on it or I signed,
  4    maybe we're getting far afield from what              4   he was made aware of because he's the boss.
  5    specifically I'm asking. So, Don Juravin was          5     Q. In terms of the relationship between Roca
  6    authorized to spend Roca Labs, Inc. money to pay      6   Labs, Inc. and Zero Calorie Labs -- I just want
  7    to Don Juravin without asking permission of Mr.       7   to dig into that for a moment. Roca Labs, Inc.
  8    Whiting, so long as the Roca Labs, Inc. account       8   -- correct me if I'm wrong -- instructed Zero
  9    was not being overdrawn. Is that correct?             9   Calorie Labs when to pay individuals working on
 10      A. No. George was aware that we have a             10   behalf of Roca Labs. Is that correct?
 11    deal and that I will take -- that Don                11     A. I think so.
 12    Juravin, the inventor -- I'm sorry. George           12     Q. And Roca Labs directed Zero Calorie Labs
 13    was aware that Roca Labs needs to pay Don,           13   whom to pay for work that was done on behalf of
 14    the inventor. Don, the marketing guy, can            14   Roca Labs, Inc.?
 15    send the money to Don, the inventor, for as          15     A. I think so.
 16    long as he doesn't lose the company. That            16     Q. And Roca Labs, Inc. determined the amounts
 17    was our understanding.                               17   of payments to make to those individuals working
 18      Q. Again, regardless of the capacity, still,       18   on behalf of Roca Labs, Inc.
 19    you individually, Mr. Juravin, were authorized to    19     A. Yes.
 20    spend Roca Labs, Inc. money to pay yourself in       20     Q. Okay. And if Zero Calorie Labs had, say,
 21    whatever capacity was appropriate without getting    21   an advertising expenditure which may not have
 22    prior permission from Mr. Whiting. Is that           22   been --
 23    correct?                                             23     A. I'm sorry. I want to correct myself.
 24      A. The permission was to take whatever it          24   If Zero Calorie had an obligation to pay
 25    is that we agreed in the invention.                  25   somebody, because Zero Calorie had an


                                                                                               5 (Pages 17 to 20)
                                       For The Record, Inc.                                      PX6-18b
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 22 of 264 PageID 8529
                                                      Juravin
FTC v. Roca Labs, Inc., et al.                                                                       2/15/2017
                                                      21                                                         23
   1    agreement, then Zero Calorie needs to pay,          1   2014, a contract between Zero Calorie Labs and
   2    regardless if Roca Labs agrees or not agree.        2   independent contractors. Why would that have
   3    If there is an agreement between Zero and an        3   been the case?
   4    employee or independent -- I'm sorry --             4      A. Because maybe I did not send the
   5    independent contractor, Zero needs to pay.          5   contracts. I did not make people sign. That
   6      Q. But the individual who made the decision       6   was probably Sharon King. But if Sharon King
   7    to instruct Zero Calorie Labs that an obligation    7   sent it, it is maybe because I did not inform
   8    was to be undertaken or had been met, that was      8   her. Maybe because I did not inform her.
   9    Don Juravin's. Correct?                             9   I think the pay was -- I'm almost sure that
  10      A. For the most part. Yes.                       10   the pay was from RLN. Even if Sharon sent
  11      Q. Okay.                                         11   some old agreement, I believe that the payment
  12      A. For the most part.                            12   was from RLN.
  13      Q. Is there any exception to that that           13      Q. So, in terms of just the different
  14    you can think of?                                  14   corporate entities, would it be correct to say
  15      A. Yeah. Any. Sharon King who was the            15   that at different times between 2010 and 2014,
  16    general manager. Sharon King instructed me         16   independent contractors doing work on behalf of
  17    to pay and how much to pay. She made the           17   Roca Labs would have been paid either by Roca
  18    monthly hourly -- she told me how much to pay      18   Labs, Zero Calorie, or Roca Labs Nutraceutical?
  19    each person, and I just acted upon it.             19      A. Possible.
  20      Q. But Sharon King, as general manager, did      20      Q. Or even by Don Juravin personally.
  21    not have authority to instruct you, Don Juravin,   21   Correct?
  22    to do those things. You were free to accept or     22      A. No. No. George's rules were very
  23    reject her requests. Is that correct?              23   clear. I mean, I'm glad that you bought it
  24      A. I don't know how to answer. I could           24   up. Things that I absolutely didn't agree
  25    have said no, I don't want to pay. With no         25   with him. For example, from 2009 till 2014,

                                                      22                                                         24
  1    grovels.                                             1   George's -- George did not -- absolutely
  2      Q. Okay. Thank you. When Roca Labs                 2   oppose paying for gas, paying for cars,
  3    Nutraceutical was formed and began operating, was    3   paying for personal space at home, even if I
  4    its relationship to Zero Calorie Labs basically      4   work at home. He absolutely did not agree to
  5    the same as Roca Labs, Inc.'s relationship?          5   these things because he says it's all --
  6      A. I don't think they had the                      6   never mind. He just did not agree.
  7    relationship.                                        7            I fought with him about it.
  8      Q. So, would --                                    8   I said, "Hey, I'm driving my car to work.
  9      A. I don't remember using Zero in 2014.            9   I'm using gas. I'm going to restaurants on
 10    I don't remember.                                   10   behalf of the company."
 11      Q. Is there any reason to think that the          11            He said, "I've heard this before.
 12    relationship would have changed?                    12   The answer is no. You are not to expense any
 13      A. Yes.                                           13   of those. Not Internet from home. Not the
 14      Q. Why would the relationship have changed?       14   place from home." So, that was part of his
 15      A. Because I tried to do decisions                15   instructions. So, in '14 when I had Roca Labs
 16    without George in 2014, and I couldn't use          16   Nutraceutical, and I was the signature, I
 17    George's company to make a decision to use          17   believe that I did everything. You know, I
 18    Zero Calories. It's not my company. So, I           18   paid, and I did it. Part of what he never
 19    think Nutraceutical paid directly, not              19   allowed me to do, not to involve personal, Don
 20    through Zero.                                       20   Juravin. So, things I did in my home, I can
 21             The reason Zero was created was            21   never make payment from the company.
 22    to be an HR. Because that's what George             22     Q. I don't want to cut you off. But I do
 23    wanted. Up to '14 I didn't need it anymore.         23   want to make sure we're clear on one part.
 24      Q. I believe we can find -- I think that are      24     A. By the way, if you don't cut me off,
 25    in the record from other depositions, I believe     25   you will never get to talk.

                                                                                               6 (Pages 21 to 24)
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                                                     Juravin
FTC v. Roca Labs, Inc., et al.                                                                      2/15/2017
                                                     25                                                       27
  1      Q. I will not be shy about trying to keep us       1   with Don A. Juravin. You see that?
  2    focused on the question. Because I know you want     2     A. Yes.
  3    to be expeditious about today's deposition as        3     Q. What was that money for?
  4    well, even though we have a lot to cover.            4     A. Impression.
  5            So, Don Juravin would, similar to            5     Q. Say again, please.
  6    his role in Roca Labs, Inc., would provide           6     A. Impression.
  7    direction for the activities of Roca Labs            7     Q. Impression?
  8    Nutraceutical in terms of marketing,                 8     A. Yes.
  9    personnel, and products. Is that correct?            9     Q. Can you explain what you mean?
 10      A. No.                                            10     A. We live in a world that the bank wants
 11      Q. No. Why not?                                   11   to see a big deposit.
 12      A. Because Roca Labs Nutraceutical was            12     Q. Okay.
 13    under my signature. I could do whatever I           13     A. So, I give the bank a big deposit for
 14    wanted with general guidance of George. But         14   a short while, and then I took it back.
 15    I could take risks that I could not do from         15     Q. Where did that money come from? That one
 16    2009 until 2013.                                    16   million.
 17      Q. But there's nothing about the marketing        17     A. From TD. From the stock. Either TD
 18    that Don Juravin ceased to be responsible for.      18   or something.
 19      A. Correct.                                       19     Q. This is from Don Juravin's personal
 20      Q. There's nothing about the product that Don     20   account?
 21    Juravin ceased to be --                             21     A. Correct.
 22      A. Correct.                                       22     Q. Would that have been Wells Fargo?
 23      Q. There's nothing about the personnel that       23     A. No. Wells Fargo doesn't have. You
 24    Don Juravin ceased to be responsible for?           24   guys got confused a few times about it. This
 25      A. Correct.                                       25   is either Schwab or TD.

                                                     26                                                       28
  1      Q. So, let's move on to Exhibit Number 22,         1      Q. So, in 2014, would it have been Schwab, or
  2    please. And I just want to make sure I'm clear       2   TD, or you don't recall?
  3    about who had signatory authority over the Roca      3      A. I don't know.
  4    Labs Nutraceutical USA Bank of America account --    4      Q. So, basically, the million dollars was
  5      A. Myself.                                         5   from Don Juravin personally, and, then, the
  6      Q. -- ending in 588. Only you, Mr. Juravin.        6   withdrawal on the 31st just below of a million
  7      A. Myself, because I incorporated.                 7   dollars went back to Don Juravin personally?
  8    Because it was my company. And in an early           8      A. Exactly.
  9    time, George formed the bank accounts. But           9      Q. Okay. So, then, let's go to --
 10    because we didn't want to mix things, we were       10      A. If I might say something that will
 11    afraid that it won't be organized. George           11   help you with many, many questions.
 12    and I decided that I will be responsible and        12      Q. Okay.
 13    I will be the sole signature. Just for the          13      A. The things that I created, a lot of
 14    purposes of organization.                           14   times I learned how the bank's investors,
 15      Q. Okay. So, let's go to Exhibit 23, which        15   they want to see things. So, I just followed
 16    are the bank statements.                            16   the game. Dog and pony show. Investing the
 17      A. Okay.                                          17   money, putting the money, creating things
 18      Q. I'm just going to pull up something as an      18   that I call legit. Things that need to look
 19    example. I'm going to try to direct you to a        19   like wow, the bank had really a lot of money
 20    page. Bear with me for a moment. First of all,      20   before we get there. Because this is what
 21    let's go to the third page of the document that's   21   they're looking for, so this is what I do.
 22    marked at the bottom 2554.                          22   It'll repeat itself again and again almost in
 23      A. I'm there.                                     23   every question.
 24      Q. Okay. So, there is a March 28, 2014            24      Q. We'll come back to that. I'm going to
 25    deposit of one million dollars that originated      25   direct your attention to the page marked at the

                                                                                              7 (Pages 25 to 28)
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                                                     Juravin
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                                                     29                                                       31
  1    bottom 2562.                                         1   Roca Labs, sometimes on the site called
  2      A. I'm there.                                      2   Gastric Bypass Alternative, let's call it
  3      Q. Okay. You'll notice there are a number of       3   regimen. It is from the sales of the
  4    entries on this page, and I believe this is true     4   regimen.
  5    on other pages of the statement, that are labeled    5     Q. Well, the regimen includes -- I understand
  6    "merchant bank deposit"?                             6   you, from prior discussions, you would consider
  7      A. Okay.                                           7   the Roca Labs formula to be one component of the
  8      Q. Day to day. Can you explain what that           8   regimen. Is that correct?
  9    signifies?                                           9     A. One of four.
 10      A. Probably merchant searches.                    10     Q. But we all agreed that at the very least
 11      Q. Tell me with more particularity, where is      11   that any iteration of the regimen includes the
 12    that money coming from? Just explain. It may be     12   Roca Labs formula. Is that correct?
 13    obvious to you and to me, but I want you to         13     A. Yes. Yes.
 14    explain it on the record.                           14     Q. Okay. So, but, essentially all those
 15      A. All the monies we sell for money, we           15   merchant processor things were the card
 16    never had cash deals. Everything from 2009          16   payments --
 17    always goes through the credit cards. So,           17     A. Yes.
 18    always there is a merchant service that is          18     Q. -- from consumers. Correct?
 19    forwarding the money. PayPal merchant               19     A. Correct.
 20    service is this.                                    20     Q. Okay. So, we're done with 23 for the
 21      Q. So, basically, this is money that's paid       21   moment. I want to go back to something you said
 22    by consumers to Roca Labs, Inc. or Roca Labs        22   a moment ago about Don, the inventor. So, what
 23    Nutraceutical, depending on which time frame        23   was the invention, in your words, in your own
 24    we're talking about? Is that right?                 24   description? How would you sum that up?
 25      A. Yes. Every time it's a different name          25     A. The gastric bypass effect morning

                                                     30                                                       32
   1    because the bank register does it different.        1   dose, anti-cravings, basically.
   2    Let's call it merchant services all the time.       2      Q. Okay. Did you develop this invention on
   3    Let's call it credit cards.                         3   your own or in conjunction with anyone else?
   4      Q. Would it also have been debit cards?           4      A. On my own. I was helped by others.
   5      A. We don't know.                                 5   But it's my -- I was leading it.
   6      Q. You don't know?                                6      Q. Who helped you?
   7      A. That's why it's called processing.             7      A. It's not helped. I was -- I consulted
   8      Q. Right.                                         8   with.
   9      A. So, how they paid the processing               9      Q. With whom did you consult?
  10    service, I don't know.                             10      A. I cannot even remember names. But
  11      Q. You used the word credit card. I just         11   it's anybody I could. It can be a doctor
  12    wanted to make sure it wasn't specific, only a     12   that I will ask. It can be on the Web.
  13    credit card.                                       13   It can be that on the Web I will ask a doctor.
  14      A. Let's call it processing services.            14   I will ask the lab people. Anybody possible.
  15    Merchant service.                                  15      Q. Okay. When did you come up with what you
  16      Q. Okay. Understood. I think we got that.        16   refer to as the invention?
  17    Would you agree, then, that throughout Exhibit     17      A. I was then in Israel, and it was maybe
  18    23, wherever the indication in the deposits are    18   2005, '6, '7.
  19    from merchant bank, that those are, in fact,       19      Q. And were you selling your invention in
  20    cumulatively payments from consumers for           20   Israel at the time?
  21    purchases from Roca Labs?                          21      A. I invented it. I developed it over
  22      A. Purchases of the regimen.                     22   there. And, then, slowly turned into sales.
  23      Q. Whatever you want to call it.                 23      Q. And you were doing on-line sales of that
  24      A. Let's call it from now on regimen.            24   product, invention?
  25    Because sometimes if I be on the site called       25      A. I can't remember -- yes. Yes. Later


                                                                                              8 (Pages 29 to 32)
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                                                         Juravin
FTC v. Roca Labs, Inc., et al.                                                                        2/15/2017
                                                         37                                                       39
   1       A. Yes. Exactly. It's me. And I signed              1   the bank statements.
   2    this Roca Nutraceutical. So, it's kind of              2     A. Sure.
   3    like, I don't know what kind of error. But             3     Q. And we talked about the merchant
   4    this is me trying to break free from George,           4   processing. So, these merchant bank deposits
   5    saying, "Okay. This is my name. I can do               5   into the Roca Labs Nutraceutical account --
   6    it." It never took place.                              6     A. Okay.
   7       Q. Basically, regardless of what was                7     Q. Why would they not be gross receipts
   8    happening in terms of the transition that              8   for Roca Labs Nutraceutical on the tax
   9    was contemplated, whether it succeeded or              9   return for the 2014 year?
  10    failed, it was to be the case that Sharon             10     A. That's why I took the time earlier to
  11    Hensley, Sharon King, or both, to continue            11   explain you everything and my answer was
  12    their same duties, but just be paid by a              12   there.
  13    different entity. Is that right?                      13     Q. Okay.
  14       A. I don't think -- I don't know if I              14     A. I said earlier that -- I said RLN is
  15    referred to them or to the people under them.         15   an agent, an extension of Roca Labs only.
  16       Q. Well, Sharon Hensley was an American.           16     Q. Okay.
  17    Right?                                                17     A. And, so, everything that you see will
  18       A. Yeah. But I haven't -- we had a deal            18   be in the tax returns of Roca Labs.
  19    with her as independent contractor. I meant           19     Q. Okay.
  20    there may be other Americans. I don't                 20     A. And they are kind of like overlapping.
  21    remember because we never acted upon it.              21     Q. All right. That answers that question.
  22    I think George intercepted it in some way, and        22   So, the answer, then, would be the same for
  23    say, "If I have anything to do with RLN,              23   Exhibit 27, the 2015 tax return for Roca Lab
  24    that's not the way I want things to be done."         24   Nutraceutical --
  25    Then maybe I buried it.                               25     A. Then you can cross reference the

                                                         38                                                       40
   1      Q. Sharon King is also an American. Right?           1   numbers.
   2      A. Yes. But I don't know even if I refer             2      Q. Okay. So, again, the zero gross receipts
   3    to them.                                               3   for the 2015 year for Roca Labs Nutraceutical is
   4      Q. But either way, their duties didn't change        4   a consequence of the fact that Roca Labs
   5    as a result of this contemplated change. Is that       5   Nutraceutical was being treated as an agent of
   6    right?                                                 6   Roca Labs, Inc. Is that right?
   7      A. Duties?                                           7      A. Yes. But I'll make your life easier.
   8      Q. Their duties.                                     8   You're looking at the bank statements, and
   9      A. No.                                               9   you're looking at the minimum numbers. We
  10      Q. Okay. Thank you. The next --                     10   don't look at it. We care about one number.
  11      A. Did I give you a very long answer                11   1099 issued by iPayment. 1099 issued by
  12    again to something very simple?                       12   PayPal. This is the only thing that matters.
  13      Q. You gave me I think about what I                 13   It encompasses everything.
  14    needed to understand what this document is.           14      Q. So, we have not received 1099s
  15    Let's look at Exhibit 26. This is a 2014              15   from any of these entities.
  16    tax return for Roca Labs Nutraceutical. If            16      A. I will make sure that you get it. But
  17    you look at line one on page one of Exhibit           17   this is the only thing that we care about.
  18    26, there are -- it lists zero gross receipts.        18   One year in 2012 George made the mistake, and
  19    You see that?                                         19   he counted on these bank statements that he
  20      A. Yeah. But I have to tell you that I              20   said to you. The IRS sent us a letter saying
  21    really don't understand about tax returns and         21   there is a discrepancy of $60,000. Then,
  22    lines and stuff. I've never understood it.            22   George learned the lesson not to count on the
  23    And I will answer to the best -- the best of          23   bank accounts, but to count only on the
  24    my knowledge.                                         24   summation of the processing.
  25      Q. Okay. Well, let's go back to Exhibit 23,         25      Q. Who would receive those documents, the

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                                                     Juravin
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                                                     41                                                          43
   1    1099s you're referring to?                          1   application?
   2      A. Irrelevant because you take them from          2     A. Merchant processing. Yes. And, of
   3    -- you download them.                               3   course -- okay. What is the question?
   4      Q. Were they direct -- who downloaded them?       4     Q. The question is: Did you put the
   5      A. I don't know. But we -- myself,                5   information about Roca Labs, Inc. into this
   6    George. Whatever. The bottom line is that's         6   application and the forms that are associated
   7    why it took us so long to do the '14 and '15        7   with it in Exhibit 17?
   8    tax returns to provide the FTC. So, we ask          8     A. I think so. And I remember it was a
   9    them for the 1099. We have to wait for a            9   problematic one. Yes.
  10    long time for them to give it to us. When we       10     Q. You do remember doing it though. Correct?
  11    got them, that's the only thing you rely on,       11     A. Yeah. Because -- no. I don't
  12    whether you got the money or not.                  12   remember doing it. But I remember that it
  13      Q. So, the only thing you could rely on is       13   went back and forth. Yes.
  14    you're talking about looking at calculating        14     Q. Okay. So, it wouldn't have been anybody
  15    revenues. Is that correct?                         15   else from the Roca Labs side?
  16      A. Correct. So, the big number of the            16     A. No. It's mine.
  17    revenue is coming from the 1099, not from          17     Q. Thank you. Done with that one.
  18    what you see here. They sent the money.            18   Off the record again.
  19    They're supposed to always match. Always           19           (Off the record from 1:27 p.m. to 1:41 p.m.)
  20    match. But why go through so much work if          20           (Plaintiff's Exhibit Nos. 30, 31,
  21    anyway this is what the IRS knows about, the       21   32, 33, 34, 35, 36, 37, 38 and 39 were marked
  22    number from 1099.                                  22   for identification.)
  23      Q. Let's take a couple minute break.             23           MS. MARTENY: Defendants will stipulate
  24    I'm going to see what next batch of documents      24        that Exhibits 30 through 39 are true
  25    we can look at.                                    25        and accurate representations or copies

                                                     42                                                          44
  1             (Short recess taken from 1:16 p.m.          1        of what the document purports to be and
  2    to 1:23 p.m.)                                        2        that the information contained in those
  3             (Plaintiff's Exhibit Nos. 28 and 29 were    3        exhibits is accurate.
  4    marked for identification.)                          4   BY MR. SETTLEMYER:
  5             MS. MARTENY: Defendants will                5     Q. Okay. Thank you. I'm going to have a few
  6         stipulate that Exhibit 28 is a true and         6   questions about some of them. But, hopefully, we
  7         accurate copy of Roca Labs, Inc. 2012           7   can get through that quickly. Mr. Juravin, you
  8         amended tax return, and the information         8   are, at this point in time, the sole owner of
  9         that's in Exhibit 28 is correct.                9   Must Cure Obesity Company. Is that correct?
 10             Defendants will also stipulate that        10     A. Yes.
 11         Exhibit 29 is a true and correct copy of       11     Q. You have at all times been the sole
 12         Roca Labs, Inc.'s 2013 tax return,             12   owner of Must Cure Obesity Co. Is that
 13         and that the information in Exhibit 29         13   correct?
 14         is also correct.                               14     A. Yes.
 15             MR. SETTLEMYER: Thank you. Back off.       15     Q. You are at this point the sole
 16             (Off the record from 1:24 p.m.             16   signatory n the Must Cure Obesity bank
 17    to 1:25 p.m.)                                       17   account with Bank of America ending 9288?
 18    BY MR. SETTLEMYER:                                  18     A. It's closed.
 19      Q. Mr. Juravin, please take a look at the         19     Q. During the time it was open, you
 20    document that's been marked as Exhibit 17.          20   were the sole signatory for that account?
 21      A. Okay.                                          21     A. Yes.
 22      Q. Just look all the way through the              22     Q. And you're the one who opened that
 23    document. I want to make sure that you'll be        23   account. Is that correct?
 24    able to answer the question, which is: Did you      24     A. What was the name of the account?
 25    personally put the information into this            25   Must Cure Obesity?

                                                                                               11 (Pages 41 to 44)
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                                                       Juravin
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                                                       45                                                       47
  1       Q. This was Must Cure Obesity --                   1     Q. So, let's look at --
  2       A. Yes.                                            2     A. Are we done with --
  3       Q. -- ending in 9299. Is that correct?             3     Q. We're done with No. 34 for now. Let's
  4       A. Then, yes.                                      4   look at No. 35. So, No. 35 is a Chase bank
  5       Q. Turn with me, please, to Exhibit                5   statement or set of them from July 1, 2015.
  6     No. 34. So, Exhibit 34 is an American                6     A. Okay.
  7     Express statement from Must Cure Obesity, and        7     Q. Through the end of December 2015.
  8     that's got a statement close date of --              8   Do you agree with that?
  9     doesn't say. It's got a minimum --                   9     A. Yeah.
 10       A. Yeah. Closing date is February 22nd,           10     Q. And turn, please, to the page marked at
 11     2015.                                               11   the bottom right-hand corner, Roca-000065.
 12       Q. Okay. February 22nd? That's the next           12     A. I'm there.
 13     closing date, it says, up at the top.               13     Q. Okay. You see all those entries for
 14       A. You're right.                                  14   PayPal?
 15       Q. But this basically is for January 2015         15     A. PayPal automatic. It's a transfer of
 16     expenses?                                           16   money. Again, let's call it processing or
 17       A. Exactly. January 2015.                         17   the merchant services.
 18       Q. Okay. And this is account ending 3-01005.      18     Q. Okay. And all of these processing
 19     Correct?                                            19   deposits in Exhibit 35 on that page we're looking
 20       A. Yes.                                           20   at and throughout that are from PayPal, those
 21       Q. So, what was this account, the American        21   represent, in the aggregate, consumer purchases
 22     Express account, being used for in January 2015?    22   of the Roca Labs regimen. Is that correct?
 23       A. Like all along, for Must Cure Obesity          23     A. Yes.
 24     Company.                                            24     Q. Okay.
 25       Q. For what type of expenses was this being       25     A. Because at this time, it's not -- no

                                                       46                                                       48
   1    used for?                                            1   longer the name Roca Labs. But yes.
   2      A. Everything that I could not do between          2     Q. So, the company Must Cure Obesity has a
   3    2009 and 2014. All the expenses of the               3   PayPal account. Is that correct?
   4    company. As I mentioned earlier, I couldn't          4     A. Yes.
   5    use airline tickets, food, Internet, and             5     Q. Okay. Just so I understand the mechanics.
   6    whatever. And now the company is mine, I can         6   The money that is paid by customers into the
   7    do it.                                               7   PayPal account, does all of it go into the Must
   8      Q. Okay.                                           8   Cure Obesity bank account, or does some of it not
   9      A. So, it's everything that is business            9   go --
  10    expense.                                            10     A. It's being transferred every night or
  11      Q. All right. And is this the first               11   something to the bank account.
  12    American Express statement that Must Cure           12     Q. Okay. So, aside from reserves that
  13    Obesity had?                                        13   PayPal holds --
  14      A. I think it's the only one that it had.         14     A. Which go back -- okay.
  15      Q. No. Is this the first month of the             15     Q. Which eventually would come to Must
  16    statement for this company?                         16   Cure Obesity --
  17      A. You're asking me when it was open?             17     A. Not really. Because it always
  18    I believe so.                                       18   balances with another customer that has a
  19      Q. Okay.                                          19   charge back and another customer. So, it's
  20      A. Because in '14 it was Nutraceutical.           20   dead money.
  21    So, I believe so.                                   21     Q. But, in theory, the hold back that
  22      Q. Okay. I'm also noticing it doesn't show        22   PayPal has, if the reserve it holds,
  23    -- it doesn't show any payments on this             23   eventually, if Must Cure Obesity were to stop
  24    statement.                                          24   doing business, that money would eventually
  25      A. So, you're right.                              25   come to Must Cure


                                                                                              12 (Pages 45 to 48)
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                                                      Juravin
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                                                      49                                                      51
   1    Obesity --                                           1   customer needed to see to understand they made a
   2       A. After one year, provided the customers         2   purchase. Is that right?
   3    do not do charge backs, which never happen --        3      A. Yes. Yeah. Two -- okay. There is a
   4    I had two months ago money from two years            4   difference between the EIN -- difference
   5    ago. iPayment took $5,000. Still after the           5   between the EIN and what you want the
   6    reserve. So, it's dead money.                        6   customer to see. So, because it's very
   7       Q. Understood. But basically, the concept         7   important that they recognize, because many
   8    is, though, any money that doesn't go back to        8   will say, "Hey, I don't recognize this
   9    charge backs out of the reserves eventually comes    9   transaction. I'm going to deny it."
  10    to the company.                                     10           Then, we have to pay money. So,
  11       A. In theory. But in reality, no.                11   it might be that it's Must Cure Obesity, but
  12       Q. So, aside from -- I just want to make sure    12   we will not place the name Must Cure Obesity
  13    I understand. The money that's coming into          13   because they remember Gastric Bypass
  14    PayPal doesn't get transferred anywhere else.       14   Alternative.
  15    It goes into Must Cure Obesity's bank account.      15      Q. All right. In terms of what that name is
  16    Is that right?                                      16   that's on the PayPal account for Must Cure
  17       A. Not completely. I can make a payment          17   Obesity --
  18    if there is some money there in the account.        18      A. Call it official. And call it
  19       Q. Okay.                                         19   customer's name.
  20       A. I can make a payment to, let's say --         20      Q. What are the customer names denominations
  21    to buy something. I can make a payment.             21   of the Must Cure Obesity PayPal account at
  22       Q. Okay. Have you made payments from the         22   present?
  23    Must Cure Obesity PayPal money for things           23      A. Must -- probably Gastric Bypass
  24    since --                                            24   Alternative. Anything that the customer can
  25       A. Only if I really need to transfer a           25   definitely identify that it's their purchase.

                                                      50                                                      52
  1    quick one. You know?                                  1     Q. And what other --
  2      Q. Okay. But you've done that. Right?               2     A. Then official name is Must Cure
  3      A. Yes.                                             3   Obesity.
  4      Q. I don't think we've ever gotten, aside           4     Q. Okay. What other denominations have there
  5    from one printout at any point, a set                 5   been for the customer side of Must Cure Obesity
  6    of PayPal --                                          6   account, aside from -- you said Gastric Bypass
  7      A. No problem.                                      7   Alternative?
  8      Q. -- printouts. Could you provide us with a        8     A. Because that's how the customer would
  9    complete set of all the payments into and out of,     9   recognize it.
 10    you know, daily, of the --                           10     Q. Sure. But what other names have there
 11      A. Okay.                                           11   been other than Gastric Bypass Alternative for
 12      Q. -- the PayPal account? Okay? I also want        12   the customer's side for that account?
 13    to ask: What's the current name -- let me back       13     A. Probably only Roca Labs. For a
 14    up. I just want to refresh your recollection.        14   certain period of time we made the mistake,
 15    You were deposed in this case back in September      15   and we didn't pay attention to that name. We
 16    of last year, and we talked somewhat about the       16   got too many unauthorized. Way too many
 17    PayPal account. Correct?                             17   unauthorized.
 18      A. I don't remember. But refresh my                18           It took us months to understand
 19    memory.                                              19   what the hell is going on. Then we said,
 20      Q. Okay. Well, I recall you saying, if my          20   "Wait a minute. The customer doesn't
 21    memory serves, that the account was -- the PayPal    21   recognize it." And that's why they call it
 22    account for Must Cure Obesity in the name of         22   unauthorized. Then, we change it to a name
 23    Must Cure Obesity, but it would potentially be       23   that they can recognize.
 24    denominated as something else. Like gastric          24           Can you imagine that you're buying
 25    bypass alternative, depending on what the            25   for $50 from a company, but another company


                                                                                             13 (Pages 49 to 52)
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                                                       Juravin
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                                                       53                                                     55
   1    you see on your charge a month later, and you        1      Q. Two of four. Yes.
   2    said you did not buy it from them.                   2      A. Okay.
   3       Q. Thank you. The other question I have for       3      Q. There's a 10/27 on-line ACH payment to
   4    the PayPal account is whether there is a specific    4   Opinion for $40,000. Do you see that?
   5    unique e-mail address or other identifier for the    5      A. Yes. I am familiar with it.
   6    account to allow PayPal to consistently know         6      Q. Tell me what that payment was for.
   7    whose account it is?                                 7      A. I think you know.
   8       A. Only the EIN. That's the main thing.           8      Q. Well, tell me on the record.
   9    EIN.                                                 9      A. I paid for something that the FTC
  10       Q. The EIN for Must Cure Obesity is              10   should have corrected long ago. It's a
  11    associated with this PayPal account?                11   company that's -- I can't find the words
  12       A. Yes. It must be.                              12   without cursing. It's called Opinion Corp.
  13       Q. And there are no other PayPal accounts        13   And what else?
  14    associated with Must Cure Obesity?                  14      Q. They run the Web site Pissed Consumer?
  15       A. We have the one that we are using.            15      A. Yes.
  16       Q. Okay.                                         16      Q. What is the service for which you paid
  17       A. You're asking for unique identifier.          17   $40,000 or Must Cure Obesity paid $40,000 on
  18       Q. Yes.                                          18   October 27, 2015?
  19       A. The EIN, you cannot go by e-mail.             19      A. Advertising services.
  20    Because an account can have many e-mails.           20      Q. Okay. Can you describe what types
  21    An account can have many e-mails and three          21   of advertising services? What exactly did
  22    e-mails.                                            22   Must Cure Obesity expect to get in return
  23            Sharon King has the name next to            23   from Opinion Corp in exchange for $40,000?
  24    it. So, Sharon King has also e-mail that has        24      A. I don't even know what we paid for.
  25    been access to it. You cannot go by that.           25   I just know that it was like -- making us look

                                                       54                                                     56
   1    By the EIN if you're looking for unique              1   better for something that -- making us look
   2    identifier.                                          2   better for call-ins that were any way not
   3      Q. Is there a master account holder, perhaps       3   real, on the Google search. I don't know how
   4    yourself, with a unique e-mail address?              4   to describe it.
   5      A. There is no master. Only the EIN is             5     Q. Well, suppose they hadn't done it?
   6    the unique identifier. Unique identifier is          6   What would you call them up and say they had
   7    not master. Because I can have a master              7   failed to do?
   8    which means it's an administrator. But my            8     A. I cannot think. Because they don't
   9    programmer will have it because they need            9   think they failed to do anything. Because
  10    access to things. So don't go by it. Go by          10   they have the two or three C. So, they
  11    the EIN. EIN is only one.                           11   don't think they failed to do anything.
  12      Q. What's the administrator e-mail                12     Q. You're talking about the Communication
  13    designation for that PayPal account?                13   Decency Act, Section 230?
  14      A. I'm using Don@obesity.global.                  14     A. 230. Yes.
  15      Q. Thank you. I want to look at what's been       15     Q. In terms of the service that you
  16    marked as Exhibit 36, I believe. Done with 37.      16   expected to get from them, is there any sort
  17    I'm sorry. Thirty-five for the moment.              17   of service package you --
  18            Actually, I take that back.                 18     A. To make the bad, not the obvious on
  19    There's one question I had about 35. Look at        19   the Web. Not to make bad comments which we
  20    the October 2015 statement on 35. Under             20   absolutely did not recognize, not to be seen
  21    "electronic withdrawals" towards the bottom of      21   in the front.
  22    the page.                                           22     Q. Okay. Why did you pay $40,000 for that
  23      A. October.                                       23   service?
  24      Q. October, 2015. You see an entry for --         24     A. Because the FTC did not do whatever
  25      A. What page are you on? Two of four?             25   the FTC needs to do to protect us.

                                                                                             14 (Pages 53 to 56)
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                                                    Juravin
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                                                    57                                                     59
  1      Q. What benefit did you have from getting        1   I might say they're negative. But let's just
  2    that service?                                      2   use --
  3      A. Making the false comments not show up         3     A. It's my deposition. It's my words.
  4    up front.                                          4   The false -- what I considered false --
  5      Q. What impact were the false comments having    5     Q. Yes.
  6    that would require a payment of $40,000?           6     A. According to my definition of false.
  7      A. Whatever false comments will do. They         7     Q. Okay.
  8    will create the wrong impression.                  8     A. And I expected for the false not to be
  9      Q. And when you say "false comments," that's     9   obvious up front.
 10    your opinion about what the comments are.         10     Q. What would be obvious up front?
 11    Correct?                                          11   How would they accomplish that?
 12      A. No. It's comments that we don't like         12     A. By hiding them. Making them there,
 13    -- okay. Let's define what false comments         13   but not visible.
 14    are. False comments is, I don't recognize         14     Q. What would be there instead?
 15    the name of the person in our system, and if      15     A. They're simply not easily visible.
 16    we recognize the name, then they haven't used     16   Instead of being straight in your face, if
 17    the regimen for at least a month and a half.      17   you want to see them, you need to click
 18    They haven't called our customer service, and     18   another click, another click, another click.
 19    they haven't followed all the instructions.       19   You would not.
 20         If somebody on the Web writes, "My           20     Q. Were any reviews submitted by people being
 21    name is John Smith, I've used the regimen for     21   paid by Roca Labs being elevated in the display
 22    one and a half months, I followed all the         22   of search results that --
 23    instructions, I followed the rules, I             23     A. You are asking me about the terms and
 24    contacted customer service, and yet, I lost       24   conditions of Opinion Corp.?
 25    two pounds, and it's a shitty regimen, don't      25     Q. I'm asking you about the practical effect

                                                    58                                                     60
   1    buy it," that's not false. That's absolutely      1   of what would you see when you go to the page
   2    okay. Absolutely okay. That's not                 2   after you pay $40,000.
   3    considered negative. That's considered the        3      A. Just for the false comments? To not
   4    truth.                                            4   be easily accessible to ordinary customers.
   5      Q. Well, the truth can be negative. Right?      5   I think you're referring to something
   6      A. If the person followed the terms, the        6   else, and I'll help you with that.
   7    clear terms. I don't believe in terms in          7      Q. Okay.
   8    small letters. I don't believe in it. I           8      A. I'll help you with that. I know where
   9    believe in terms that the customer                9   you are going with it. You're asking me,
  10    understands. So, if the customer                 10   "Don, did you ask Roxie to pay $5 a month to
  11    one-and-a-half months for contact customer       11   express her opinion with consumer, why we
  12    service for help, and followed the               12   were in a fight with this consumer," I was
  13    instructions and rules, and got help from our    13   desperate because extremely frustrating to
  14    answers page, and yet the customer, for any      14   see so much false comments, that I knew it's
  15    reason in the world, feels that the product,     15   not ours. And they are not real.
  16    the regimen, does not work, that's okay.         16            I asked anybody I could, "Please,
  17      Q. In terms of what you expected to            17   take $5 times twelve, go and tell your story.
  18    get from Opinion Corp., were you expecting       18   I don't need to approve. I don't need to look
  19    somebody -- what were you expecting to happen    19   at it. Just take $60, and put your story so
  20    to -- I'll use my term -- the negative           20   it will get there."
  21    comments?                                        21      Q. By virtually paying $40,000 to this
  22      A. It's not negative. It's false.              22   consumer, aka, Opinion Corp., do comments like
  23    Negative is okay. But false is not okay.         23   Roxie's or other testimonials become elevated?
  24      Q. Let's just agree on the term "disputed      24      A. No. It's a different service.
  25    comments." You say they would be false.          25   Opinion Corp. used to have a service that

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                                                      Juravin
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                                                      61                                                       63
  1    anybody can go on the -- on their site and say       1   Right now, we have to give it to them.
  2    "Hey, Roca Labs was really helpful." Okay.           2     Q. We have requested it.
  3    "In losing the weight. So helpful that I'm           3     A. So I need to give it.
  4    willing to pay $5 to put my picture and my           4           MS. MARTENY: You need to give it to me.
  5    video there." Okay? That's the service that          5     A. You will have it this afternoon. I
  6    I ask Roxie to do.                                   6   guess it's probably the stipulation is they
  7      Q. And you don't think the $40,000 payment         7   don't want this document to be seen by
  8    has anything to do with whatever prominence would    8   anybody and stuff. But it doesn't apply
  9    be afforded by Opinion Corp. to comments like        9   here. So, you understand, I mean the
 10    Roxie's?                                            10   conflict between somebody --
 11      A. It's a different procedure.                    11           MS. MARTENY: Let's produce the
 12      Q. It's a yes or no question.                     12        document, and then we'll talk about it.
 13      A. Ask me again.                                  13     A. It'll be done today.
 14            MR. SETTLEMYER: Please read the             14   BY MR. SETTLEMYER:
 15         question back.                                 15     Q. What was the duration of the service for
 16            (Last question read back as requested.)     16   the October 2015 payment of $40,000?
 17      A. I don't understand what prominence is.         17     A. I'm glad that you asked. I'm glad
 18    BY MR. SETTLEMYER:                                  18   that you asked. It was for one year.
 19      Q. How up front something is. How buried          19   Obviously, we cannot pay anymore after the
 20    or up front something is to maybe use your          20   one year.
 21    terms.                                              21     Q. So, let me just clarify. No further
 22      A. I don't -- I don't care about it. I            22   payment was made after the expiration of that one
 23    didn't look at it. I just cared about the           23   year for the continuation of the service being
 24    false comments not to be visible.                   24   provided?
 25      Q. Okay. Well, are the false comments bad         25     A. Because there is nobody.

                                                      62                                                       64
   1    for Roca Labs business?                             1     Q. But that's -- I take that as, in fact, no
   2      A. Yes. They are false.                           2   payment of that sort has been made in 2016?
   3      Q. Do they hurt Roca Labs sales?                  3     A. No payment was made aside from this
   4      A. Very much.                                     4   40,000.
   5      Q. More than $40,000 worth of sales you           5     Q. Okay.
   6    think?                                              6     A. Mike doesn't know why I'm laughing all
   7      A. Yes.                                           7   the time. Because we had this conversation.
   8      Q. Okay. And was there any kind of written        8     Q. We've touched on the subject various
   9    document, or click through agreement that Must      9   times.
  10    Cure Obesity entered into with Opinion in the      10     A. Touched on the subject. And you know
  11    process of agreeing to pay the $40,000?            11   where I stand on it.
  12      A. Yes.                                          12     Q. I appreciate that. We're trying to
  13      Q. Okay. Is that one of the documents we         13   clarify the facts.
  14    will receive this afternoon?                       14     A. Sure.
  15      A. I don't know. But I do have it.               15     Q. Okay. The next document I'd like you
  16      Q. Okay.                                         16   to look at is Exhibit 36. You're done with
  17      A. I do have it. I remember when they            17   35. And would you agree with me that Exhibit
  18    make me sign on it, it was a lot of                18   36 is a collection of Must Cure Obesity Co.
  19    stipulation. I didn't even read the                19   Chase Bank accounts for the account ending
  20    document. It happened immediately when we          20   7028 for the period January 1, 2016 through
  21    lost the case against them on a summary            21   December 31, 2016?
  22    judgment. And I remember, it was a lot of          22     A. Okay.
  23    stipulations there as far as you will not          23     Q. That's a yes?
  24    discover this document, you will not this.         24     A. Yes.
  25    But I think it doesn't apply to this.              25     Q. Okay. I'm sorry. December 30, 2016

                                                                                             16 (Pages 61 to 64)
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                                                         Juravin
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                                                         65                                                      67
   1    to be -- there is no December 31. All right.           1   return for Must Cure Obesity Co. This is for
   2    All right. I don't have any questions about            2   2015. We already have established that receipts
   3    that beyond just one. And I think we've                3   were coming in from PayPal to Must Cure Obesity
   4    touched on it before. And that is: Again,              4   in 2015. Yet there is on line one zero dollars
   5    the PayPal money that's represented in the             5   in gross receipts. Is that correct? Yes or no?
   6    2016 Must Cure Obesity Chase Bank statements           6      A. Not really. I'll explain.
   7    for account ending 7028 are also card                  7      Q. Okay. Please.
   8    processing deposits resulting from sales of --         8      A. We thought --
   9      A. Yes.                                              9      Q. "We" being?
  10      Q. -- Roca Labs product? Thank you.                 10      A. Myself, George, and the accountant.
  11    Let's go to Exhibit 37. This is the Must Cure         11      Q. Okay.
  12    Obesity Co. 2014 income tax return. Correct?          12      A. That the money we collected was Must
  13      A. Yes.                                             13   Cure Obesity. Okay? But we couldn't do it
  14      Q. Okay. You see in line one gross receipts         14   because PayPal issued a 1099 to another
  15    for sales is zero.                                    15   company. So, you cannot put money that they
  16      A. Yes.                                             16   received because the 1099 is there.
  17      Q. Yes? So, for 2014, there were no                 17      Q. To whom did PayPal issue the 1099?
  18    receipts for Must Cure Obesity Co. Is that            18      A. Probably to Nutraceutical. Because I
  19    correct?                                              19   did not change the EIN.
  20      A. Correct.                                         20      Q. With regard to --
  21      Q. Okay. What company was receiving money           21      A. By the way, it was changed later.
  22    for Roca Labs product in 2014? Was that               22   It was changed. But if PayPal is
  23    Roca Labs, Inc.?                                      23   issuing 1099 to a company, you must report
  24      A. No. Probably Nutraceutical.                      24   under the same company. And, then, I ask
  25      Q. Nutraceutical we already know had                25   PayPal to change it. But the monies reported

                                                         66                                                      68
   1    a zero --                                              1   either this company, this company, or that
   2       A. So, Roca Labs.                                   2   company.
   3       Q. So, it was Roca Labs. Okay.                      3           Let's say that we collected money
   4       A. Yes.                                             4   and we thought that it's Must Cure Obesity.
   5       Q. Let's look at Exhibit 38, which is --            5   But PayPal had a different EIN. So, they will
   6       A. Let me explain why.                              6   issue the 1099 under the other EIN.
   7       Q. Go ahead. You're explaining why what?            7     Q. Understood. I just want to make sure that
   8       A. Why everything is -- what do you call            8   we are clear that again, no 1099s from PayPal or
   9    it -- streamlined to Roca Labs. Because Roca           9   any other payment process would have been made
  10    Labs has the agreement with Don, the inventor.        10   available to the FTC, and those would be
  11    You must stream this because Don can get the          11   documents that were responsive to our older
  12    money only from Roca Labs. So, it's must              12   request, and we would like to see those.
  13    streamline this for Don to receive his money          13     A. It's -- and I know that we made the
  14    as an inventor.                                       14   change. Because we had to file something
  15       Q. So, you're saying that money that came          15   according to the 1099.
  16    in and was paid -- well, go on to Exhibit 38.         16           MS. MARTENY: He's not asking you a
  17    Because this is --                                    17        question.
  18       A. So, that's what the accountants do.             18           THE WITNESS: He's not?
  19    That's as much as I understand.                       19           MS. MARTENY: No. That's not a question.
  20              MS. MARTENY: I'll tell you what             20           THE WITNESS: How come he's allowed
  21          streamline means. If you just answer            21        to make statements and I'm not?
  22          the question.                                   22           MR. SETTLEMYER: Well, we want to end on
  23    BY MR. SETTLEMYER:                                    23        time and I want to accommodate that.
  24       Q. We'll get to that streamline discussion         24           THE WITNESS: I don't want to keep him
  25    momentarily. But Exhibit 38, this is a tax            25        guessing.


                                                                                               17 (Pages 65 to 68)
                                      For The Record, Inc.                                       PX6-28
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 33 of 264 PageID 8540
                                                          Juravin
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                                                          69                                                       71
  1             MS. MARTENY: Trust me, Carl is going             1   would immediately provide any user names and
  2         to ask you a question if he does not                 2   passwords used while working with Roca Labs, what
  3         understand.                                          3   sorts of user names and passwords was he --
  4             MR. SETTLEMYER: I will ask you a question.       4     A. Database.
  5             THE WITNESS: But Carl and I are                  5     Q. Hmm?
  6         on the same side. We want to know the                6     A. Database. These guys controlled the
  7         truth.                                               7   database. And -- you know.
  8             MS. MARTENY: Understood.                         8     Q. So, this lawsuit was about him not
  9    BY MR. SETTLEMYER:                                        9   terminating those database passwords?
 10      Q. Let's turn to Exhibit 39. Now, Exhibit 39           10     A. No.
 11    is the Must Cure Obesity's statement from                11     Q. Or in part related to that?
 12    December 31, 2016.                                       12     A. No.
 13      A. Yes. It is December 2000 --                         13     Q. No?
 14      Q. 2016 through January 31, 2017.                      14     A. Volunteer information.
 15      A. It's January 2017.                                  15     Q. What was the lawsuit about -- well,
 16      Q. Yes. And once again, on the second page             16   the lawsuit speaks for itself.
 17    of this document, there are PayPal deposits that         17     A. Okay.
 18    reflect consumer payments for Roca Labs regimen.         18     Q. We'll skip that. Just what was the nature
 19      A. Same.                                               19   of the database in question that he would have
 20      Q. Okay. All right. I believe that's all               20   had access to?
 21    for those documents.                                     21     A. Database of -- I don't remember what
 22             MR. SETTLEMYER: So, why don't we go             22   we had at that time. But database to -- I
 23         off the record, and I'll see if I can               23   don't know if it was a database for the
 24         tee up some more stuff?                             24   customers or which database at that time.
 25            (Off the record from 2:17 p.m. to 2:35 p.m.)     25   But I need to tell you the purpose of that.

                                                          70                                                       72
  1             (Plaintiff's Exhibit Nos. 40, 41, 42, 43,        1   The purpose is basically to send a message to
  2    44, 45, 46, 57 and 48 were marked for identification.)    2   the rest of the programmers. It doesn't
  3             MS. MARTENY: So, defendants will                 3   matter what country you are. If you don't
  4         stipulate that Exhibit Nos. 40 through               4   comply with and take care of our database,
  5         48 are true and correct copies of                    5   and backups, and everything else, if you just
  6         various documents that have been filed               6   don't take care of the company, you cannot
  7         in court cases, although we note that                7   assume that because you are in a different
  8         some of the exhibits may be missing                  8   country, we will not pursue. We wanted to
  9         exhibits that were also filed in                     9   send a message. And the same with the next
 10         connection with the court filings that              10   one. Because sometimes they think if they are
 11         they represent.                                     11   in a different country, and they can just
 12    BY MR. SETTLEMYER:                                       12   disappear and hurt the business.
 13      Q. I'm going to have a few questions about a           13     Q. Let's just be clear of that by the next
 14    few of the documents. But not taking a lot of            14   one. We're talking about Exhibit 41. So, that
 15    time on these.                                           15   is Zero Calorie Labs and Roca Labs versus --
 16             The document marked as Exhibit 40,              16     A. That's the only purpose of these two.
 17    Mr. Juravin, would you please take a look at             17     Q. I don't want to interrupt. I don't want
 18    that, the complaint in Zero Calorie Labs and             18   to talk over you. I want to make the record.
 19    Roca Labs, Inc. versus Vishal -- V-i-s-h-a-l             19   Zero Calorie Labs and Roca Labs versus
 20    -- Sidhwani -- S-i-d-h-w-a-n-i? And look at              20   Charmaine -- C-h-a-r-m-a-i-n-e, Novelo,
 21    the third page of that document and look at              21   N-o-v-e-l-o.
 22    paragraph 15, please.                                    22   And look at the third page, paragraph 13,
 23      A. Okay.                                               23   you'll see, again, a reference to user names
 24      Q. Where it says that agreement of the                 24   and passwords.
 25    termination by either party that Mr. Sidhwani            25            What sort of user names and passwords

                                                                                                  18 (Pages 69 to 72)
                                        For The Record, Inc.                                       PX6-29
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 34 of 264 PageID 8541
                                                      Juravin
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                                                      73                                                     75
  1    did Charmaine Novelo have?                           1   that the information that's redacted from
  2      A. I don't know. It's not -- we never              2   paragraphs 26, 27, 28 would -- and 29 were
  3    acted upon it. That was not the purpose of           3   information that was provided by Ms. Schaive
  4    the lawsuit. The purpose of the lawsuit is           4   in the health questionnaire when she purchased
  5    to explain that this is a service person.            5   Roca Labs products?
  6    They did support. And, suddenly, they don't          6     A. We don't have a health questionnaire.
  7    show up. And they don't tell us. Because             7   I hear it again, again. We have only
  8    they say, "Hey, I'm in the Philippines. I            8   qualification form.
  9    cannot show up to work."                             9     Q. So, let's use the term qualification
 10            I wanted to send a message, then,           10   form. Was the information that was recited in
 11    to others and say, "We will sue even in a           11   paragraphs 26 through 29 of this complaint
 12    different country. You do need to give us two       12   information Ms. Schaive entered in her health
 13    weeks notice."                                      13   qualification form?
 14      Q. So, the reference in here to Novelo            14     A. Qualification.
 15    needing to provide any user names and passwords     15     Q. Qualification form?
 16    used while working at Roca Labs, you don't know     16     A. Okay. It's different. We don't do
 17    what those were?                                    17   health. Qualification is only to see if we
 18      A. No. I don't think that she was                 18   are willing to sell her.
 19    privileged to something unique. She was a           19     Q. Okay. But it was information she entered
 20    support person.                                     20   in the qualification form. Correct?
 21      Q. Did she create any blogs or anything like      21     A. Yes.
 22    that she would have had access to?                  22     Q. About her health. Correct?
 23      A. No. No.                                        23     A. No. Not -- about her -- about her
 24      Q. All right. Let's --                            24   condition at the time.
 25      A. It's mainly for disappearing without           25     Q. Including her weight?

                                                      74                                                     76
   1    giving notice.                                      1      A. Yes.
   2      Q. Let's go to Exhibit 45. Let's turn             2      Q. Including information she provided about
   3    to a few pages in. One of the documents in          3   why she wanted the product?
   4    that is an amended complaint.                       4      A. Yes.
   5      A. Can you give me a hint on the top?             5      Q. Okay. Let's go to page 722, same question
   6      Q. Yes.                                           6   with Ms. Richmond as to the information that
   7      A. 719? 725?                                      7   we've redacted from paragraphs 38 through 41.
   8      Q. Yes. I'm sorry. 715. Upper right-hand          8   The redacted information --
   9    corner.                                             9      A. Yes.
  10      A. Right. Okay. I'm there.                       10      Q. -- was information that Ms. Richmond
  11      Q. This is a lawsuit between Roca Labs and       11   would have entered into the qualification form
  12    Jennifer Schaive, Melissa Richmond, and Lauren     12   when she purchased the product. Correct?
  13    Maccaro.                                           13      A. Yes.
  14      A. Yes.                                          14      Q. Okay. Let's turn to page 724.
  15      Q. Turn to page 716, and you'll see that the     15      A. Somebody's weight is not a secret. I
  16    markings -- and I can tell you that we put these   16   mean, everybody can see their weight. If
  17    there that are the word redacted.                  17   somebody is 200 pounds, whether you retract
  18      A. Okay.                                         18   it or not, everybody can see. It's not a
  19      Q. That refer to the residents. And, then, I     19   hidden secret.
  20    want to know -- just go to 719.                    20      Q. Paragraph 48 through 52 on page 724,
  21      A. What do you want me to do?                    21   again that represents information Ms. Maccaro
  22      Q. Go to page 719.                               22   -- M-a-c-c-a-r-o -- entered into the
  23      A. Okay.                                         23   qualification form. Correct?
  24      Q. Okay. So, we have, again, marked              24      A. No. That's shipping information. 48.
  25    certain items as redacted. But do you agree        25      Q. 48. Okay. I'm sorry.

                                                                                            19 (Pages 73 to 76)
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 35 of 264 PageID 8542
                                                           Juravin
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                                                           77                                                          79
   1      A. Shipping information.                               1     A. Okay.
   2      Q. So, 50 through 53, however, would be                2     Q. -- starting at the bottom of that 95,
   3    qualification?                                           3   going on to 96, the information shown in this
   4      A. Which one?                                          4   qualification form section is information that
   5      Q. Paragraphs 50 through 53 on 724?                    5   Zachary Lake entered in the qualification form
   6      A. Yes.                                                6   when purchasing Roca Labs product. Is that
   7      Q. The redacted information is information             7   correct?
   8    she input into the health -- I'm sorry -- to the         8     A. Yes.
   9    qualification form.                                      9     Q. And that's true of the information going
  10      A. Yes.                                               10   from 2 -- I'm sorry -- 095 to 096. Right?
  11      Q. And let's move on to -- let's look at              11     A. Yeah.
  12    Exhibit 46, please. I'm sorry. We'll skip.              12     Q. Okay. And the date of this declaration,
  13    47 is what I'm thinking of.                             13   looking back on your signature page, was November
  14      A. They named themselves Superior Corp.               14   28, 2016. Correct? Going further up.
  15    Seriously.                                              15     A. Okay. But this was lately --
  16      Q. All right. Could you please look at                16   recently.
  17    pages two and three, I guess, and the fourth            17     Q. But you look at the signature page.
  18    page of Exhibit 47. Do you recognize this               18   This is November 28, 2016 you signed that.
  19    document?                                               19   Correct?
  20      A. No. But I know about it.                           20     A. Okay. Yes.
  21      Q. This is a declaration that you signed.             21     Q. Then, it was subsequently filed
  22    Correct?                                                22   with the Superior Court of California for
  23      A. Okay.                                              23   Los Angeles County. Correct?
  24      Q. Well, look at page -- the fourth                   24     A. Yes.
  25    page of the document. Does that have your               25     Q. Let's look at Exhibit 48, please.

                                                           78                                                          80
   1    signature?                                               1   Exhibit 48 is a Roca Labs, Inc. voluntary
   2      A. It doesn't, but -- yes. Okay. It                    2   notice of dismissal in the case Roca Labs,
   3    doesn't look like mine really. But I guess               3   Inc. and Roca Labs Nutraceutical versus
   4    -- maybe I did it on the computer. Just                  4   iPayment, Inc.
   5    doesn't look exactly like mine.                          5     A. Okay.
   6      Q. Okay.                                               6     Q. You see that?
   7      A. I don't think Larry would treat me.                 7     A. Yes.
   8      Q. Larry being the attorney who filed this?            8     Q. And this basically dismissed the case --
   9      A. Yeah. So I guess it is. I don't know                9     A. Okay.
  10    what to say.                                            10     Q. -- from Roca Labs and all claims by Roca
  11      Q. And turn a couple more pages to                    11   Labs -- by plaintiff, Roca Labs, Nutraceutical,
  12    Exhibit A in that document. The next page.              12   Inc. in the action remain pending. Correct?
  13    And the page after that.                                13     A. Yes.
  14      A. Yeah.                                              14     Q. Okay. So, just to be clear, Roca Labs,
  15      Q. Okay. Look at the bottom of that page,             15   Inc., withdrew from this -- dismissed itself
  16    the bottom of the page that has the marking             16   from this action, and Roca Labs Nutraceutical
  17    FTC-Prod--20094. And there's the wording,               17   remained in it, and the agreement with
  18    Mmale 212, basic plan, 857, basic male, 116.            18   iPayment was between iPayment and Roca Labs
  19      A. What number are you?                               19   Nutraceutical. Correct?
  20      Q. I'm sorry. I'm looking at the wrong                20     A. Correct.
  21    item. I'm actually looking at -- I wanted to            21     Q. Okay. Why don't we take a break?
  22    look at paragraph -- I'm sorry. Page -- the             22   I'll tee up some more documents. I'm done
  23    next page, FTC-Prod-020095 and 096. I'm                 23   with these for now.
  24    sorry. So, where it begins qualification                24            (Off the record from 2:50 p.m. to 2:59 p.m.)
  25    form --                                                 25         (Plaintiff's Exhibit Nos. 49, 50, 51,


                                                                                                    20 (Pages 77 to 80)
                                       For The Record, Inc.                                           PX6-31
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 36 of 264 PageID 8543
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                                                      81                                                      83
   1    52 and 53 were marked for identification.)          1   other claim in any media or form will constitute
   2    BY MR. SETTLEMYER:                                  2   a breach of agreement, to which the customer
   3      Q. Back on. We've had marked as Exhibits 49       3   entered willingly and with full knowledge the
   4    through 53 several documents that I'm going to      4   components of the formula.
   5    ask Mr. Juravin about. Mr. Juravin, I want to       5     A. I don't see.
   6    ask if you recognize Exhibit 49.                    6     Q. The top of the page of 423.
   7      A. Not the details, but in general, yes.          7     A. I'm in 423.
   8      Q. In general, yes. This is a copy of the         8     Q. Yes. 423.
   9    terms and conditions that were used for the Roca    9     A. So, the customer understands and he is
  10    Labs Web site at the period of time. Is that       10   aware that he's required to dose the formula.
  11    correct?                                           11   I will not continue to read, but --
  12      A. Yes. If it says Version 1.2 from May          12     Q. The next sentence after that.
  13    2011.                                              13     A. "Therefore" -- starts with
  14      Q. How long was this particular version of       14   "therefore."
  15    the terms and conditions in use?                   15     Q. "No claim and/or complaint will be
  16      A. I don't know because we changed them          16   accepted.
  17    all the time. Not all the time. But I would        17     A. Oh, therefore. Therefore, based on
  18    say two, three times a year maybe.                 18   the previous sentence, no claim and/or
  19      Q. Do you think generally this would have        19   complaints will be accepted regarding the
  20    been in effect until sometime into 2012?           20   lack of success of the formula creating a
  21      A. You have the answer. One is 1.2 in            21   lack of appetite. Bad English. But the
  22    May 2011. The next one is 1.8 in September         22   meaning is that you must follow everything,
  23    2012. So, you can assume that we had a few         23   and if you don't follow everything, you don't
  24    of them in between.                                24   have the right to place a bad comment.
  25      Q. Okay.                                         25     Q. Okay. That's the next sentence. "The

                                                      82                                                      84
   1      A. But the principle always remain the            1   announcement/writing or publication of any such
   2    same.                                               2   or other claim in any media or forum will
   3      Q. Let's just talk about the principle.           3   constitute a breach of contract." Correct?
   4    So, one of them is that there would be --           4     A. Yes. So, in other words, we tell the
   5    I'm going to focus on one particular thing.         5   customers, "You must follow everything. If
   6            THE WITNESS: Do I get to depose him         6   you don't follow everything, you don't have
   7         sometime?                                      7   the right to comment."
   8    BY MR. SETTLEMYER:                                  8     Q. Let me just isolate the one component
   9      Q. In Version 1.2, Exhibit 49 --                  9   that we can just do some of these more
  10      A. Yes.                                          10   quickly. That concept of the customer
  11      Q. -- there is an agreement -- language          11   would be in breach of the agreement were
  12    stating an agreement by the customer not to        12   they to post a negative comment about the
  13    comment negatively about the product. Is that      13   product in a public forum as a component
  14    right?                                             14   are the terms and conditions of Roca Labs
  15      A. In principle. Can you point me to it,         15   sales from 2011 through the filing of our
  16    please? Yes. Agreement not to contact -- to        16   lawsuit in 2015. Is that right?
  17    comment negatively.                                17     A. No. Because I think that my bad
  18      Q. Where do you see that?                        18   English confuses. Bad English that I'm
  19      A. Let's go to 423.                              19   responsible for. The idea is that the
  20      Q. Okay.                                         20   customer required to use correctly the
  21      A. You will miss the heading. But -- to          21   formula, to drink large amount of money to
  22    drink large quantity of -- yes. This is what       22   avoid --
  23    I was looking for.                                 23     Q. Drink a large amount of water you mean?
  24      Q. So, the language, the                         24     A. Water. The quantity of liquids. We
  25    announcement/writing/publication of any such or    25   called it liquids. To avoid calorie rich

                                                                                             21 (Pages 81 to 84)
                                      For The Record, Inc.                                    PX6-32
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                                                     Juravin
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                                                      85                                                         87
   1    foods. To overcome psychological obstacles.         1   I don't know. I'm jumping to '14.
   2    And so on and so on. And then not to                2   BY MR. SETTLEMYER:
   3    comment.                                            3     Q. Let's pause a second. So, my question and
   4       Q. Okay. Let's go to 425.                        4   maybe your answer at this point, it sounds like,
   5       A. Basically, what I'm saying is that if         5   is you don't know was whether language of what I
   6    somebody commented, as I mentioned earlier,         6   just quoted or very similar to it was present in
   7    and followed everything, that's not a               7   these agreements throughout 2011 up till the
   8    negative comment. It's the meaning is -- the        8   lawsuit was filed in 2015.
   9    title is confusing. I understand what you           9     A. If I can open -- look at 15.
  10    say.                                               10     Q. Let's go to 50. And we'll just verify
  11       Q. Why don't we go with the premise to an       11   what these things are. Let's start with the
  12    extent -- I don't want to have you sit here and    12   basics.
  13    interpret the documents. I want to try to          13     A. But I look at it, and I myself don't
  14    isolate this feature.                              14   like it.
  15              Let's look at page 425, about a          15     Q. I'm not asking whether you like it.
  16    third of the way down, begins the paragraph,       16   I'm asking whether it was there.
  17    "If for whatever reason you become                 17     A. I understand.
  18    dissatisfied with the formula or the support,      18     Q. Exhibit 50 is another version of
  19    you agree not to make, write, post, distribute     19   the terms and conditions that was -- the first
  20    or disseminate in any way any negative             20   page indicates it's USC 1.8 September 2012.
  21    comments about or relating to Roca Labs, the       21   Is that correct?
  22    formula or the support. This includes writing      22     A. Yes.
  23    anything on the Internet or making a complaint     23     Q. So, this would have been terms and
  24    with PayPal, your credit card company, the         24   conditions that were being used around September
  25    Better Business Bureau, et cetera. Doing so,       25   of 2012.

                                                      86                                                         88
   1    in light of these clear terms and conditions,       1      A. Yes. I see that. And I'm going to be
   2    would constitute breach of contract and             2   looking, to look for that paragraph.
   3    defamation, and would be actionable in Florida      3      Q. There's a heading on page ending in 016,
   4    court."                                             4   agreement not to comment negatively.
   5            So, a statement like this is                5      A. One second. I see.
   6    in every version of the terms and conditions        6      Q. Yes? Okay. So, this version of
   7    that were used to sell Roca Labs products from      7   the terms and conditions was in effect for
   8    2011 through 2015 when the lawsuit is filed.        8   some period of time going into at least 2013,
   9    Right?                                              9   it would appear, based on there's a footer at
  10      A. I need to talk to Suzie for a second.         10   the bottom of November 25, 2013. Do you see
  11    Because I want to tell you something, and I        11   that?
  12    need her permission. It's possible. Or you         12      A. Yes. November.
  13    not? I will go on a limb. This is wrong.           13      Q. Would that indicate that it would
  14    And if it's up to me, it should not be here.       14   have been in effect at least until 2013, do
  15    This is the advice of the attorneys.               15   you think?
  16            MS. MARTENY: Wait. Wait.                   16      A. No. It doesn't mean that. I have no
  17    BY MR. SETTLEMYER:                                 17   idea what's on the footer because it's not
  18      Q. Let's not talk about the advice of            18   part of the site.
  19    attorneys. I just want a yes or no. Was            19      Q. Okay.
  20    something like this --                             20      A. No. It's not an indication. It
  21      A. I don't know. But this is not my              21   means that it started September 2012. But
  22    language. This is not my language.                 22   it's not an indication that it continued.
  23            MS. MARTENY: Stop. The question is         23   I don't know who -- you know.
  24         different.                                    24      Q. I'll just say that's not our marking.
  25      A. If it's all the way through the '15,          25   That's not a marking the FTC put on there.

                                                                                            22 (Pages 85 to 88)
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                                                        89                                                       91
  1      A. No. It's not.                                     1   feels obligated to succeed.
  2      Q. The marking of FTC-SKing numbering, and           2     Q. All right. And let's go down to
  3    that is our marking.                                   3   page 19, and look at the bottom.
  4      A. Sure.                                             4     A. Page 19?
  5      Q. Let's turn to Exhibit 50 now.                     5     Q. Yes. There's a bold language, "You
  6    51. I'm sorry. 51.                                     6   further agree that any report of any kind
  7      A. Sorry. But can we look if I have                  7   on the Web will constitute defamation/slander,
  8    this sentence?                                         8   and you agree to a predetermined compensation
  9      Q. Let's go back --                                  9   of $100,000. You agree and understand that
 10      A. Because I don't find that particular             10   you cannot talk badly about the formula
 11    paragraph there. You asked me earlier if it           11   because of any frustration you might have
 12    was the way for '15.                                  12   with the support department or your
 13      Q. Sure.                                            13   misunderstanding." You see that?
 14      A. And I don't see it there. I already              14     A. Yes.
 15    told you on the record that I really don't            15     Q. Okay.
 16    like that paragraph.                                  16     A. Do I need to comment on this?
 17      Q. Let's see. Number -- page 016,                   17     Q. You don't need to comment on it.
 18    agreement not to comment negatively.                  18   No. Let's try to move through. I'm hoping
 19      A. Are we on 50?                                    19   we can go through these quickly and maybe
 20      Q. We are on 50. Yes.                               20   let the documents speak for themselves, I
 21      A. Which page you want me to go to?                 21   suppose. Exhibit Number 51 is a version of
 22      Q. 1-6, the bottom right-hand corner.               22   the terms and conditions that is USV 2.0,
 23      A. I'm there.                                       23   June 2014. You see that?
 24      Q. Okay. So, after the bold print,                  24     A. Yes.
 25    "The customer is also aware that the                  25     Q. So, generally, this document was

                                                        90                                                       92
   1    company does not guaranty success," there             1   in effect until some later time, and --
   2    is the language, "Therefore, unless the               2      A. I cannot -- I can tell you when it
   3    customer purchased the formula at full                3   started. I cannot tell you --
   4    price, no claim or complaint whatsoever               4      Q. You don't know when it ended. Okay.
   5    will be accepted regarding the lack of                5   But usually you can tell, it certainly ended
   6    success of the formula." Two, the                     6   by approximately the time the next one went
   7    announcement, writing or publication of               7   into effect.
   8    any such or other claim in any media or               8      A. Especially if we made the mistake and
   9    forum will constitute a breach of this                9   it's still V.2. You see it's V.20, and the
  10    agreement, to which the customer willingly           10   other one is V.20.
  11    and with false knowledge of the components           11      Q. So, this one started June 2014,
  12    of formula and its properties and it's               12   Exhibit Number 51. Correct?
  13    support, you -- 3, you agree that any                13      A. Yes.
  14    such negative claim will constitute                  14      Q. Let's look at Exhibit 52.
  15    defamation, per se.                                  15      A. I think here you want to show me
  16      A. Okay.                                           16   inside.
  17      Q. All right. So, again, this type of              17      Q. I don't think we're going to be
  18    provision is --                                      18   doing more than reading language, and the
  19      A. Is different than the previous one.             19   document will say what it says.
  20      Q. Different language. But the concept is          20      A. Sure.
  21    very similar. You understand? You agree?             21      Q. Let's look at Exhibit 52. That's,
  22      A. The concept? No. It means you can               22   again, terms and conditions of use,
  23    pay the full price. If you don't pay the             23   version 2.0, August 2014. You see that?
  24    full price. The idea behind it is that the           24      A. Yes.
  25    more the customer pays, the more the customer        25      Q. Again, this is one where it's still

                                                                                              23 (Pages 89 to 92)
                                      For The Record, Inc.                                      PX6-34
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                                                       93                                                        95
   1    version 2.0, but it's still apparently in            1   looking at?
   2    effect of August of 2014. Correct?                   2     A. Yes. I don't see it. And if you can
   3      A. Yes.                                            3   show me, please.
   4      Q. Let's look at Exhibit 53. Another               4     Q. So, if you look at the page --
   5    version of the terms and conditions, version         5     A. Which one?
   6    2.3.1 that was effective, apparently, as of          6     Q. 8 of 14, upper right-hand corner.
   7    December 2014. You agree with that?                  7     A. Let's see. I'm looking now.
   8      A. I see that. Yes.                                8     Q. Eight of 14 onto 9 of 14, there's a
   9      Q. Okay. Now, do you have any reason               9   provision, Non-disparagement. You see that?
  10    to think there was any point in time at which       10     A. I'm looking. It's different language.
  11    Roca Labs, Inc., Roca Labs Nutraceutical, or        11     Q. The language is slightly different.
  12    up until the lawsuit was filed, did not have        12     A. It's more than slightly. It's -- it's
  13    language in its terms that would restrict           13   more than slightly. It doesn't include the
  14    consumers' ability to comment negatively in a       14   discounted, and it's different. So, it's not
  15    public forum about the company or its               15   all the way. So, that's why I wanted to look
  16    products?                                           16   at the -- it's not all the way through the
  17      A. If we had the distinction between              17   lawsuit. It's already different in 2014.
  18    paying full price or paying partial price,          18   So, it is different in '14.
  19    we had that language. So, for as long as we         19     Q. So, in this Exhibit 53 on Page 814,
  20    sold the full price and the discounted price,       20   towards the bottom, it says, "This means
  21    we did have that language.                          21   that you will not" -- okay. "You agree that
  22      Q. Is there any time at which you did not         22   regardless of your personal experience with
  23    have that language between 2011 and when the        23   RL, you will not disparage RL and/or any of
  24    lawsuit was filed in 2015? Yes or no?               24   its employees, products, or services. This
  25      A. When you describe the lawsuit, did you         25   means that you will not speak, publish, cause

                                                       94                                                        96
   1    see the full price and the partial price?            1   to be published, print, review, log, or
   2      Q. You're not answering my question.               2   otherwise write negatively about RL or its
   3    Can I have the question read back, please?           3   products or employees in any way. This
   4      A. I don't have another indication to              4   encompasses all forms of media, including
   5    know. So, my answer is that I don't have any         5   and especially the Internet."
   6    indication, because that provision went along        6      A. I see that.
   7    with full price, discounted price. All               7      Q. That type of language was still
   8    along. So, if we have full price and                 8   present, then, in 2014 and --
   9    discounted price, by the time that you sued          9      A. Let's continue. It's different.
  10    us, then I did have it. And otherwise --            10   It's not exactly the same. It's different.
  11      Q. Okay. So you have been designated as the       11      Q. I'll grant you it's not exactly the
  12    person who's speaking on behalf of Roca Labs,       12   same.
  13    Inc., Roca Labs Nutraceutical, and Must Cure        13      A. It's different. Let's not get into
  14    Obesity. But certainly, Roca Labs Nutraceutical     14   the --
  15    and Roca Labs, Inc. come into play here as to the   15      Q. I'm trying to find out is there
  16    topic of --                                         16   any point at which --
  17      A. I don't see here in this starting              17      A. It's different because we didn't
  18    2014. Can you tell me you sued us in '15?           18   have the discounted already. That's why
  19    Correct?                                            19   the languages are so different. Okay?
  20             MS. MARTENY: Mmm-hmm.                      20   So, let's say it is different. It's
  21    BY MR. SETTLEMYER:                                  21   different. It's still non-disparagement,
  22      Q. Yes. Lawsuit of September 2015.                22   but it's different.
  23      A. I don't see that it's there. I don't           23      Q. Let's say it's still non-disparaging.
  24    see it in '15.                                      24   Let's focus on that. Is there any time
  25      Q. You don't see it in the Exhibit 53 you're      25   between 2011 and when the lawsuit was filed

                                                                                             24 (Pages 93 to 96)
                                       For The Record, Inc.                                   PX6-35
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                                                       97                                                    99
   1    that Roca Labs and Roca Labs Nutraceutical           1     Q. Okay. But if there were -- the
   2    did not have a non-disparagement provision in        2   more likes and comments and shares of the ad,
   3    its terms?                                           3   the more likely it is that it was actually
   4      A. Probably one way or another we did              4   run. Correct?
   5    have it.                                             5     A. If it gets a like, it's more likely.
   6      Q. At all those times. Correct?                    6   I explain how it works.
   7      A. In this one form or another we did              7     Q. So let's look at the first page --
   8    have a non-disparagement -- non-disparagement        8   I'm sorry. Say that again for the court
   9    clause.                                              9   reporter.
  10      Q. So the answer is yes?                          10     A. I said if it has more likes, it's
  11      A. But not the first version.                     11   likely.
  12      Q. But not the first version. The                 12     Q. Sorry.
  13    versions -- language which it is stated             13     A. I said yes.
  14    changed, but the non-disparagement concept          14     Q. Let me just point you to the first
  15    was consistent.                                     15   page of Exhibit 54.
  16      A. Yes. Which was not illegal at the              16     A. Yes.
  17    time.                                               17     Q. That ad is one that actually ran,
  18      Q. All right. I'm done with these exhibits        18   you believe. Correct?
  19    for now. I'm going to try to pull together some     19     A. Correct.
  20    additional set of documents. Let me see if I        20     Q. When an ad would run for Roca Labs
  21    can talk about them for one minute before I         21   on Facebook, a consumer would click on that,
  22    hand them to Mr. Juravin.                           22   and what would happen?
  23             MS. MARTENY: Okay.                         23     A. They will start -- our job is just to
  24             (Plaintiff's Exhibit Nos. 54, 55,          24   open their eyes so they will land on a page.
  25    56 and 57 were marked for identification.)          25     Q. They'll land -- that was my --

                                                       98                                                   100
   1    BY MR. SETTLEMYER:                                   1     A. They'll land on the page that will
   2      Q. Back on the record. So, we've marked some       2   make them be familiar with it.
   3    documents as Exhibits 54, 55, 56 and 57, that I'm    3     Q. So, the page would likely be Roca
   4    going to ask you about, Mr. Juravin. They're in      4   Labs.com or another page other than the home
   5    front of you. Take a look first, please, at          5   page on the Roca Labs.com Web site. Is that
   6    Exhibit 54. Are you familiar with what's in          6   right?
   7    Exhibit 54?                                          7     A. It would be an educational page.
   8      A. Not everything. But it's mine.                  8     Q. But often, it would be the Roca
   9      Q. But you're generally familiar with what         9   Labs.com Web page?
  10    these are?                                          10     A. Possibly. Yes.
  11      A. Generally familiar. Yes.                       11     Q. What other pages than the Roca
  12      Q. These are ads that the company is              12   Labs.com Web page or pages on that site or
  13    either in 2014, that Roca Labs, Inc. or Roca        13   Mini Gastric Bypass.me?
  14    Labs Nutraceutical was attempting to place          14     A. An FAQ.
  15    or did place with Facebook. Correct?                15     Q. An FAQ page hosted where?
  16      A. Correct.                                       16     A. Anywhere where it's educational.
  17      Q. And the way one can distinguish                17   Nobody buys it directly immediately. On the
  18    between ads that actually ran on Facebook           18   average you need 3.2 clicks to make a
  19    and those that did not is those that have           19   purchase.
  20    likes and comments --                               20     Q. Where would the first click after --
  21      A. Yes.                                           21     A. It doesn't work like that.
  22      Q. -- are ones that actually ran on               22     Q. Where would a consumer be directed
  23    Facebook. Correct?                                  23   after clicking the ad, typically?
  24      A. Yes. It might be also that it                  24     A. Education.
  25    ran for an hour and then blocked.                   25     Q. Give me specifics, please, in terms

                                                                                           25 (Pages 97 to 100)
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                                                          101                                                     103
  1    of a domain name --                                       1     A. I don't know I see the relevance. It
  2      A. Watching a video.                                    2   was under my responsibility. So, it doesn't
  3      Q. I'm watching a video from Roca Labs?                 3   matter which one.
  4      A. Yes. Or getting frequently asked                     4     Q. Got it. Let's look at Exhibit 56.
  5    questions. Or anything educational. Nobody                5   So, the -- the Exhibit 56, again, these are
  6    buys immediately. They need on average about              6   Facebook ads proposed, and actual, in 2016, I
  7    three months -- about three months and about              7   believe, even though the date isn't on here,
  8    3.2 clicks to buy it. So, somebody will                   8   I believe the date these were produced --
  9    click, would learn, would go to search on the             9   I'm just representing this for the record --
 10    Web about us, and then come back, then,                  10     A. Exhibit 56.
 11    again, suddenly see another ad. Then, again,             11     Q. Exhibit 56. Yes. Was in February of
 12    and again. At least three months, and at                 12   2016. And given that there's no year on here --
 13    least 3.2 clicks.                                        13     A. Okay.
 14      Q. So, the content of which people would be            14     Q. -- would that suggest to you that these
 15    directed from these Facebook ads would, however,         15   were run in 2016?
 16    be content owned by Roca Labs. Is that right?            16     A. It's the same ads. It doesn't seem to
 17      A. Correct.                                            17   change. No. The same things.
 18      Q. Let's look at Exhibit 55.                           18     Q. Okay. In terms of the likes and the
 19      A. I want to explain something.                        19   shares for these different ads, was Roca Labs
 20      Q. About 54?                                           20   compensating anybody to like or share or comment
 21      A. Yes.                                                21   on these ads?
 22      Q. Okay.                                               22     A. I don't know how it's possible. I
 23      A. If we wrote here -- if we wrote here,               23   don't think it's possible. Not that I know.
 24    "You will win $1 million dollars if you" --              24   And aside from that, let me teach you
 25      Q. By "here," you're pointing to the ad.               25   something. It's really bad to do artificial

                                                          102                                                     104
   1    Correct?                                                 1   likes. Because Facebook is checking the
   2      A. To the ad. Anything that is                         2   ratio between the likes, the shares, and the
   3    completely off, absolutely not -- that I                 3   interest. So, let's say you have 100,000.
   4    should be jailed for on this one, it still               4   That's if they could have bought likes.
   5    doesn't matter, because they will never buy              5   And it's 100 likes, but only two shares,
   6    on an impulse $600. They will wait three                 6   Facebook will say there's no interest
   7    months, they will ask friends. They will go              7   in it.
   8    again and again. They will need 3.2 clicks               8      Q. So, the answer is no, the company
   9    to really eventually purchase from us.                   9   was not paying for those, or --
  10    Nobody buys immediately because of an ad.               10      A. For the likes?
  11      Q. Thank you. Exhibit 55, that, again,                11      Q. For the likes, and shares, and comments.
  12    same concept. These are Facebook ads.                   12      A. Please. This is -- this is an ad that
  13    Right?                                                  13   we pay money. So, if every click we pay
  14      A. Yes.                                               14   money, we will not pay for artificial clicks.
  15      Q. These were placed in 2015 or proposed              15   It doesn't make sense.
  16    to be presented, served in 2015. Correct?               16      Q. So, the answer is no, the company was not
  17      A. Yes.                                               17   paying.
  18      Q. All right. Again, if there are, as                 18      A. No. It doesn't make sense.
  19    on the first ad, say, 1,000 likes, 119                  19      Q. No. I'm asking did it happen?
  20    comments, that would suggest an ad that was             20      A. No.
  21    actually run on Facebook. Correct?                      21      Q. Thank you.
  22      A. Correct.                                           22      A. It doesn't make sense. I'm teaching
  23      Q. And in 2015, these ads would have been             23   just in case you will have a bigger fish than
  24    placed at the direction of Roca -- I'm sorry --         24   me to fry, so you will know. No.
  25    Must Cure Obesity or Roca Labs?                         25      Q. Thank you.

                                                                                               26 (Pages 101 to 104)
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                                                     105                                                     107
  1              MR. DAVIS: And may I mention,               1     A. Yes.
  2          perhaps for the sake of the court               2     Q. Okay. Let's go, I think, six pages in,
  3          reporter, that in the dialog between            3   there's a heading "sidebar ads." Let me know
  4          the two of you, it might help if you            4   when you see that.
  5          were to pause ever so slightly to be            5     A. Yes.
  6          sure if the question is answered -- if          6     Q. Okay. What are sidebar ads? Where do
  7          the question has been asked fully or if         7   those appear?
  8          an answer has been finished.                    8     A. I don't know.
  9              THE WITNESS: I will.                        9     Q. Do you know if those appeared in
 10              MR. DAVIS: I'm just noticing a             10   Facebook or on the Web generally?
 11          potential over talk possibility.               11     A. I think sidebar means desktop.
 12              MS. MARTENY: You're so optimistic.         12     Q. Okay.
 13              MR. SETTLEMYER: He's very diplomatic.      13     A. You cannot have desk -- a side desk
 14              THE WITNESS: Give me positive              14   form.
 15          reinforcement that I was so good for so        15     Q. So, it would be on a desktop. I
 16          many hours.                                    16   guess the question is: Would it appear
 17     BY MR. SETTLEMYER:                                  17   in a particular context like Facebook, or
 18       Q. He's also talking to me, too. Let's look       18   would it appear through like a display ad
 19     at Exhibit 57, please. And Mr. Juravin, do you      19   network that would be delivered to other
 20     recognize what's in Exhibit 57? There's a lot of    20   Web sites hosting or delivering ads --
 21     different things in this long document.             21     A. I don't -- I don't think Facebook
 22       A. Look at the format.                            22   has affiliates. I'm not familiar with it.
 23              MR. DAVIS: I just wonder if this           23     Q. I'm just wondering just again, in
 24          is an illustration when I interrupt, to        24   terms of what this document, this heading
 25          ask whether perhaps the dialog couldn't        25   represents, whether sidebar ads represent a

                                                     106                                                     108
   1         include some pauses so that the                 1   subset of Facebook ads, or is it an all
   2         questioner can finish with the                  2   together different delivery platform?
   3         question.                                       3     A. My guess that it's desktop.
   4            THE WITNESS: I will try harder.              4     Q. Okay. Not Facebook?
   5            MR. DAVIS: I'm just noticing that it's --    5     A. Facebook desktop.
   6            THE WITNESS: I will try harder.              6     Q. Facebook desktop. Thank you.
   7            MR. DAVIS: -- occurring a little.            7     A. Only the desktop. Because it requires
   8         Thank you.                                      8   the space.
   9    BY MR. SETTLEMYER:                                   9     Q. Understood. That helps. Let's go a
  10      Q. So, there's a lot of different categories      10   couple of pages in, and then there are sidebar
  11    within this fairly lengthy document that was        11   ad visuals with a number of pages of pictures
  12    produced to us, I believe, back in February 2016.   12   following.
  13    But do you recognize, sir, what is in Exhibit 57?   13     A. I'm afraid that the word sidebar may
  14      A. For the most part, I did directly,             14   be a name that we gave the campaign. If we
  15    indirectly -- I recognize it for the most           15   gave the campaign, we could have called it
  16    part.                                               16   Popeye. Popeye with the spinach.
  17      Q. Okay. So, the first several pages              17     Q. So, my question, then, is: This,
  18    appear to be urls for Facebook ads. Is that         18   regardless of what the term is, sidebar ad
  19    correct?                                            19   visuals, that's the term that's there, what
  20      A. Okay.                                          20   does that delineation in this document ahead
  21      Q. I'm asking: Is that correct? Yes?              21   of these different picture display ads, these
  22      A. You're asking me to recognize all of           22   different images, what does that signify in
  23    these long numbers?                                 23   terms of where and on what platform these ads
  24      Q. I'm asking you to recognize this as a          24   were run?
  25    category. Are these urls for Facebook ads?          25           MS. MARTENY: Object to the form.

                                                                                          27 (Pages 105 to 108)
                                       For The Record, Inc.                                   PX6-38
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                                                     109                                                    111
  1     BY MR. SETTLEMYER:                                  1   them.
  2       Q. You can answer.                                2     Q. Okay. So, these Google banner ads ran on
  3             MS. MARTENY: Yes. If you understand         3   the Google display network for around what time
  4          the question, answer it.                       4   period?
  5             THE WITNESS: I didn't understand the one    5     A. All the way till they banned us.
  6          word.                                          6   About a year ago.
  7             MS. MARTENY: Delineations.                  7     Q. Okay.
  8       A. Yeah. Because this might be that your          8     A. Half a year ago.
  9     programmer -- it might be that it was just a        9     Q. So, starting around when?
 10     logo or something art, one piece to compose        10     A. 2009.
 11     the ad, and when you printed it, it just           11     Q. Okay. So --
 12     throw it up. But it doesn't look like an ad        12     A. I don't know which one what. But we
 13     to me. This is an ad. I'm pointing to a            13   ran Google from 2009 till a year ago about.
 14     real ad. This is an ad. This one doesn't           14     Q. So, these banner ads, when the consumer
 15     look like an ad.                                   15   would click on them, where would those consumers
 16     BY MR. SETTLEMYER:                                 16   be directed?
 17       Q. Okay.                                         17     A. Educational.
 18       A. It looks like some art that we had            18     Q. So, Roca Labs content. Correct?
 19     that was about to be incorporated somewhere.       19     A. Some educational about the concept of
 20       Q. So, some of the first pages --                20   Gastric Bypass Alternative.
 21       A. See, all of this are not ads.                 21     Q. Just to be clear, I'm not trying to be
 22       Q. This isn't going to show up on the            22   tricky with this. They wouldn't be directed to a
 23     transcript, all the pointing that we're doing      23   Department of Education Web site. Right? They
 24     right now. I see that there's certain, like        24   would be directed to some content, a video or a
 25     this first page, with the words sidebar ad         25   Web page that was run by Roca Labs. Correct?

                                                     110                                                    112
   1    visuals, there is a Gastric Bypass Alternative      1    A. Educational about a Gastric Bypass
   2    logo that you're saying may not have been a         2   Alternative that belongs to Roca Labs.
   3    standalone ad, but artwork in part of an ad.        3    Q. That belongs to Roca Labs. Thank you.
   4    Is that right?                                      4    A. That belongs to Roca Labs.
   5      A. It means a call for action. That's             5    Q. So the answer is yes. Right?
   6    the term you're looking for. An ad must have        6    A. Yes.
   7    a call for action. If it doesn't have, it's         7    Q. Following the display ads, there's a
   8    nothing. It's just some art. It never -- it         8   heading "Text Ads." Do you see that?
   9    cannot be advertising.                              9    A. I'm familiar with it. Yeah.
  10      Q. My question is very simple. For the           10    Q. So, there are many, many pages of text
  11    first few pages, you think that was just           11   ads.
  12    art --                                             12    A. May I --
  13      A. Yes.                                          13    Q. I just want to note that they go from
  14      Q. -- until we get to another page,              14   number one through and running up to 1,393, I
  15    which is -- there's a page, a few pages            15   believe. Do you see that?
  16    before where you're looking at --                  16    A. Yes.
  17      A. I know.                                       17    Q. Okay. These are text ads that ran on
  18      Q. -- that has Google banner ads. Right?         18   Google when people searched. Is that right?
  19    So, the pages that come after that, those          19    A. Ad words.
  20    include looking through many pages of what I       20    Q. And in ad words.
  21    will ask you whether or not these are banner       21    A. Yes.
  22    ads that were run through Google's ad network.     22    Q. So, this would be in both context.
  23      A. Correct. These are real ads.                  23   Both search and ad words.
  24    So, you will note -- you will notice that          24    A. Correct.
  25    these ads incorporates all of this artwork in      25    Q. The ad words, just to be clear for the

                                                                                          28 (Pages 109 to 112)
                                      For The Record, Inc.                                    PX6-39
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                                                      113                                                      115
   1    record, those are display ads that are run on         1     Q. Through 2,289. Correct?
   2    third-party sites, on a sidebar, or as a banner,      2     A. Okay. Yes.
   3    or something. Correct?                                3     Q. So, these are text ads that ran on Yahoo
   4       A. Not really.                                     4   when people were searching. Is that correct?
   5       Q. No?                                             5     A. Yes.
   6       A. No. These are text ads that we --               6     Q. Okay. And then after the Yahoo section,
   7    that must -- that the person who searches             7   there is a section of Bing banner ads. Do you
   8    needs to search something relevant to the key         8   see that?
   9    words that we gave. And the reason that I'm           9     A. Yes.
  10    giving you information that you dismiss or           10     Q. These are display ads that ran on the
  11    you don't like, it's important to remember,          11   Microsoft Bing search network. Is that right?
  12    nobody -- nobody buys an ad after clicking on        12     A. Ran or supposed to run.
  13    it. They don't even remember where they              13     Q. What is your distinction you're trying to
  14    clicked on it.                                       14   draw?
  15       Q. Nobody buys an ad?                             15     A. We submit on all networks you
  16       A. I'm sorry. Nobody buys the products.           16   basically submit. They approve or
  17    The regimen after clicking on an ad. Nobody.         17   disapprove. And even if they approve, they
  18       Q. You mean immediately after clicking on an      18   can disapprove it after an hour or a week.
  19    ad?                                                  19     Q. Okay.
  20       A. Exactly. They need -- nobody spend             20     A. So, it might be that many of them
  21    $500 -- nobody spends $600 on the spot               21   simply were disapproved.
  22    because they saw. They don't remember where          22     Q. But it's possible that many of these
  23    they saw the ad. They need to read. They             23   were approved and were accepted. Correct?
  24    need to search. They need to come back.              24     A. Exactly.
  25    They need to ask friends. Nobody buys it.            25     Q. Okay.

                                                      114                                                      116
  1             So, it doesn't -- so much -- so much, that    1     A. Definitely.
  2    at one time we advertised on sex sites, because        2     Q. Let me back up and ask something
  3    I didn't care where they click on it. Because          3   about the Yahoo text ads just briefly.
  4    they don't remember. I just want them to read          4   When people clicked on a Yahoo text ad,
  5    the concept.                                           5   to what destination were they directed at
  6      Q. So, part of it is perhaps advertising for         6   that point? To a Roca Labs content of some
  7    brand recognition and for concept recognition,         7   sort? Is that correct?
  8    not just --                                            8     A. Educational.
  9      A. Concept. Not brand.                               9     Q. I understand the concept you're trying to
 10      Q. Let's be --                                      10   get at. I'm just trying to find out who's
 11      A. Concept. I want them to open their               11   responsible for that educational content. It's
 12    eyes to the possibility. That's all.                  12   Roca Labs educational content. Correct?
 13      Q. I want to make sure we're clarifying             13     A. Yes. They will land in a place that
 14    something. I'm advised that when we've used the       14   will allow them to learn about the concept.
 15    word text ads, maybe the pronunciation was not        15   And there is no distinction between clicking
 16    clear. It's t-e-x-t, not t-e-s-t, in case             16   on the text or clicking on display.
 17    there's any question.                                 17     Q. But the destination for all of the Yahoo
 18             At the end of the text ads, 1393,            18   text ads will be a Roca Labs controlled site or
 19    there's another heading that's Yahoo.                 19   video. Correct?
 20    Correct?                                              20     A. Yes.
 21      A. Yes.                                             21     Q. And, then, the same is true for the Google
 22      Q. There's a subheading text ads under Yahoo        22   search ads, text ads.
 23    that run from 1 through above 2000. Let me keep       23     A. All of them.
 24    going here. Through --                                24     Q. All of them. And the same would be true
 25      A. 2000.                                            25   for the Bing display ads. Correct?

                                                                                            29 (Pages 113 to 116)
                                      For The Record, Inc.                                      PX6-40
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                                                     117                                                        119
  1      A. Yes.                                            1     Q. Let's see. Let's take a quick break. I
  2      Q. When we get to the end of this document,        2   can label some other stuff, and maybe we can do
  3    there are a few text ads under the Bing section      3   some more stipulations on these Web pages.
  4    at the very last two pages, going from one           4            MS. MARTENY: Okay.
  5    through twelve, those would be, as with Yahoo and    5     A. I'm sorry.
  6    Google search ads that ran in the context of         6   BY MR. SETTLEMYER:
  7    searching Google. I'm sorry. Searching Bing.         7     Q. You want to stay on the record? You want
  8    Correct?                                             8   to correct yourself?
  9      A. Yes. Advertisements. Any                        9     A. Yes. I'm sorry. See, here, the
 10    advertisements.                                     10   reason the landing site --
 11      Q. And these ads would, again, link to what       11     Q. What are you pointing to?
 12    you refer to as educational material, but           12     A. I'm pointing to 23C. So, all the time
 13    controlled by Roca Labs. Is that correct?           13   I said it's good that I corrected myself to
 14      A. Yes.                                           14   Roca Labs control site because I see
 15      Q. Okay. So -- and I'm going to turn now,         15   something like iNews Wire. We tried for a
 16    let's look at actually Exhibit Number 2, which is   16   few days to do like a press release as part
 17    right here. Exhibit Number 2 is the FTC's first     17   of the education. And tell people, "Go and
 18    amended complaint. I'd like you to look, please,    18   just read the press release, and if it's
 19    at page -- pages 8 and 9. I want you to take a      19   interesting, go and find it on the Web."
 20    look at the ads shown in paragraph 23A through H.   20   So, it wasn't always a site, Roca Labs site.
 21    Do the ads shown in Exhibit 2, paragraph 23 A       21   But it was educational. This is an example.
 22    through H look like the type of ads that would be   22     Q. But the content that was in the iNews
 23    run for Roca Labs in the March 2015 time frame on   23   Wire site --
 24    Bing, Google -- on Bing, Yahoo, and Google?         24     A. We are responsible for.
 25      A. Yes.                                           25     Q. Okay. "We" being Roca Labs. Right?

                                                     118                                                        120
   1      Q. Yes. Thank you.                                1     A. Roca Labs. Yes. It's good that I
   2      A. You can ask me don't you recognize             2   paid attention.
   3    your children? So, yes. They look like my           3           (Off the record from 4:05 p.m. to 4:14 p.m.)
   4    children.                                           4           (Plaintiff's Exhibit Nos. 58, 59,
   5      Q. Let me ask you this. These ads would have      5   60, 61, 62 and 63 were marked for
   6    led to a Roca Labs Web page at that time.           6   identification.)
   7    Correct?                                            7   BY MR. SETTLEMYER:
   8      A. Roca Labs control page. Because Roca           8     Q. Back on the record. We've marked a number
   9    Labs.com. And there you will see many sites.        9   of documents as Exhibits 58 through 63. Mr.
  10    The reason we created the site, because we         10   Juravin, I'd like you to look first at Exhibit
  11    didn't communicate too well with Google, and       11   58, which I believe we retrieved from a large
  12    and Google blocked us. So we tried to              12   computer file that was produced to us several
  13    understand why Google blocked us. What did         13   weeks back, and I believe had a You Tube file
  14    we do wrong?                                       14   marking on the digital copy that we received.
  15             We open another site. We say, "Okay. We   15   Can you tell me if you recognize exhibit -- the
  16    will improve. Maybe we need privacy." They         16   documents in Exhibit 58?
  17    didn't talk to us. Then, that's why we             17     A. Yes.
  18    created all of these, trying to understand.        18     Q. What are the documents in Exhibit 58?
  19    All of them controlled by Roca Labs. All of        19     A. I'll call it satellite sites. It's
  20    them supposed to be education. And our             20   not something active. It's not something --
  21    philosophy was if we educate them, they'll         21   people don't really see. It doesn't have any
  22    eventually buy.                                    22   activity. It's just out there because we
  23      Q. So, the answer is yes?                        23   experimented with something.
  24      A. Yes. Control. Roca Labs control like          24     Q. So, you don't think that the images in
  25    this.                                              25   Exhibit 58 appeared as the cover photos for Roca


                                                                                            30 (Pages 117 to 120)
                                      For The Record, Inc.                                      PX6-41
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                                                     121                                                    123
  1    Labs You Tube channels?                              1   for example.
  2      A. I didn't say that. I said people are            2     Q. This first one, then, would have some sort
  3    not exposed to it.                                   3   of image that was used in connection with the
  4      Q. I'm not asking what they were exposed to.       4   Gastric Bypass Alternative.com site.
  5    I'm just asking you where this was physically or     5     A. Correct. Sort of.
  6    virtually present. These are photos that             6     Q. This particular image would have actually
  7    appeared on this cover page of Roca Labs You Tube    7   been used on the Web. Correct?
  8    pages. Is that correct?                              8     A. No. This is experimental and
  9      A. No.                                             9   something that maybe Google required us to
 10      Q. No?                                            10   do. I don't remember this one as being like
 11      A. They were -- when you have a site like         11   something that people really was exposed to,
 12    Gastric Bypass Alternative.com.                     12   what ended up with a sale. Okay?
 13      Q. Okay.                                          13     Q. Let's move on to Exhibit 59 then.
 14      A. Which we experimented with it, it's            14   Are you familiar with the images taken from
 15    only the landing page. I want to                    15   Exhibit 59? Again, this is from a recently
 16    differentiate between a site and a landing          16   produced computer file.
 17    page. The landing page is like one page,            17     A. Yes.
 18    nothing more. It links them to a site. A            18     Q. What are the images in Exhibit 59?
 19    site is a site with many pages. When you            19     A. Let's start with the font, which shows
 20    have a landing site like Gastric Bypass             20   Alfonso in a red shirt.
 21    Alternative.com, You Tube issues you                21     Q. With the arrow?
 22    immediately a You Tube with that. But you           22     A. Yes.
 23    don't upload videos. You don't do anything          23     Q. Okay.
 24    there.                                              24     A. What is the question?
 25             You really need to look for                25     Q. The question is: What is this -- where

                                                     122                                                    124
   1    it to find something like that. Because there       1   was this used? Was it used on Facebook as a
   2    is no activity. There is no exposure to it.         2   cover page for a while?
   3       Q. Let me back up. Roca Labs, Inc. and Roca      3            MS. MARTENY: Object to form.
   4    Labs Nutraceutical, at various times, had           4      A. Facebook?
   5    channels on You Tube. Correct?                      5   BY MR. SETTLEMYER:
   6       A. Only one that I'm -- only one I think         6      Q. Was the image shown on page one of Exhibit
   7    that we have. It's You Tube. You                    7   59 a Facebook cover photo for Roca Labs at any
   8    Tube.com/Roca Labs. You Tube.com/Roca Labs          8   point in time?
   9    Reviews. That's it. I'm not familiar --             9      A. I don't think so. I don't remember
  10       Q. All right. And those You Tube channels       10   this as such. It might be that it was. I
  11    had some sort of image associated with them that   11   personally don't remember it.
  12    would be a cover photo of sorts. Correct?          12      Q. What about the second page? Was that used
  13       A. Yes.                                         13   as a Facebook cover page by Roca Labs at any
  14       Q. Okay. So, were these images shown in 58      14   point?
  15    ever the cover photos --                           15      A. It looks more like something that we
  16       A. No.                                          16   will use. I'm not saying, by the way, that
  17       Q. -- used on You Tube?                         17   this one was not. I just don't remember
  18       A. No. Not this. Not this -- I'm not            18   doing something like this.
  19    familiar with it. Again, it's not. It's not        19      Q. By "this one," you're pointing to the
  20    a cover that will really -- that we will use.      20   first page again. Correct?
  21    Okay? It's not the cover. I don't remember         21      A. Yes. If you tell me you took it from,
  22    it, and it's not something I will use. But         22   I'll say yes. You know what? It looks like
  23    it's something that we uploaded to a               23   the same size as the next one. And I do
  24    satellite, to something that Google required       24   recognize page number two, so maybe it was.
  25    us to do on Gastric Bypass Alternative.com,        25      Q. What about page number three?


                                                                                          31 (Pages 121 to 124)
                                      For The Record, Inc.                                    PX6-42
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                                                     125                                                        127
   1      A. It looks like a potential. Yes.                1   filing legend.
   2      Q. And page four?                                 2      A. Okay. Who's -- who does --
   3      A. I definitely remember that. Number             3      Q. I'm not sure what this suit is -- this is
   4    four.                                               4   from. This may be from Roca Labs versus Pissed
   5      Q. Number four, so you definitely remember        5   Consumer.
   6    that was used as a Facebook cover photo?            6      A. Okay. So, it does look like something
   7      A. Yes.                                           7   that would be on the home page.
   8      Q. And page five?                                 8      Q. Okay. Then, let's look at Exhibit 62.
   9      A. I do remember something like that,             9   Now, up in the upper right-hand corner, if you
  10    also.                                              10   turn to landscape, Exhibit 62 has a marking Web,
  11      Q. As a cover photo for --                       11   at archive.org, and then it has a url that
  12      A. Facebook.                                     12   includes, I'll just state from experience, 2012,
  13      Q. Facebook. Okay. Page six?                     13   1103. Does this look like Exhibit 62 --
  14      A. It looks like it. Even if I don't             14      A. Yes.
  15    remember, it looks like it was ours.               15      Q. -- in the text that was included on the
  16      Q. What about the last page?                     16   Roca Labs Web page in late 2012?
  17      A. It looks like ours.                           17      A. Yes.
  18      Q. Okay. So, all of these, then, with the        18      Q. Okay. So, make sure you flip through the
  19    possible exception of number one, you recall as    19   entire exhibit.
  20    being, at some point, the Facebook cover photo     20      A. I'm familiar with it. When I am
  21    for the Roca Labs Facebook page. Right?            21   familiar with a child, I --
  22      A. Yes.                                          22      Q. Okay. Let's then look at Exhibit 63,
  23      Q. Okay. Let's turn now to Exhibit 60.           23   speaking of a child.
  24    Do you recognize the images on the two page        24      A. Yes.
  25    exhibit, Exhibit 60?                               25      Q. Do you recognize Exhibit 63?

                                                     126                                                        128
  1        A. From the very, very first disc.               1     A. Yes.
  2        Q. Around when would that have been?             2     Q. And, again, this has a legend at the top,
  3        A. I don't know. 2009.                           3   weigh back machine, with a date shown in the
  4        Q. Okay. So, I'll tell you these are pages       4   upper right-hand corner of March 2013. Do you
  5     we pulled from two of the trademark applications    5   think that Exhibit 63 looks like what a child --
  6     in 2011. Does that refresh your recollection        6   "Can my child take the formula?" page looked like
  7     about when these would have appeared?               7   in March 2013?
  8        A. No. If that's what you took. So,              8     A. Yes.
  9     it's between '9 and '11.                            9     Q. Let's move on to Exhibits 64 through 68,
 10        Q. And these images would have come from        10   which I will hand you, and we can go off the
 11     pages on a Roca Labs Web site. Is that correct?    11   record for a moment while you look at those.
 12        A. Yes. I think so. Yes.                        12           (Off the record from 4:24 p.m. to 4:26 p.m.)
 13        Q. Okay. And let's look at Exhibit 61 then.     13           (Plaintiff's Exhibit Nos. 64, 65, 66,
 14     Do you recognize the text and images in Exhibit    14   67 and 68 were marked for identification.)
 15     61?                                                15   BY MR. SETTLEMYER:
 16        A. Yes, I do.                                   16     Q. Back on the record. Mr. Juravin, we've
 17        Q. What is Exhibit 61?                          17   handed you documents marked as Exhibit 64 through
 18        A. It looks like a home page that I will        18   68. I'd like you to look at Exhibit 64, please.
 19     design. I would design.                            19   And can you tell me if you recognize Exhibit 64?
 20        Q. Okay. Do you think that would have been      20     A. Yes.
 21     around November of 2012?                           21     Q. What is Exhibit 64?
 22        A. Possible.                                    22     A. It looks like a home page.
 23        Q. Okay. And I notice there's a marking in      23     Q. From the Roca Labs Web site?
 24     the lower right-hand corner, if you kind of        24     A. Yes. And I do recognize it.
 25     glanced, of 11/8/2012. Also, at the top a court    25     Q. And this would be approximately February


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                                      For The Record, Inc.                                      PX6-43
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                                                    129                                                     131
   1    2013, do you think?                                1      A. You're not a good student. Landing
   2      A. Yes.                                          2   page.
   3      Q. Okay. Let's look at Exhibit 65.               3      Q. Landing page.
   4      A. I don't know the date, but it's ours.         4      A. This is a possible landing page.
   5    And we used it at one time or another.             5   Definitely.
   6      Q. Okay. But does the time frame of early        6      Q. Okay. So -- and this was live on line.
   7    2013 sound about right?                            7   Correct?
   8      A. I don't know. I don't know. But it's          8      A. We will not waste time to that landing
   9    ours.                                              9   page, does not make money.
  10      Q. Okay.                                        10      Q. So the answer is yes, it was live on line?
  11      A. It's ours.                                   11      A. Yes.
  12      Q. And Exhibit 65. Do you recognize Exhibit     12      Q. Let's look at Exhibit 68 now. Now, items
  13    65?                                               13   one and two in the upper part of Exhibit 68, do
  14      A. Yes.                                         14   you recognize those as ads that would have been
  15      Q. What is Exhibit 65?                          15   placed by Roca Labs?
  16      A. Looks like a home page. Again, I             16      A. Are you referring to item one and two?
  17    recognize it as ours.                             17      Q. Yes. Mmm-hmm.
  18      Q. This would have also potentially been from   18      A. Okay. Yes. Because number three is
  19    February 2013. Correct?                           19   not. Yes.
  20      A. Potentially. Yes.                            20      Q. Okay. So, items one and two would have,
  21      Q. This url is not Roca Labs.com.               21   if I'm reading these ads correctly, item one
  22    This is the url Roca                              22   would have directed someone from the ad to the
  23    Labs.com/gastric-bypass-surgery-guide.            23   Mini-gastric-bypass.me/Roca Labs page. Correct?
  24      A. Yes.                                         24      A. Yes.
  25      Q. Let's look at Exhibit 66, please. Do you     25      Q. And item two would have directed to --

                                                    130                                                     132
   1    recognize Exhibit 66?                              1     A. A different landing page.
   2      A. Yes.                                          2     Q. A different landing page. And that would
   3      Q. What is Exhibit 66?                           3   have been www.RocaLabs.com/approved. Correct?
   4      A. It looks again like a home page.              4     A. Yes.
   5      Q. This one has a different home page.           5     Q. Okay. Thank you. Done with those.
   6    Mini-gastric-bypass.me.                            6   We'll move on to some others. Let's take a
   7      A. Yes.                                          7   quick break and do that.
   8      Q. Again, you think this would have been from    8           (Off the record from 4:30 p.m. to
   9    early 2013 possibly?                               9   4:35 p.m.)
  10      A. Possible. Yes.                               10           (Plaintiff's Exhibit No. 69 was marked
  11      Q. And Mini-gastric-bypass.me is one of the     11   for identification.)
  12    domains that Roca Labs used to advertise.         12   BY MR. SETTLEMYER:
  13    Is that correct?                                  13     Q. Just take a moment and look at that. So,
  14      A. Yes.                                         14   Mr. Juravin, I just handed you a document marked
  15      Q. Okay. And paragraph -- I'm sorry.            15   as Exhibit 69. And can you tell me what Exhibit
  16    Exhibit 67, can you take a look at that,          16   69 is?
  17    please? You recognize Exhibit 67?                 17     A. It looks like part of a site we used
  18      A. Yes.                                         18   to have.
  19      Q. What is Exhibit 67?                          19     Q. Okay. So part of the site?
  20      A. Probably one of the educational pages        20     A. Of the Roca Labs site.
  21    where you land and you learn.                     21     Q. Roca Labs.com site. Correct?
  22      Q. So, potentially, say a search ad or a        22     A. It might be that it was just
  23    Facebook ad, maybe this time more a search ad     23   experimental because if I see old dot Roca
  24    might have directed somebody to this particular   24   Labs, this is what we used to experiment
  25    page. Is that right?                              25   with.


                                                                                         33 (Pages 129 to 132)
                                      For The Record, Inc.                                   PX6-44
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                                                       133                                                    135
   1      Q. How long was this -- the content that's          1   experimented with these type of words.
   2    shown in Exhibit 69 up on the Web at the Roca         2     Q. It sounds like you can't say for sure
   3    Labs.com site?                                        3   whether it was live or not.
   4      A. I'm not sure that this was exposed to            4     A. Definitely old was not live. And
   5    the public. There's a difference between              5   you're asking me some of the wording was ever
   6    something being in the site and exposed               6   exposed to the public, I'm telling you I'm
   7    and other things that they're not exposed to.         7   not sure.
   8    And there is a difference between something           8     Q. Okay. Let's go to the very back of
   9    that exists there and nobody directs you              9   Exhibit 69. The second to last page.
  10    there. So, this one is not something that            10   The one marked privacy policy. You see that?
  11    was exposed to the public. We experimented           11     A. I see that. Yes.
  12    with it.                                             12     Q. Okay. Can you take a look at that and
  13      Q. Experimented in what way?                       13   tell me whether you recognize that wording of
  14      A. By asking the designer, "Show me                14   that privacy policy as having been live on the
  15    something." Okay. "Show me something that            15   Roca Labs Web site?
  16    potentially I would want." So, they show me.         16     A. The truth is that that was never part
  17    We change. You don't experiment on the live          17   of the privacy policy. I -- this is
  18    site on something called "/test" or old --           18   something that I was -- I just was told that
  19    old is a subdomain that Google will not              19   we need to have privacy policy because Google
  20    pick up.                                             20   requires it. And I ask the attorneys, "Do
  21      Q. So, old does not designate that it was          21   something." When it comes to the terms, I
  22    formally on the site, as far as you recall?          22   know that I dictated the general idea. And
  23      A. No.                                             23   the attorneys wrote it. But the privacy was
  24      Q. Okay. So, do you recognize anything on          24   like put something because Google is asking.
  25    the first couple of pages of Exhibit 69 as having    25     Q. Let me ask you this. Was this language at

                                                       134                                                    136
   1    been live on the site, in terms of the text?          1   the back of Exhibit 69 live on the Roca Labs Web
   2      A. No. For example, this image would not            2   site at any point, the privacy policy language?
   3    appear in the middle. But we did not care             3     A. It's not like other things. I cannot
   4    about it if it's experimental.                        4   recognize if it, yes or no. Or I cannot
   5      Q. Okay. The image is of the doctor with a          5   recognize any version of it. Because I was
   6    stethoscope. Right?                                   6   never part of creating it.
   7      A. Yes.                                             7     Q. Okay. Who would recognize whether that
   8      Q. Let me see if we can distinguish                 8   language was on the Web site or not?
   9    between some of the cosmetic aspects of how it        9     A. One of the attorneys that wrote it or
  10    looks on the printout and just generally the         10   copied it or something.
  11    words that are appearing in the text. Did the        11     Q. All right. Well, the attorneys might have
  12    words that are appearing on, say, the first          12   written, drafted the privacy policy language.
  13    page of Exhibit 69 appear on the Roca Labs Web       13   But how did it get on the Roca Labs Web site,
  14    site?                                                14   or how would it have gotten on the Roca Labs
  15      A. Not necessarily. No. It might be                15   Web site?
  16    that it just -- no. It might be that I --            16     A. I would say, let's say, Vishal will
  17    that's before the time that we used to have          17   tell me don't -- Google requires privacy
  18    Word Press. That I had access to. Only in            18   policy or they will not -- you know,
  19    2015 I got access to Word Press where I can          19   something. I would say to Michael Schloss,
  20    experiment myself. Before that, they just            20   "Michael, I need privacy policy."
  21    put some texts that I don't know from where          21     Q. Michael Schloss being a lawyer?
  22    even. Just as to experiment.                         22     A. Yes.
  23             So, the fact that you see the               23     Q. But, then, in terms of Michael Schloss
  24    words here doesn't mean that the public was          24   gives text for a privacy policy page, how does
  25    exposed to it. It might be that I                    25   that language go from --

                                                                                            34 (Pages 133 to 136)
                                       For The Record, Inc.                                    PX6-44a
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 50 of 264 PageID 8557
                                                     Juravin
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                                                    137                                                     139
  1       A. He sent it to me. I forward it to              1   I don't think we ever changed it. I don't
  2    Vishal.                                              2   remember ever asking anybody. It was just a
  3       Q. Vishal being a designer, for example.          3   procedural thing.
  4       A. Yes. I'm not reading it.                       4            So, if we didn't change it, and if '16
  5       Q. So, then, who within the company would be      5   looks like '12, then it is. It might be a
  6    able to provide the answer as to what privacy        6   different possibility, it says Roca Labs on
  7    policy language was on the site? Because I'll        7   it, but I don't remember ever changing it.
  8    mention that we did designate as one of our          8   I'm willing to stipulate that this is ours.
  9    topics for 30(b)(6) the Roca Labs                    9      Q. Are you willing to stipulate that it was
 10    non-disparagement policies, terms and conditions,   10   -- this language was publicly on the Roca
 11    privacy representations, and privacy policies       11   Labs.com Web site?
 12    related to sales of localized products. So, we      12      A. It would be because there would be
 13    want to have an answer as to what language was on   13   nobody else to do it. So, I'm willing to do
 14    the site.                                           14   that. Okay? Let's move on, and I will
 15             So, is there somebody you could            15   stipulate. Otherwise, if somebody would show
 16    consult or some record you could consult to         16   me '15 or '16, they would look the same, I
 17    give you that answer?                               17   will tell you why.
 18       A. I'm willing to stipulate that anything        18      Q. I'm asking you as the witness to tell me
 19    that was on the site is my responsibility,          19   what your Web site looked like.
 20    whether I read it, not read it. It's there.         20      A. Let's move on --
 21    It's not. If I'm ashamed of it or not. If           21            MS. MARTENY: Don, stop.
 22    it's there, it's mine. So whether I read it         22        He's asking you whether or not -- if
 23    or not, I'm responsible for it.                     23        you don't think so.
 24             MS. MARTENY: That's not the question.      24            THE WITNESS: There was nobody else to
 25    BY MR. SETTLEMYER:                                  25        say --

                                                    138                                                     140
   1      Q. That's not my question. My question is:        1           MS. MARTENY: How about this? If we're
   2    Was it on the site?                                 2        coming back tomorrow, consult with
   3      A. Was it exposed to the public? Neither          3        Vishal.
   4    Vishal nor Michael Schloss, the attorney,           4           THE WITNESS: Somebody from six
   5    could tell me that. You found it on the             5        years ago. I don't know. Vishal I
   6    site. If it was ever produced, then it was          6        think would tell me, yes. Let's move
   7    on the site.                                        7        on. Yes.
   8      Q. Well, this is on the old Roca Labs.com         8           (Plaintiff's Exhibit No. 70 was
   9    site. And you were earlier saying that you          9   marked for identification.)
  10    weren't sure that all of the text that was shown   10   BY MR. SETTLEMYER:
  11    in the old .RocaLabs.com was on the public. And    11     Q. Let's move on. So, I'm going to go to
  12    you weren't sure whether text from the site was    12   Exhibit 70. We'll go off the record for a
  13    on or not. But do you have an understanding of     13   moment. Take a look at Exhibit 70.
  14    whether this language was on the Roca Labs Web     14           MR. SETTLEMYER: I just handed the
  15    site at any point in time?                         15        witness Exhibit 70.
  16      A. Do you have by any chance the privacy         16   BY MR. SETTLEMYER:
  17    that we had in 2015 or '16?                        17     Q. Mr. Juravin, take a moment, please, and
  18      Q. I don't know.                                 18   tell me if you recognize the documents in
  19      A. I can see if you show me.                     19   Exhibit 70.
  20      Q. I guess my -- I want you to answer my         20     A. I recommend it is a landing page.
  21    question.                                          21     Q. You recognize it as a landing page?
  22      A. I'll tell you why I'm asking. Because         22     A. Yes.
  23    I don't think we ever changed it. I don't          23     Q. So, this is a -- so, you're looking at the
  24    remember changing. So, if '16 looks like           24   very first page of Exhibit 70?
  25    this, then, I'll tell you this one was, also.      25     A. Yes.


                                                                                         35 (Pages 137 to 140)
                                      For The Record, Inc.                                   PX6-45
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 51 of 264 PageID 8558
                                                     Juravin
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                                                    141                                                      143
  1      Q. Flip through and just tell me whether you       1   the right date for this content?
  2    agree that the text and images shown in Exhibit      2      A. I don't know. It looks more like '14
  3    70 are text and images from the Roca Labs.com Web    3   to me. But, then, I don't know. I don't
  4    site from approximately September 2014?              4   know.
  5      A. It looks like it. Yes.                          5      Q. Okay. Let's see.
  6      Q. Okay. Keep going all the way through the        6            MR. SETTLEMYER: Let's take a quick
  7    document, and let me just make sure you don't        7        break. And I'm going to do another
  8    disagree. And I guess I'll note that I've            8        exhibit real quick.
  9    actually put together into Exhibit 70, the last      9            (Off the record from 4:49 p.m.
 10    few pages are from the Mini-gastric-bypass.me Web   10   to 4:52 p.m.)
 11    site. Do you see that?                              11            (Plaintiff's Exhibit No. 73 was marked
 12      A. Yes. I do recognize that.                      12   for identification.)
 13      Q. But those also are pages from September        13   BY MR. SETTLEMYER:
 14    2014. Correct?                                      14      Q. Back on the record. Mr. Juravin, you've
 15      A. I don't know the dates. But it's               15   had a chance to look at Exhibit 73. Correct?
 16    ours. And I do recognize it.                        16      A. Yes.
 17      Q. Okay.                                          17      Q. Do you recognize the documents in Exhibit
 18      A. I do recognize Exhibit 70.                     18   73 from the Roca Labs.com Web site?
 19      Q. One second.                                    19      A. It looks like -- it looks like ours.
 20            (Plaintiff's Exhibit No. 71 was             20   It looks like something from our site. And I
 21    marked for identification.)                         21   also recognize that we wrote presenter is not
 22            MS. MARTENY: Let him ask a question.        22   medical professional.
 23      A. I do recognize Exhibit 71 as being             23      Q. You're looking at page one on Exhibit 73?
 24    part of the Roca Labs site.                         24      A. Yes.
 25    BY MR. SETTLEMYER:                                  25      Q. And when was that added?

                                                    142                                                      144
  1       Q. And this would have been from September of     1     A. I don't know. '14 or '15.
  2    2014 as well, approximately?                         2     Q. So, the images of this young woman in that
  3       A. It looks correct.                              3   video box, for example, prior to that time, would
  4       Q. Okay.                                          4   not have been shown with that legend. Correct?
  5       A. This one I can more know the date              5     A. I don't know. I just see it -- you
  6    because of the images. And so, yes.                  6   know, I just see it here for me. Anyways, I
  7             (Plaintiff's Exhibit No. 72 was             7   don't know. I think it's from 2014. And it
  8    marked for identification.)                          8   says "Presenter is not a medical
  9             MR. SETTLEMYER: I'm handing Exhibit         9   professional." I recognize the rest of it.
 10          No. 72 to the witness.                        10     Q. Okay. "It" being Exhibit 73. Correct?
 11    BY MR. SETTLEMYER:                                  11     A. Yes.
 12       Q. And Mr. Juravin, please look at Exhibit 72    12     Q. Okay. One moment. That's all I have
 13    and tell me if you recognize it.                    13   right now for 73. Let's move on to -- let's go
 14       A. I recognize Exhibit 72 as a landing           14   off the record for a moment.
 15    page on the Roca Labs site from approximately       15            (Off the record from 4:54 p.m.
 16    2014.                                               16   to 5:05 p.m.)
 17       Q. Okay. This I think has a date on it,          17            (Plaintiff's Exhibit Nos. 74, 75 and
 18    January 28, 2015.                                   18   76 were marked for identification.)
 19       A. This date I don't recognize because           19            MS. MARTENY: Defendants will
 20    it's --                                             20        stipulate that the information
 21       Q. It's from the printout.                       21        contained in Exhibits 74, 75 and 76 is
 22       A. Yeah.                                         22        accurate.
 23       Q. Not from the site?                            23   BY MR. SETTLEMYER:
 24       A. Correct.                                      24     Q. All right. So, Mr. Juravin, in Exhibit
 25       Q. But does that look like it's approximately    25   74, the registrant name for the domain Roca

                                                                                          36 (Pages 141 to 144)
                                      For The Record, Inc.                                    PX6-46
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                                                       Juravin
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                                                      145                                                      147
   1    Labs.com is listed as Juravin, Incorporated. Do      1   that's it.
   2    you see that?                                        2      Q. Okay. So, to the extent you were
   3      A. Yes, I do.                                      3   active in trying to develop and sell your
   4      Q. Now, according to the stipulation, that         4   invention in Israel prior to 2009, Teddy
   5    was true as of January 2015, which is the date of    5   Juravin was not involved with that are you
   6    the e-mail containing the information. Is that       6   saying?
   7    still true, that Juravin, Inc. is the domain name    7      A. No. It's my invention. And I just
   8    registrant for Roca Labs.com?                        8   wanted to help him to write a domain on his
   9      A. I don't think I changed anything.               9   name. But it didn't succeed. And that's
  10      Q. Okay.                                          10   it.
  11      A. I don't remember changing anything.            11      Q. Okay. So, Teddy Juravin has no
  12      Q. Okay. And is -- would it still be true         12   ownership interest in --
  13    that Roca Labs -- I'm sorry.                        13      A. No. No. No.
  14             Would it still be true that Juravin,       14      Q. -- your invention?
  15    Incorporated is the registrant for the domain       15      A. No.
  16    mini-gastric-bypass.me?                             16      Q. No ownership interest at all in
  17      A. Yes. I don't remember changing                 17   any Roca Labs business.
  18    anything.                                           18      A. No.
  19      Q. Okay. And would it still be true that          19      Q. Okay. You did, I believe, file a
  20    Juravin Incorporated is the registrant for          20   lawsuit against somebody Teddy Zoragin.
  21    gastric bypass.me?                                  21   Is that the same individual?
  22      A. Yes.                                           22      A. The same. Yes.
  23      Q. Okay. And, then, on Exhibit Number --          23      Q. Do you recall what that lawsuit
  24    Exhibit Number 76, the first page, page number      24   was about?
  25    875 at the bottom, the very first entry under       25      A. It was basically the lawsuit was

                                                      146                                                      148
  1    account information and pay information in one of     1   about me consulting and helping and doing
  2    the middle columns near the top is the name Teddy     2   things and asking for the money.
  3    Juravin. Who is Teddy Juravin?                        3     Q. Okay. Was that work you were doing
  4      A. My brother.                                      4   at all related to the Roca Labs business?
  5      Q. Your brother?                                    5     A. No.
  6      A. Yes.                                             6     Q. Okay. Let's move on to No. 75.
  7      Q. Is he still in Israel?                           7   Actually, I'm getting sloppy. Let's go back
  8      A. Yes. He's only in Israel. He was                 8   to -- yes. Let's go back to 75. Is 75 --
  9    never here.                                           9   Exhibit 75 showing an account that's being
 10      Q. Can you explain what his role was in            10   actively used by you at this point? This is
 11    connection with the Roca Labs business, if any?      11   denominated as a Roca Labs account as distinct
 12      A. No. It's something from 2005, 2000              12   financial from 76, which is the Diet Labs
 13    and -- it's just something very, very long           13   account.
 14    ago. No. It's -- you're looking at billing.          14     A. Yes. Diet Labs is something very old
 15      Q. I think this is 2008. Yes. This                 15   that I don't even remember much. The Roca
 16    is pay information.                                  16   Labs, yes. It's a more new, active account.
 17      A. But it's nothing to do with Roca Labs.          17     Q. Because I believe that the domain name
 18    Nothing. It's with an Israeli domain called          18   Roca Labs.com was first registered in April
 19    Walcoff or Vishal.com. Nothing to do with            19   2009 under the Diet Labs account. Let's take
 20    here in 2004. Just we used the same account.         20   a look.
 21    That's all.                                          21     A. Yeah. It might be.
 22      Q. Okay.                                           22     Q. Okay. Same with the Juravin.com
 23      A. When I was in Israel, I tried to help           23   originally registered under Diet Labs?
 24    him to do some business. So, I registered a          24     A. It might be.
 25    domain for him. And nothing happened. And            25     Q. You think it might have gone on at that

                                                                                           37 (Pages 145 to 148)
                                       For The Record, Inc.                                    PX6-47
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 53 of 264 PageID 8560
                                                       Juravin
FTC v. Roca Labs, Inc., et al.                                                                       2/15/2017
                                                       149                                                    151
   1    point, the active Roca Labs account shown in          1     Q. You don't think you changed probably
   2    Exhibit 75.                                           2   since before -- in the past couple of years
   3      A. I don't know. I have to check. It's              3   since 2014, for example?
   4    not something that came with me today.                4     A. Ownership or account? Log in account
   5      Q. But if it's listed in 75 under the Roca          5   or ownership?
   6    Labs account, you think that might be the             6     Q. Log in accounts.
   7    current situation of ownership?                       7     A. I don't think so. No.
   8      A. I think so.                                      8     Q. Okay.
   9      Q. Let me just -- I believe in December             9     A. Again, I don't think I know what to
  10    2012 Roca Labs.com was registered under the          10   do. Again, if something is registered to me,
  11    Roca Labs account. See if I can point you to         11   what does it matter if it's a log-in account
  12    that. Actually, I'm in '14. July 2014. So,           12   or this log-in account? To me.
  13    yes. If you look at page 851 in the lower            13     Q. I'm just trying to keep straight what's
  14    right-hand corner of Exhibit 75.                     14   happening with that part of the business.
  15      A. Yes.                                            15     A. Sure.
  16      Q. I believe you'll see at the bottom              16     Q. Okay. Let's look at another exhibit that
  17    half of the page transaction under the date          17   we will have marked.
  18    July '10, there's a list of domain names             18            (Plaintiff's Exhibit No. 77 was
  19    including Roca Labs.com,                             19   marked for identification.)
  20    mini-gastric-bypass.me.                              20            MS. MARTENY: Don, let's talk about
  21      A. Okay.                                           21        this later. Let's get through this.
  22      Q. So, that would tell you, then, that the         22        And then we'll talk about anything
  23    Roca Labs account shown on Exhibit 75 is the         23        else.
  24    current one. Right?                                  24   BY MR. SETTLEMYER:
  25      A. Are you asking me if the domain Roca            25     Q. I had a document marked as Exhibit 77,

                                                       150                                                    152
   1    Labs.com moved from one account to another            1   Mr. Juravin. I'd like you to take a look at
   2    within the same name.com?                             2   Exhibit 77 and ask you about the screen shots
   3       Q. I'm just wanting to know whether                3   shown in Exhibit 77.
   4    the Roca Labs account is the current account          4     A. Where am I to identify?
   5    you're using to register domain names?                5     Q. I'll get to that in a minute. I want you
   6       A. Account?                                        6   to go through the entire document for a moment,
   7       Q. I'm talking with the name .com service          7   make sure you look at each page.
   8    under the account where all these?                    8     A. Okay.
   9    registrations come.                                   9     Q. Okay. So, keep going through the whole
  10       A. Probably don't put the same importance         10   thing. I want to make sure.
  11    as you. Maybe if you help me to understand           11     A. I recognize the qualifications for --
  12    what exactly you're trying to get to, I can          12     Q. Let's get back on the record.
  13    help you with it. Because for me, it's not           13     A. Yes.
  14    something that even I -- you know.                   14     Q. Mr. Juravin, you've looked at Exhibit 77.
  15       Q. I'm not really trying to be                    15   And you recognize what's shown in the screen
  16    complicated here. I just want to make                16   shots in Exhibit 77?
  17    sure we understand --                                17     A. Yes.
  18       A. I'll tell you what. When I log in,             18     Q. Okay. So, looking at the second page.
  19    there is something that I don't even see             19     A. Any importance to the first page?
  20    where I log in. I go to name.com, the                20     Q. Well, let's ask about the first page.
  21    password is in, I log in, I see. I never             21   The upper right-hand ad on this page shows a
  22    look where do I log in. I didn't change it.          22   -- does it show a Roca Labs ad?
  23    It's a big deal to move it from one account          23     A. Yes.
  24    to another. From one ownership to another.           24     Q. And it shows that that ad appearing in
  25    I don't think I did it.                              25   response to the search terms of gastric bypass.

                                                                                            38 (Pages 149 to 152)
                                      For The Record, Inc.                                      PX6-48
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 54 of 264 PageID 8561
                                                      Juravin
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                                                     153                                                          155
  1    Correct?                                              1            If somebody has a kidney problem,
  2      A. Okay. Yes.                                       2   I don't want to sell them. If somebody has
  3      Q. Okay. So, when Roca Labs had and has had         3   allergic to wheat, I don't want to sell them.
  4    ads being displayed on Google that have been          4   If somebody has less than 40 pounds to lose, I
  5    triggered by search terms, some of those terms        5   don't want to sell them. If somebody doesn't
  6    have included terms like gastric bypass.              6   think that fat is unhealthy and ugly, it means
  7    Correct?                                              7   they're not in the frame of mind of losing
  8      A. Yes.                                             8   weight. I don't want to sell them. Because I
  9      Q. What are some other terms that Roca Labs         9   want to keep a very high success rate.
 10    frequently would use to trigger delivery of          10            And I think the other ones will
 11    search advertising?                                  11   be trouble. So, their qualification is
 12      A. Anything to do with bariatric surgery.          12   filtering. I will ask them if they have
 13      Q. Can you just give me a list of some that        13   health insurance which will indicate to me
 14    are more frequently used and frequently been used    14   that they are serious about their health.
 15    to generate ads?                                     15   Okay?
 16      A. Bariatric surgery basically means all           16            So, this is their -- this is the
 17    the -- all the gastric bypass, lap band, all         17   idea of qualification form.
 18    the surgeries all together are called                18      Q. Let's look at the particulars of the
 19    bariatric surgery. So, we will use any one           19   qualification form.
 20    of the surgeries, whatever it's called, lap          20      A. At this time. This.
 21    band, sleeve, all the bariatric surgeries.           21      Q. As of --
 22    Gastric bypass is only one of them. These            22      A. 2014.
 23    are -- this is what I was after. Not weight          23      Q. Late 2014.
 24    loss. The word past the weight loss.                 24      A. I don't know if it's late. But 2014.
 25      Q. Also, some of the search terms used to          25   Yes.

                                                     154                                                          156
   1    trigger ads would also be particular to Roca Labs    1     Q. So, the language in the box under the
   2    as well. Correct?                                    2   words "qualify" and "order" this form is designed
   3      A. Yes. My name. Yes.                              3   to filter out those with limited chance of being
   4      Q. So, let's look at page two, and does that       4   successful and who are absolutely not suited to
   5    screen shot look to you like --                      5   use the strong formula or handle the regimen
   6      A. Yes. It looks like it's our home                6   successfully. This form is not replacing your
   7    page.                                                7   personal physician who can relate specifically to
   8      Q. So, that's Roca Labs.com. This would have       8   your medical situation.
   9    been approximately the second half of October of     9     A. Exactly.
  10    2014. Correct? Or you don't know?                   10     Q. "This information will be kept
  11      A. I'm laughing because you're saying             11   confidential and will not be shared for the
  12    about. But you're so exact. So, different           12   length of the privacy policy."
  13    than about. '14 sounds okay.                        13            So, this language about this information
  14      Q. Let's look at page three. What is page         14   will be kept confidential and will not be shared, was
  15    three of Exhibit 77?                                15   that on the qualify and order page prior to 2014?
  16      A. Qualifying order.                              16     A. I think it was there all the time.
  17      Q. Explain what that is. What happened on         17   And the idea is that people are afraid to
  18    this form for a consumer?                           18   give their e-mail, and then we say, "We sell
  19      A. Okay. Basically, my job here in the            19   the e-mail to somebody else and say, "Hey,
  20    qualification is to -- the qualification,           20   this is the e-mail of overweight people."
  21    basically, I want to filter people that I           21   So, that's the idea of we are not sharing
  22    don't have to do business with and I don't          22   your information.
  23    want to take their money because I don't            23     Q. But the words "This information will be
  24    think it would be good for them and not good        24   kept confidential and will not be shared" were on
  25    for me.                                             25   the site on the qualify and order page in 2014


                                                                                              39 (Pages 153 to 156)
                                       For The Record, Inc.                                       PX6-49
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                                                      Juravin
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                                                     157                                                      159
   1    and before this. Correct?                            1   your weight this time around? If so, why?"
   2      A. I remember writing it always. You               2   Correct?
   3    know. So --                                          3     A. Yes.
   4      Q. Well, let's look at what information gets       4     Q. And this would be information that a user,
   5    put into the form on this page and subsequently.     5   prospective customer would fill in themselves.
   6    So, you'll agree a customer, prospective customer    6   Correct?
   7    would have to enter their name, their gender,        7     A. Yes.
   8    their age, their weight and their height.            8     Q. And, then, they would have to get
   9    Correct?                                             9   to a box at the bottom where they would have
  10      A. Yes.                                           10   to select whether they would say either, "I
  11      Q. They would indicate whether or not they        11   agree, fat is unhealthy and ugly and I'm going
  12    have health insurance. Correct?                     12   to fight and change it," or "I don't think
  13      A. Health insurance. Correct.                     13   that being fat is bad, being overweight is not
  14      Q. Let's look at the next page. And people        14   the end of the world, being overweight is not
  15    had the option of watching a short video.           15   so bad, and your approach is completely wrong.
  16    Correct?                                            16   I'd like to cancel this application."
  17      A. Which we later I remember placing              17           They would have to select one
  18    forcing them almost to watch it. Because            18   of those options. Correct?
  19    this video told them why not to buy. I              19     A. Yes.
  20    wanted to discourage them from buying. Okay?        20     Q. And, then, they would go to a screen that
  21    Because I wanted only the serious people to         21   would start to get their order information for
  22    buy.                                                22   shipping address and associated information.
  23      Q. Then, after they watched or the case could     23   Correct?
  24    have been did not watch the video at this period    24     A. Yes.
  25    of time, they would go onto another page where      25     Q. Okay. And, then, they would go on to

                                                     158                                                      160
  1    they would be asked to enter additional               1   another screen as shown on the next page of this
  2    information such as do you have any kidney            2   exhibit and its following page that has at the
  3    problems, are you allergic to wheat grain, and do     3   top, "Select procedural kit." Correct?
  4    you have a problem with drinking plenty of water      4     A. Yes.
  5    or swallowing. Correct?                               5     Q. And they would -- the consumer would then
  6      A. Yes.                                             6   click on which option they wanted to order.
  7      Q. Then, they would go on to another screen         7   Correct?
  8    where they would have to answer questions about       8     A. Yes.
  9    reason for your overweight issues, what medical       9     Q. And a page like this would show the full
 10    issues do you have that might be related to your     10   range of different types of kits available at
 11    excess fat, and listing the non-effective weight     11   that time. Correct?
 12    loss methods they have tried. Is that correct?       12     A. Yes.
 13      A. Yes.                                            13     Q. And, then, at the bottom of that screen,
 14      Q. Then, they would go on, after entering          14   there would be a selection to choose how quickly
 15    information in that page, they would go to a page    15   they wanted the shipment under priority.
 16    asking them to mark familiar psychological           16   Correct?
 17    obstacles that you need to overcome. Correct?        17     A. Yes.
 18      A. Yes.                                            18     Q. And, then, under that, there would be an
 19      Q. Okay. Then they would proceed to fill           19   unchecked box with the statement, "I have
 20    out information or select information --             20   checked, and do not have any medical reasons
 21      A. I challenge them.                               21   that could prevent me from using the Roca Labs
 22      Q. Okay. So, there's wheat question. Your          22   Gastric Bypass Alternative procedure, and I
 23    commitment to win the fight and lose weight. And     23   have read and agreed to the terms, privacy,
 24    they would be asked to enter information to a box    24   and money back reward/return policy."
 25    with the legend, "Are you truly committed to lose    25   Correct?

                                                                                           40 (Pages 157 to 160)
                                       For The Record, Inc.                                    PX6-50
                          (301) 870-8025 - www.ftrinc.net - (800) 921-5555
  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 56 of 264 PageID 8563
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  1      A. Yes.                                            1   in collecting their information anymore. From
  2      Q. So, people would have to check that box to      2   now on, just don't let them continue. Don't
  3    be able to submit their form. Correct?               3   collect information because anyway, we will
  4      A. Yes.                                            4   not sell them.
  5      Q. But people would not have to actually           5            So, we started blocking everybody
  6    click on the terms and read them in order to         6   that says, "Kidney." We put a note, "You
  7    click the box and to send it. Correct?               7   cannot continue."
  8      A. No.                                             8      Q. So, you tried to measure that approval
  9      Q. Okay. I want to back up and just ask --         9   rate in the early days you said. What time frame
 10      A. I'm sorry.                                     10   are you talking about?
 11      Q. Go ahead.                                      11      A. Whenever it is that we started with
 12      A. The answer is yes. You're asking me            12   it. It was only a period for about a week or
 13    they don't have. And I agreed with you. So,         13   something. And, then, I said, "You don't
 14    the answer is yes, I agree with you.                14   want to collect anymore data of people that
 15      Q. All right. Well, let me ask you this.          15   we will not sell to."
 16    Did the order process force a user to actually      16      Q. So, this test period of approximately one
 17    click and read the terms before they clicked, "I    17   week where you were data gathering, what year was
 18    have checked and do not have any medical reason"    18   that?
 19    box and hit submit?                                 19      A. I don't remember when we started that.
 20      A. Your question earlier was clear. I             20   But it was at least 500. Because
 21    agree with you. Earlier you said they don't         21   statistically, I need to collect at least 530
 22    have to. And I said no. Meaning I don't             22   statistically to know, to get this number.
 23    agree. I agree with you.                            23   It was more than 1,000. If we started 2013,
 24      Q. I'm not asking whether you agree with me.      24   then 2013.
 25    I'm going to ask you a yes or no question.          25      Q. When you say "if," do you recall starting

                                                    162                                                       164
  1      A. So it's a yes. It's a yes.                      1   the qualifying order form in 2013 or before that?
  2            MR. SETTLEMYER: Let's have the               2     A. I don't remember when.
  3         question read back.                             3     Q. Is there anybody within the organization
  4            (Testimony read back as requested.)          4   who would remember when or have information to
  5      A. No.                                             5   answer that question of when that began?
  6    BY MR. SETTLEMYER:                                   6     A. I need to -- no. I don't remember
  7      Q. All right. So, backing up to the third          7   when. I would say 2013.
  8    page of Exhibit 77, underneath, "This information    8     Q. Okay. And was that information still
  9    will be kept confidential and not be shared"         9   current as of late 2014 about the percentage of
 10    language, there's a statement, "53 percent are      10   approval?
 11    approved." Do you see that?                         11     A. Things like this don't change.
 12      A. Yes.                                           12     Q. But you didn't check?
 13      Q. What is the basis for the "53 percent are      13     A. No. Statistics like this normally
 14    approved" statement?                                14   doesn't change. Because the -- the size of
 15      A. At the early stages, for a period of a         15   the obese population is so large that it
 16    few days, we saw how many people are marking        16   doesn't -- it doesn't change.
 17    kidney, or wheat, or fat is unhealthy and           17     Q. And the qualify and order form --
 18    ugly. And for a few days we did it, and,            18     A. I'm sorry. One more thing that I want
 19    then, we blocked them and didn't -- we didn't       19   to say. And the 53 percent is a number that
 20    let them continue. And I saw the number.            20   I know. But the whole format here was to
 21    I saw the numbers.                                  21   discourage people from buying. Because I
 22            Because I asked my guys, "How               22   know that the brain has super ego and the
 23    many people are we losing?" And they told me,       23   ego. And I'm afraid that people buying here
 24    "We are losing about 40 something, 47               24   to buy -- the super ego is coming to buy. In
 25    percent." And I told them I'm not interested        25   other words, the doctor sent them here. I


                                                                                           41 (Pages 161 to 164)
                                      For The Record, Inc.                                     PX6-51
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  1    don't want it. I want to make sure that the              1   have been perhaps, I suppose, other things
  2    ego cooperates with them.                                2   in the box as well. There would be the
  3            I want to discourage them.                       3   formula. There would be scoops, an activator,
  4    If they weren't discouraged, then, it was                4   and flavoring package. Is that right?
  5    great.                                                   5     A. Yes. I'm laughing that you said that.
  6      Q. Let's focus a little more on the mechanics          6   Using our terms.
  7    of the qualify and order form.                           7     Q. I'm trying to be precise here. But the
  8      A. Sure.                                               8   activator is, of course, a small plastic cup with
  9      Q. Was this questionnaire, the qualify and             9   a threaded lid. Correct?
 10    order form process required for a consumer to be        10     A. Yes.
 11    able to purchase Roca Labs products?                    11     Q. Yes. All right. And instructions printed
 12      A. They couldn't even complete it. If                 12   on the outside. Correct?
 13    they would say, "I don't think fat is                   13     A. Yes.
 14    unhealthy and ugly," we would not -- they               14     Q. So, among the package inserts for someone
 15    would be kicked out. We would not collect               15   who purchased from Roca Labs would be a handout
 16    information.                                            16   like --
 17      Q. So, the answer is yes, the completion of           17     A. Yes.
 18    this form and process was required for consumers        18     Q. -- Exhibit 78. Okay. For about what
 19    to purchase. Correct?                                   19   duration? Do you recall when Exhibit 78 started
 20      A. Absolutely.                                        20   to be used in packages for Roca Labs product?
 21      Q. And that was the case from at least 2013           21     A. Almost from the very beginning. Even
 22    through 2015? Is that correct?                          22   now.
 23      A. Through now.                                       23     Q. During what time period -- that continued
 24      Q. But at least through 2015, the qualify and         24   at least through 2015?
 25    order process --                                        25     A. All the time. Even now.

                                                         166                                                      168
   1      A. Yes.                                               1     Q. So, there's a page -- the second page of
   2      Q. -- was similar to what we saw in this              2   -- I'm sorry. Let's look at the first page.
   3    exhibit?                                                3   I'm sorry. It's on the second page. Middle
   4      A. Yes.                                               4   of second page there's a heading, "Discount
   5      Q. Okay.                                              5   policy." You see that?
   6            MR. SETTLEMYER: So, I'd like to                 6     A. Yes.
   7         have the next document marked as                   7     Q. I'm going to read it to you. We believe
   8         Exhibit 78.                                        8   -- "Discount policy. We believe in our customers
   9            (Plaintiff's Exhibit No. 78 was                 9   and that word of mouth is the best promotion. We
  10    marked for identification.)                            10   are here to help you. You were given a discount
  11    BY MR. SETTLEMYER:                                     11   off the unsubsidized price of $1,580 in exchange
  12      Q. Mr. Juravin, take a look at Exhibit 78,           12   for your agreement to promote our products, and
  13    and let me know if you recognize that, please.         13   when possible, share your weight loss success
  14      A. I do recognize it.                                14   with us. (Keep the You Tube videos coming.)
  15      Q. What is exhibit 78?                               15   As part of this endorsement, you also agree
  16      A. Something that's been sent in the box             16   not to write any negative reviews about RLN or
  17    along with the -- with the formula.                    17   our products. In the event that you do not
  18      Q. Okay. So, how long was a form that                18   honor this agreement, you may owe immediately
  19    basically is shown in Exhibit 78 being used to         19   the full price of $1,580."
  20    put into packages of Roca Labs formula --              20           Mr. Juravin, how long was language
  21    strike that. Let me start over again.                  21   like that in this discount policy used in
  22            So, Exhibit 78 was sent in a                   22   handouts put into packages to purchasers of
  23    package to purchasers. Correct?                        23   Roca Labs product?
  24      A. Yes.                                              24     A. I think for a period of about -- I
  25      Q. Okay. And we'll note that there would             25   think that particular one for about nine


                                                                                              42 (Pages 165 to 168)
                                       For The Record, Inc.                                       PX6-52
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   1    months or a year. I remember because it was         1   based locally and near the warehouse, or would
   2    something I didn't like. And I said, "Let's         2   they be people working in a foreign country, for
   3    remove it." But I think we experimented with        3   example, like some of the programmers?
   4    it for like about six months. I'm not sure.         4      A. It's such a complex document. So, it
   5    You see these things are -- I go into the           5   might be tell Connie in the warehouse,
   6    Word Press and I change or whatever -- it's         6   "Change it." It might be that I say to
   7    fluid. Okay? It's fluid. So, I don't know           7   Vishal, "Remove it." Or change -- you know?
   8    how long.                                           8      Q. But it's your final decision --
   9       Q. But you think it was six months to a year.    9      A. Absolutely.
  10    Is that correct?                                   10      Q. -- as to whether it's in?
  11       A. I don't know. It's -- I'm throwing --        11      A. Absolutely. So, whether somebody
  12    I don't know.                                      12   changed it and even if you will ask Ania, she
  13       Q. Do you know who within your organization     13   will not know whether -- it will not register
  14    would know or would be able to find out that       14   in her mind, you know, a time period when
  15    information?                                       15   it's in or out.
  16       A. No. Only me.                                 16      Q. Okay. Let's move on to some other
  17       Q. Are there records within the computer        17   things. Go off the record for a moment.
  18    system that would show different iterations of     18            (Off the record from 5:41 p.m. to 5:42 p.m.)
  19    the handout?                                       19            (Plaintiff's Exhibit No. 79 was marked
  20       A. No. Because I can tell them, "You            20   for identification.)
  21    change it on your computer. You change it on       21   BY MR. SETTLEMYER:
  22    your computer. Change this one." I would           22      Q. We've had a document marked as Exhibit 79.
  23    not know how long this one -- that this one        23   Mr. Juravin, I'd like you to look at Exhibit 79.
  24    was available. If it was one month, two            24      A. I see that.
  25    years, one year. It's fluid. I can tell            25      Q. And we can ask you a few questions about

                                                    170                                                          172
   1    them, "Take it out. Take it in. Remove it."         1   it when you're done looking at it.
   2    So fluid.                                           2      A. Okay. I'm familiar with it.
   3       Q. Do you know how long the statement            3      Q. You're familiar with Exhibit 79?
   4    to the effect that negative reviews would be a      4      A. Yes.
   5    failure to honor the purchase agreement, how        5      Q. What is Exhibit 79?
   6    long language like that was in the package          6      A. Instructions.
   7    inserts?                                            7      Q. And when were these instructions shown in
   8       A. That's what you asked me. And I said          8   Exhibit 79 put into -- these were put into
   9    I think I tested it for a few months. But I         9   packages shipped to consumers. Is that right?
  10    don't know how many. If it's five, six, nine       10      A. Yes.
  11    months, or something.                              11      Q. And when would -- and specifically,
  12       Q. Okay. Thank you. And by the way,             12   purchasers of Roca Labs products. Correct?
  13    who is "them," you're talking about? Who are       13      A. Yes.
  14    you talking about specifically when you're         14      Q. And what time frame was this particular
  15    talking about these changes? Who are you           15   version of instructions for gastric bypass effect
  16    talking about?                                     16   used?
  17       A. It's -- either I change it, or I asked       17      A. I would say 2011, 2012. Very
  18    somebody, "Hey, you have the document, take        18   beginning.
  19    it out." Or somebody in the warehouse that         19      Q. Okay. And up at the top of the first
  20    needs to print them. If it's Ania, I will          20   page of Exhibit 79, there is a reference to
  21    tell her, "Ania, you see this paragraph,           21   Roca Labs USA Nutraceuticals, Paris, Florida,
  22    remove it." Something like that. But it's          22   Tokyo. Do you see that?
  23    not -- it was fluid.                               23      A. Yes.
  24       Q. And the people who would be responsible      24      Q. What presence did Roca Labs have in
  25    for making that edit, would they be typically      25   Paris in 2011 and 2012?

                                                                                            43 (Pages 169 to 172)
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  1      A. Virtual office. I think we got the                  1     Q. And that Web site was --
  2    virtual office. I think we paid -- I think               2     A. Gastric.me.
  3    we got a number. And I think maybe an                    3     Q. Gastric Bypass.me?
  4    address or something. We never used it. The              4     A. Gastric.me.
  5    idea was to look serious.                                5     Q. You think it was gastric.me? And this
  6      Q. What about Tokyo? Was there any presence            6   was live on line. Correct?
  7    in Tokyo?                                                7     A. Yes.
  8      A. Virtual office.                                     8     Q. And would search ads that Roca Labs
  9      Q. Okay.                                               9   placed lead sometimes to this site?
 10      A. Again, the idea was to look serious so             10     A. Yes.
 11    they can take it seriously.                             11     Q. Okay. And, then, the second and third
 12      Q. What do you mean look serious? To whom?            12   pages of this show pages from the -- with the
 13      A. In the entire weight reduction                     13   heading "Surgical Alternatives." Correct?
 14    business, it's important that they are                  14     A. Correct.
 15    believing in the regimen, that they believe             15     Q. And the only one discussed there is
 16    -- they need to believe in it. Part of                  16   Roca Labs. Correct?
 17    believing is looking as serious as possible.            17     A. Yes.
 18    In the beginning, we didn't have the                    18     Q. And the only -- and there's no
 19    reputation that we have today. We had to do             19   indication on here, or is there, that Roca
 20    a lot of things in the beginning to jump                20   Labs is responsible for the content of
 21    start the business.                                     21   this surgical alternatives page?
 22             Today, we have a lot of                        22     A. I didn't see any value. And I don't
 23    testimonial, endless testimonials, but we               23   think there is any value saying, "Hey, we are
 24    didn't have in the beginning.                           24   Roca Labs." Because as I mentioned earlier,
 25      Q. Let me just stop for a moment and                  25   nobody buys it as an impulse. They search

                                                      174                                                              176
   1    ask you: Were you personally responsible for            1   and they learn, and -- do you have, by
   2    the content of Exhibit 79?                              2   chance, the privacy for this site? Because I
   3      A. I'm responsible for everything.                    3   think it will say Roca Labs there for the
   4      Q. Okay. Let's do one more quickly.                   4   terms of the site.
   5    Exhibit 80.                                             5      Q. All I have in this exhibit is these pages.
   6             (Plaintiff's Exhibit No. 80 was                6      A. So, maybe in the terms. Maybe in the
   7    marked for identification.)                             7   privacy it did mention that the site belongs
   8    BY MR. SETTLEMYER:                                      8   to Roca Labs.
   9      Q. Mr. Juravin, I'm going to hand you a               9      Q. But not on these pages shown in Exhibit
  10    document marked as Exhibit 80. Please take a           10   80. Correct?
  11    look at it and let me know if you recognize it.        11      A. No. Because I wanted them to look at
  12      A. Yes, I do.                                        12   it objectively.
  13      Q. What is Exhibit 80?                               13      Q. Are you sure that the domain name
  14      A. As I mentioned earlier, my job was to             14   in which this appeared was not, at least
  15    educate and scare people about the gastric             15   as of April 2015, and the months before that
  16    bypass surgery because it's a bad thing, and           16   gastric bypass.me?
  17    I don't think the doctors are really telling           17      A. One more time.
  18    patients the truth. And I came up with the             18      Q. Gastric bypass.me.
  19    idea of let's make a site that really tells            19      A. What about the site?
  20    them the truth so we can be a viable option            20      Q. Was that the domain name in which the
  21    for them.                                              21   images and text for Exhibit 80 were shown?
  22      Q. Okay. So, this -- the images and text             22      A. I don't know. I can't tell you. I
  23    in Exhibit 80 were used on an a Roca Labs              23   can tell you that many sites that come into
  24    controlled Web site. Correct?                          24   our renewal. I just didn't want to pay the
  25      A. Yes.                                              25   money, and I let them expire.

                                                                                               44 (Pages 173 to 176)
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   1      Q. But you do agree it was a Roca Labs                1              CERTIFICATE
   2    controlled site. Correct?                               2     I, DEBRA deHAAS, a Notary Public, do hereby
   3      A. Yes. And I, also, for the most part,               3   certify that prior to the commencement of the
   4    I am responsible for the content.                       4   examination
   5      Q. Okay. Thank you. So the -- I think that            5               DON JURAVIN
   6    that's all we're going to be able to get through        6   was sworn by me to testify to the truth, the
                                                                7   whole truth and nothing but the truth.
   7    today. I'm hoping we're having a much shorter           8            I DO FURTHER CERTIFY that the
   8    day tomorrow.                                           9   foregoing is a true and accurate transcript
   9      A. Please.                                           10   of the testimony as taken stenographically by
  10      Q. I will endeavor to make that happen.              11   and before me at the time, place and on the
  11      A. Because I will make Friday --                     12   date hereinbefore set forth.
  12            MR. SETTLEMYER: Let's not go on                13            I DO FURTHER CERTIFY that I am
  13        the record about promising about                   14   neither a relative of nor employee nor
  14        Friday. Let's reserve the rest of the              15   attorney nor counsel for any of the parties to
  15        time to maybe Suzie take a few minutes,            16   the action, and that I am neither a relative
  16        look through the exhibits that have                17   nor employee of such attorney or counsel, and
  17        been released, and read off which ones             18   that I am not financially interested in the
  18        are confidential so we have a record of            19   action.
  19                                                           20
            that.
                                                               21
  20            (Off the record from 5:49 p.m. to 5:56 p.m.)   22
  21            MS. MARTENY: We want to have marked            23    Debra deHaas
  22        as confidential Exhibit Nos. 6 through                   Notary Public
  23        10, Exhibit Nos. 15 through 20, 22                 24    Commission #FF08705
  24        through 29, 33 through 39, and 75 and                    Expires: March 7, 2018
  25        76. And that should do it.                         25

                                                        178
   1           (Whereupon, at 5:57 p.m., there
   2    were no further questions propounded to this
   3    witness.)
   4
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                              Don Juravin
                                 Vol. 2



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  1                       I N D E X                                    1                  UNITED STATES DISTRICT COURT
  2                                                                                        MIDDLE DISTRICT OF FLORIDA
      WITNESS                                  PAGE NO.                2                         TAMPA DIVISION
  3                                                                    3                 CIV No. 8:15-cv-02231-MSS-TBM
       DON JURAVIN
                                                                       4
  4                                                                          FEDERAL TRADE COMMISSION,
            By Mr. Settlemyer:                   184
  5                                                                    5
  6   EXHIBITS       DESCRIPTION                PAGE NO.                                 Plaintiff,
  7     81           Amex Statement #2-21002      184                  6
        82           BOA Statement #5833          185                        vs.
  8     83           Amex Statement #2-23008      185                  7
        84           Chase Statement #8193        185                        ROCA LABS, INC., a corporation;
  9     85           Fligman Communication        189                  8     ROCA LABS NUTRACEUTICAL USA, INC.,
        86           Scripts                      189                        a corporation; MUST CURE OBESITY, CO.,
 10     87           Scripts - Roca Labs          189                        a corporation; JURAVIN INCORPORATED,
        88           Dispute to Payment Processor 198
                                                                       9
        89           Dispute to Payment Processor 198
                                                                             a corporation; ZERO CALORIE LABS, INC.,
 11
        90           King E-mail - 12-18-13       238                 10     a corporation; DON JURAVIN, individually
 12     91           King E-mail - 10-6-14        245                        and as an office of Roca Labs, Inc.,
        92           King E-mail - 10-10-14       246                 11     Roca Labs Nutraceutical USA, Inc.;
 13     93           BBB E-mail - 10/14           249                        Must Cure Obesity, Co., and Juravin,
        94           King E-mail - 7-2-15         251                 12     Incorporated; and GEORGE WHITING,
 14     95           Roca Labs Advertising        254                        individually and as an officer of Roca
        96           Blogs                        256                 13     Labs, Inc., Roca Labs Nutraceutical
 15     97           Blogs                        261                        USA, Inc., and Zero Calories Labs, Inc.,
        98           Blogs                        264                 14
 16     99           Blogs                        265                                 Defendants.
        100          Blogs                        266
        101          Blogs                        270                 15     _________________________________________/
 17
        102          Blogs                        271                 16
 18     103          Blogs                        272                                  30(b)(6) DEPOSITION OF DON JURAVIN
        104          Blogs                        275                 17
 19     105          Blogs                        277                                   Taken on Behalf of the Plaintiff
        106          Facebook Post - 9-25-14      278                 18
 20     107          Blogs - FTC-PROD-005065      279                 19           DATE TAKEN:   Thursday, February 16, 2017
        108          FTC-PROD-005072              280                 20           TIME:         9:35 A.M. - 4:58 P.M.
 21     109          Photograph                   289                 21           PLACE:        101 E. Kennedy Boulevard
        110          FTC-PROD-005903              291                                            Suite 2800
 22     111          FTC-PROD-005148              291                                            Tampa, Florida 33602
        112          FTC-PROD-005174              293                 22
 23     113          Extortion Document           295                 23
        114          ROCA-00584-85                297                      STENOGRAPHICALLY REPORTED BY:
 24     115          Hensley Production           301                 24   Tracy Lyn Fazio, FPR
        116          Hensley Production           302                      Notary Public, State of Florida
 25     117          "How to Identify FB Posts"   302                 25


                                                               181                                                                183
  1    EXHIBITS            DESCRIPTION                     PAGE NO.    1    APPEARANCES FOR THE PLAINTIFF:
  2      118               "Scott's Plan"                    305       2      CARL H. SETTLEMYER, III, ESQ.
         119               Blogs                             308              MICHAEL J. DAVIS, ESQ.
  3      120               Agora Rules                       311       3      FEDERAL TRADE COMMISSION
         121               Script                            314              600 Pennsylvania Avenue, N.W.
  4      122               Script                            316       4      Maildrop CC-10528
         123               Pissed Consumer                   317              Washington, DC 20580
         124               Coach Mgmt Version 2.0            326       5      1.202.326.2019
  5
                                                                              csettlemyer@ftc.gov
         125               Directions to Roca Staff          329
                                                                       6      mdavis@ftc.gov
  6      126               Script                            330
                                                                       7
         127               Video - FTC-PROD-004550           333            APPEARANCES FOR THE DEFENDANTS:
                                                                       8
  7      128               "Forward Money to King"           368       9      SUZETTE MARTENY, ESQ.
  8                                                                           SHUMAKER, LOOP & KENDRICK, LLP
  9                                                                   10      101 E. Kennedy Boulevard, Suite 2800
 10                                                                           Tampa, Florida 33602
 11                                                                   11      1.813.229.7600
 12                                                                           smarteny@slk-law.com
 13                                                                   12
 14                                                                   13
 15                                                                   14
 16                                                                   15
 17                                                                   16
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 20                                                                   20
 21                                                                   21
 22                                                                   22
 23                                                                   23
 24                                                                   24
 25                                                                   25


                                                                                                                  1 (Pages 180 to 183)
                                              For The Record, Inc.                                                   PX6-57
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 63 of 264 PageID 8570
                                                       Juravin
FTC v. Roca Labs, Inc., et al.                                                                         2/16/2017
                                                      184                                                        186
  1             PROCEEDINGS                                  1     note is I think 81 is AmEx statements for
  2                  ---                                     2     Juravin, Incorporated; is that correct?
  3          (Thereupon, the witness, DON JURAVIN, was       3         MS. MARTENY: That's correct.
  4      previously sworn under oath and testified as        4         MR. SETTLEMYER: And the additional
  5      follows:)                                           5     request that I have is are the Defendants
  6          MR. SETTLEMYER: Good morning. We're back        6     willing to stipulate that the expenditures
  7      on the record for the 30(b)(6) deposition of        7     shown in the AmEx statements 81 and 83 to
  8      Muscular Obesity Co., Roca Labs Nutraceutical       8     Google, Microsoft, --
  9      and Roca Labs, Inc. And with us here today is       9         THE WITNESS: Advertisers.
 10      Mr. Juravin who I understand is still the          10         MR. SETTLEMYER: -- Yahoo and Facebook are
 11      witness designated to testify about most of the    11     advertising expenditures on behalf of the Roca
 12      topics or all of the topics in the Notice of       12     Labs business?
 13      Deposition, except for those for which             13         MS. MARTENY: Yes.
 14      Mr. Whiting had overlapped yesterday.              14         THE WITNESS: Yes.
 15          Mr. Juravin, you understand that you are       15         MS. MARTENY: We will stipulate to that.
 16      still under oath; is that correct?                 16         MR. SETTLEMYER: And the Defendants are
 17          THE WITNESS: Yes.                              17     willing to stipulate to the fact that payments
 18          (Thereupon, Plaintiff's Exhibit Nos. 81-84     18     to the Bank of America account in Exhibit 82,
 19      were marked for identification.)                   19     and the Chase account in Exhibit 84 from
 20          MR. SETTLEMYER: At this point, counsel I       20     account ending 5888 are from Roca Labs
 21      believe has a stipulation to offer as to some      21     Nutraceutical and the deposit portion of those
 22      of the documents that have been marked as          22     statements?
 23      Exhibits 81 through 84.                            23         MS. MARTENY: Deposits. Is that what
 24          MS. MARTENY: Yes. Defendants will              24     you're talking about?
 25      stipulate that Exhibit 81 is a series of AmEx      25         MR. SETTLEMYER: Yes. Not all of them,

                                                      185                                                        187
  1       statements for card ending in 2-21002 covering     1     but many of them are from account checking
  2       February 19th, 2014 through January 22nd, 2015.    2     5888, and that's the Roca --
  3           Defendants are also going to stipulate         3         MS. MARTENY: Nutraceutical.
  4       that Exhibit 82 is in fact the Bank of America     4         THE WITNESS: RLN.
  5       bank statements for Juravin Inc. account number    5         MR. SETTLEMYER: RLN, yes.
  6       ending in 5833, covering March 2014 through        6         MS. MARTENY: If we stipulate that the
  7       February 2015. And that Exhibit 83 is AmEx         7     5888 number is the RLN bank account?
  8       statements for Don Juravin account ending          8         MR. SETTLEMYER: That's right.
  9       2-23008.                                           9         MS. MARTENY: Yes, we can stipulate to
 10           MR. SETTLEMYER: Is that for Don Juravin       10     that.
 11       or Juravin, Inc.?                                 11         MR. SETTLEMYER: And that further I
 12           MS. MARTENY: Juravin, Inc. Sorry.             12     believe in the last statement -- I'm sorry --
 13           THE WITNESS: Can we pause for a second?       13     in 84, maybe in 82, but I think mostly in 84
 14           MS. MARTENY: Wait, wait, wait. No. Let        14     there are payment deposits from an account
 15       me just stipulate to these things. Let me         15     ending in 7028, and those are from Muscular
 16       finish my stipulation. I'll start over.           16     Obesity, correct?
 17           Defendants will stipulate that Exhibit 83     17         THE WITNESS: Yes.
 18       is an American Express statement for Juravin,     18         MS. MARTENY: Yes, we can stipulate to
 19       Inc., account ending in 2-23008 covering          19     that.
 20       October 22nd, 2015 through September 2015.        20         MR. SETTLEMYER: We're done with those
 21           Exhibit 84 is Juravin, Incorporated Chase     21     exhibits.
 22       statement for September 2015, account ending in   22   CONTINUED DIRECT BY MR. SETTLEMYER:
 23       8193. And all of those exhibits are true and      23     Q Mr. Juravin, over the course of yesterday
 24       accurate copies of those documents.               24   and just momentarily with the stipulation, we talked
 25           MR. SETTLEMYER: Okay. And one thing I'll      25   about a variety of expenditures that were made for


                                                                                              2 (Pages 184 to 187)
                                      For The Record, Inc.                                       PX6-58
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  Case 8:15-cv-02231-MSS-CPT Document 210-8 Filed 04/26/18 Page 64 of 264 PageID 8571
                                                        Juravin
FTC v. Roca Labs, Inc., et al.                                                                            2/16/2017
                                                       188                                                         190
  1    advertising on behalf of the Roca Labs business with    1          Mr. Juravin, could you please look at
  2    Google, Yahoo, Facebook and Microsoft.                  2   Exhibits 85 and 86. I'll explain the header on
  3           Would it be correct to say that the amount       3   those reflects e-mail header information for
  4    of money spent by Roca Labs, Inc., Roca Labs            4   transmissions from Mr. Fligman to our attorney, Mike
  5    Nutraceutical and MCO between 2009 and early 2015       5   Davis. And then the line below -- the text below
  6    was more than $3.25 million?                            6   the line forwarded messages, message on 85 and 86 is
  7        A I will -- I will agree that it's more.            7   what I'd like you to focus on, please.
  8    It's definitely more. And can we please call them       8          MS. MARTENY: Let me just take a look at
  9    advertisers like we said yesterday and then             9      this.
 10    corporate Defendants.                                  10          THE WITNESS: Okay.
 11        Q We can do that. I just want to make sure         11   BY MR. SETTLEMYER:
 12    when we're talking particularly about the              12      Q So you've had a chance to look at Exhibits
 13    stipulation about line items in a bank statement       13   85 and 86?
 14    that we all have a common understanding of what        14      A Yes.
 15    those are.                                             15      Q What I want to ask is whether the text
 16        A So advertisers.                                  16   below the forwarded message line on page one through
 17        Q Right. So we'll refer to those as -- I           17   the end --
 18    will refer to the advertising platforms, Google,       18      A You're referring to 85?
 19    because I think the advertiser is who is selling       19      Q Yes, page 85. The text below the
 20    product. So I think that would be the Defendants.      20   forwarded message line on 85 represents what would
 21        A The platforms, yes.                              21   be -- would have been sent by Roca Labs, Inc. to
 22        Q So how much money have the corporate             22   purchasers when their orders were being prepared for
 23    Defendants spent to advertise through the              23   shipment in the middle part of 2011?
 24    advertising platforms between 2009 and 2015?           24      A Okay.
 25        A I will not be able to tell you that              25      Q You agree with that?

                                                       189                                                         191
  1    because -- but I will be able to tell you another       1          MS. MARTENY: Listen to the question. Do
  2    number.                                                 2       you understand the question?
  3       Q Can you give me an approximation of the            3          THE WITNESS: I understand the questions,
  4    number I've asked for?                                  4       but I don't recognize it.
  5       A No. But I will be able to tell you that            5   BY MR. SETTLEMYER:
  6    normally advertisement, the cost of advertisement is    6       Q You don't recognize the text in Exhibit
  7    roughly 35 to 40 percent of the income -- of the        7   85?
  8    revenues. Normally the advertisements in one form       8       A We sent so many messages, so many variety
  9    or another is about 35 to 40 percent. It's a big        9   of messages that if you are asking me is it possible
 10    chunk.                                                 10   that we sent it, I will say it's possible. Do I
 11       Q Would you say that it's likely that               11   recognize each one of the lines in each one of the
 12    between January of -- or between 2009 and September    12   messages? No.
 13    of 2015, corporate Defendants paid more than $5        13       Q So you're not sure then whether these
 14    million to the advertising platforms?                  14   pages represent information text that was e-mailed
 15       A I would say that it's more than                   15   to purchasers in 2011?
 16    10 million. I would estimate it at more than           16       A I recognize the flavor, not the exact
 17    30 percent definitely.                                 17   content. If somebody change few words here, like
 18       Q So more than 10 million is a likely ball          18   for example, we will never say that it's an FDA
 19    park figure?                                           19   approved facility. We don't use this language.
 20       A We live with the number of 35 percent as          20   It's very clear from day one that it's an FDA
 21    an okay number.                                        21   registered facility. And I don't think anybody on
 22       Q I'd like to have these next two documents         22   my team will ever make this mistake, because we are
 23    marked as Exhibits 85 and 86, please.                  23   very, very you know clear about it. We never will
 24          (Thereupon, Plaintiff's Exhibit Nos. 85 &        24   say FDA approved. That's why I don't recognize that
 25       86 were marked for identification.)                 25   this is my language.


                                                                                                 3 (Pages 188 to 191)
                                       For The Record, Inc.                                         PX6-59
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                                                         Juravin
FTC v. Roca Labs, Inc., et al.                                                                            2/16/2017
                                                        204                                                         206
  1        A I'm looking at 87.                                 1   motivation aside, everything else, those particular
  2        Q Okay. Flip through that. There's                   2   pieces of information are the height, weight, age,
  3    multiple pages. This is a composite exhibit. It's        3   sex and declaration typed into a Roca Labs
  4    not meant to be -- that's true of 88 and 89 as well.     4   qualification form by someone purchasing the
  5    They're different individual pages.                      5   product; is that correct?
  6        A Okay.                                              6      A Yes, but it's not this one.
  7        Q So do you recognize what the documents in          7      Q What do you mean by this one? This one
  8    Exhibit 87 are?                                          8   particular example you're pointing to, the first
  9        A I think it's an answer for a dispute               9   page of 87?
 10    originated by the customer claiming that we did an      10      A Yes. Somebody claimed that --
 11    illegal, unauthorized charge.                           11         MS. MARTENY: No, no, no. Where did you
 12        Q So this is basically communication between        12      get this information, that's what he's asking,
 13    Roca Labs, Inc. and the payment processor; is that      13      to put it in this form?
 14    correct?                                                14         THE WITNESS: By somebody who came online,
 15        A Yes.                                              15      gave a certain credit card.
 16        Q And the information that's included in the        16   BY MR. SETTLEMYER:
 17    bullet points in the middle or the top third of each    17      Q Where did this information get populated
 18    of the pages in Exhibit 87 that shows height,           18   from, the height, weight, age, sex and declaration?
 19    weight, age, sex and declaration, that's all            19      A From a qualification form.
 20    information that came from customers who input that     20      Q Okay, thank you. That's the answer to my
 21    information into the Roca Labs qualification form to    21   question. So let's go through.
 22    purchase the product; is that correct?                  22         So without regard to whatever the
 23        A Mr. Settlemyer, I told you something              23   particulars are of the dispute, that's the source of
 24    earlier, but I think you were ready with the next       24   the information in the height, weight, age, sex and
 25    question and I'm not sure that you listened to what     25   declaration?

                                                        205                                                         207
   1    I said earlier. So I would like to repeat it.           1      A But you don't know if it was the customer
   2        Q Please.                                           2   that was charged.
   3        A Okay. That's because I said something and         3           MS. MARTENY: When Carl asks the question,
   4    I meant what I said. The document that I see in         4      answer that question. But then let him ask a
   5    front of me, Exhibit 87, is a document that I was a     5      different question. You're making this very
   6    part of it, part of approving it, that was designed     6      long and complex.
   7    to show the processor that we did not commit fraud      7           THE WITNESS: But it will bite us in the
   8    of doing an unauthorized charge. So at this stage,      8      ass later if we are not clear.
   9    at this stage, the customer that you call a             9   BY MR. SETTLEMYER:
  10    customer, he says that he did not do that. So it's     10      Q Just to be clear about Exhibit 87. First
  11    not really this is not the customer. The one that      11   of all, as corporate representative, you're
  12    we charge the money does not claim that this is not    12   acknowledging I take it that the documents in
  13    him. So now we have to prove that this -- that the     13   Exhibit 87 are authentic records of Roca Labs'
  14    information we have belongs to the guy that was        14   business, correct?
  15    charged. So this is what it is. At this stage, we      15      A It looks like it.
  16    are not sure if we actually the right customer -- am   16      Q And you don't have any reason to think
  17    I explaining it correctly?                             17   that these are not, correct?
  18        Q You're not answering my question.                18      A It looks like something that we will send.
  19           MS. MARTENY: You have to listen to the          19      Q So let's look at Exhibit 88. And I just
  20        question, Don. So maybe, Carl, do you want to      20   have really the same question about 88. Just how is
  21        refresh his memory on this side of the table       21   the -- first of all, you agree that 88 are examples
  22        what the question is.                              22   again of dispute forms submitted by Roca Labs to a
  23    BY MR. SETTLEMYER:                                     23   payment processor, correct?
  24        Q So the question about 87 is particular           24      A No.
  25    pieces of information shown on those pages,            25      Q How would you characterize it?


                                                                                                  7 (Pages 204 to 207)
                                        For The Record, Inc.                                        PX6-60
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                                                         Juravin
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                                                        208                                                        210
  1        A It's us being accused of illegal activity         1       Q -- from Roca Labs? Yes.
  2    of unauthorized charging a card -- of a stolen card.    2           And the information in each of these forms
  3    We are being accused of stealing a credit card.         3   for height, weight, age, sex, but perhaps not
  4    Only then we do that. We're being accused. This is      4   declaration was populated from information entered
  5    what I'm trying to say all along. This is us being      5   into a qualification form online for Roca Labs in
  6    accused of stealing a card. This is what I tried 10     6   the purchase process; is that correct?
  7    minutes ago to explain.                                 7       A By a stranger, yes.
  8        Q Regardless of the motivation, it's still          8       Q And the declaration I'll note in No. 89
  9    generally speaking a variation of a dispute with a      9   appears to be identical in each of the pages. Do
 10    payment processor about whether or not Roca Labs       10   you see that?
 11    should receive money from the account in question,     11       A What do you mean identical?
 12    correct?                                               12       Q Go through Exhibit 89, and look at the
 13        A No. If somebody disputes, they don't get         13   middle of the page. There's the statement
 14    this form.                                             14   declarations, bulleted point. Declarations begins,
 15        Q If somebody disputes, they get a different       15   "I want to be better and healthier". And that
 16    form?                                                  16   information is the same on each page for each --
 17        A Yes.                                             17       A I see that. I see what you describe.
 18        Q So you're saying that the form used in --        18       Q Yes.
 19    let me ask this. The form shown in Exhibit 88 is a     19       A And if this is authentic, it shouldn't be
 20    communication from Roca Labs to a payment processor,   20   like this. It's wrong.
 21    correct?                                               21       Q Do you know why that would be in there,
 22        A Yes.                                             22   the same in each one?
 23        Q This communication includes height,              23       A I did the document you present to me.
 24    weight, age, sex, declaration information, correct?    24   Three options. Either it's not the real document.
 25    Yes or no?                                             25   It's fabricated. Number two, while printing it out,

                                                        209                                                        211
  1       A Yes.                                               1   somebody made a mistake with the variables. Okay.
  2       Q And that height, weight, age, sex,                 2   Sometimes there is a glitch in the variables or my
  3    declaration information shown in the pages in           3   programmers made the mistake with the variables. So
  4    Exhibit 88 was populated from information entered       4   either it's fabricated or the person that printed
  5    into a qualification form through Roca Labs; is that    5   it, something changed, or my team did a big mistake.
  6    correct?                                                6        Q So if I were to tell you that the
  7       A By a stranger.                                     7   documents in Exhibit 89 were produced by Ms. King
  8       Q By someone?                                        8   from her hard drive in a production of documents
  9       A That we have no idea who it is.                    9   responsive to our subpoena, do you have any reason
 10       Q But it was entered in by somebody not at          10   to think that would be fabricated?
 11    Roca Labs who's going through the purchase process     11        A No. If King did it, no. I would rule out
 12    steps and entering this information, correct?          12   the fabrication.
 13       A Somebody.                                         13        Q Okay.
 14       Q Somebody. Okay.                                   14        A I will rule out the fabrication and I will
 15       A Accusing us of -- and this is the place           15   still tell you that this was supposed to be a
 16    where I can explain?                                   16   variable coming from the qualification form and not
 17       Q I don't need you to explain. I'm just             17   being identical in all of them. It is wrong.
 18    trying to get information about the documents so       18        Q Thank you. And let me just go back to
 19    that we can be efficient here today.                   19   Exhibit 87, and just let me see if you agree that
 20          Exhibit 89, my question again is the same.       20   the dates shown on Exhibit 87 for those documents is
 21    The documents shown in Exhibit 89 are communications   21   from 2013 and into 2014, correct? You'll have to
 22    from Roca Labs to a payment processor, correct?        22   page through it to confirm that.
 23       A For accusing us of stealing a card.               23        A I'm sorry, one second. Earlier you asked
 24       Q Yes or no, they're communications --              24   me something about Sharon King. Sharon King doesn't
 25       A Yes.                                              25   have these documents in her hard drive.


                                                                                                8 (Pages 208 to 211)
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                                                         Juravin
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                                                       212                                                         214
  1        Q Or her e-mail. Maybe I'm misstating it.           1       Q But the answer is, yes, it's still in use?
  2        A She doesn't have it.                              2       A Yes, when being accused only of stealing a
  3        Q Well, okay, I think we're talking about           3   card.
  4    two different things. 87 has come from -- I will        4       Q Those communications include height,
  5    tell you that this is a document we received from       5   weight, age, sex information that was entered into a
  6    First Data pursuant to a CID in the investigation.      6   qualification form on the Roca Labs site; is that
  7    So I'm talking -- I was talking previously about 89,    7   correct?
  8    and also 88 have markings showing that that they        8       A At this stage for a different person. We
  9    originated from Sharon King's production just to be     9   don't know if this is the same person.
 10    clear.                                                 10       Q I'm asking about where the information is
 11        A Exactly. Because Sharon King, this is an         11   coming from and if it's being transmitted to a
 12    automated script and it doesn't exist in any e-mail.   12   payment processor. Is it in fact being taken from a
 13        Q Let's look at though at 87. I just want          13   qualification form and transmitted to the processor?
 14    to get clear. You agree that the date of those         14       A From a qualification form. From a
 15    communications shown in Exhibit 87 are from 2013 and   15   qualification form. Not from the study of that
 16    2014?                                                  16   person.
 17        A So at this stage I can tell you that it's        17       Q So the answer is yes?
 18    absolutely a computer glitch on our hand.              18       A If you tell me it's from a qualification
 19        Q You're not answering my question. You're         19   form, yes.
 20    talking about something else. Can you answer the       20       Q Do you know when the last time that type
 21    question to whether the dates for the transmissions    21   of information would be transmitted to a payment
 22    in Exhibit 87 are from 2013 and 2014?                  22   processor? Was it February 2017?
 23        A Looks right. It looks right, yes. It             23       A Possibly.
 24    looks right. I see that. It looks right.               24          MR. SETTLEMYER: I think we're done with
 25        Q So, yes, you think that is the correct           25       these for now. Let's take a quick break and I

                                                       213                                                         215
  1    date range to characterize what's in Exhibit 87?        1      can get some more exhibits ready and we can go
  2       A Yes.                                               2      to some more questions.
  3       Q Let's look at Exhibit 88. Would you agree          3          (A brief recess.)
  4    that the dates --                                       4   BY MR. SETTLEMYER:
  5           MR. DAVIS: Excuse me. I think we're on           5      Q Mr. Juravin, let's talk just for a minute
  6       88.                                                  6   about some additional people we understand have done
  7    BY MR. SETTLEMYER:                                      7   work for Roca Labs over the years. I want to very
  8       Q We're turning to 88, correct.                      8   briefly just get confirmation from a company's
  9           Would you agree that the dates for the           9   perspective, these people did in fact do work for
 10    document shown in Exhibit 88 are in 2014,              10   the company and talk a little bit about what their
 11    November 15, 2014 and April 21, 2015?                  11   duties were.
 12       A It looks right because we probably use the        12          So Sharon Hensley, also known as Roxy, is
 13    same format all the way till now.                      13   someone who Roca Labs and then Muscular Obesity paid
 14       Q And then let's look at Exhibit 89. Would          14   to do work for the company; is that right?
 15    you agree that the dates on the documents shown in     15      A Yes.
 16    Exhibit 89 are from December 2015 through August 17,   16      Q She was a success coach and/or manager of
 17    2016?                                                  17   success coaches at various times; is that correct?
 18       A It looks right.                                   18      A Yes.
 19       Q Is Roca Labs or Muscular Obesity,                 19      Q And Ross Finesmith, he is someone whom --
 20    whichever operating entity controls this process at    20      A Dr. Finesmith.
 21    this point still using the same template for           21      Q Dr. Ross Finesmith, he was an individual
 22    communications with payment processors in the          22   who was paid by Roca Labs and paid through Zero
 23    situations you describe?                               23   Calorie Labs at times to perform work for the Roca
 24       A Only when somebody accuses us of stealing         24   Labs business, correct?
 25    their card.                                            25      A Yes. I'm laughing because at this stage I


                                                                                                 9 (Pages 212 to 215)
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  1    photographer to their city, and it will be between     1   many years ago who is also an accountant.
  2    the photographer and the person. Sharon King or        2   Marcovich, Ronen Marcovich is an accountant from
  3    Roxy, their job is just to make sure that the          3   Israel, a friend many, many, many years ago. Far
  4    success story is not shy. So that's why they will      4   from being a photographer.
  5    ask to rehearse. But their success story will say      5       Q You don't think he did any sort of video
  6    whatever they want. It's not something that I will     6   work for Roca Labs?
  7    approve, disapprove or even see till such time that    7       A Who?
  8    the video is already done. When the video is done,     8       Q Ronen.
  9    sometimes I say, I want this part instead of this      9       A Number one, I didn't talk to him for six
 10    part. From the raw footage I might decide, but it     10   years, seven years. I have no idea how many years.
 11    seldomly happens. Normally Jenna will do it or --     11   Number two, I don't know if he knows even what a
 12       Q So in terms of the professional                  12   video looks like. He's a numbers guy.
 13    testimonials, professionally produced testimonials,   13       Q Let's switch gears a little bit. In terms
 14    did Carla DaSilva create one of those?                14   of the adopted videos, correct me if I'm
 15        A No.                                             15   mischaraterizing this, but you're saying that if
 16       Q What did Carla DaSilva create, if you            16   there were videos that someone put on the web that
 17    know?                                                 17   were you're saying not solicited by Roca Labs?
 18        A If she created something, it will be            18       A Nothing solicited by -- nothing is -- if I
 19    either the sporadic or the adopted. If it exists on   19   see -- okay. The way that it works is like this.
 20    the Roca Labs reviews, then it's adopted.             20   Sharon King sends me a link.
 21       Q In terms of the professional videos in           21       Q Yes.
 22    addition to paying for the videographer and so        22       A And says, look at this, I like it. And I
 23    forth, Roca Labs also paid for someone to digitally   23   say, nice, upload it to Roca Labs reviews.
 24    edit the footage; is that correct?                    24       Q So there's no interaction with the actual
 25        A The photographer will do it.                    25   testimonialist up front, right?

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   1       Q But there's some individual employed to          1      A Not just that. We sometimes don't know
   2    edit that footage, right?                             2   who it is. When I say I don't know what it is, it
   3       A The photographer.                                3   means I cannot match between the name of the YouTube
   4       Q Okay.                                            4   to our record that we have.
   5       A And there are three -- two or three and I        5      Q Understood. Okay.
   6    can give you their names.                             6          So with the -- there's another category of
   7       Q Okay.                                            7   videos, however, that sound like they're
   8       A Sharon King will know. We have only two.         8   testimonials, but in fact there were videos that
   9           MR. DAVIS: Could we go off the record for      9   featured actors paid by Roca Labs, correct?
  10       a moment while you think of those names.          10      A Let's talk about them.
  11           THE WITNESS: Sure.                            11      Q Well, correct? Yes or no?
  12           MR. DAVIS: Thank you.                         12      A In the very, very early time we jump
  13           (A brief recess.)                             13   started with three of them, two or three of them
  14           MR. SETTLEMYER: Back on the record.           14   that were absolutely -- no, I'll say differently.
  15           THE WITNESS: I remember that Brad is the      15   They haven't even seen the regimen. They did not
  16       name for one of them. So Brad will go there       16   just try, they haven't seen it even. Okay. They
  17       and Brad will do the job of making them feel      17   didn't see the regimen. I wrote the entire script.
  18       comfortable in front of the camera saying         18   And in the beginning I said to Sharon, we need to
  19       whatever. And Brad is one and we have another     19   start with testimonials. Sharon said, I have a hard
  20       young guy. I forgot his name for a second.        20   time starting finding people to do it. I said, let
  21    BY MR. SETTLEMYER:                                   21   me be creative and let me hire people to do it.
  22       Q Ronen Marcovich?                                22   These people never seen the regimen, never tried it.
  23       A Say again.                                      23   They followed my script. We tried it for a month or
  24       Q Ronen Marcovich.                                24   two. We got the real ones and we dropped them.
  25       A Ronen is a friend from Israel for many,         25      Q These were paid actors to read the words


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  1    information that deals with frequently asked            1       Q Kind of tell their story. Meaning they
  2    questions for example?                                  2   being customers that the Customer Service people had
  3        A It will send them to the FAQ page.                3   dealt with?
  4        Q Of the website?                                   4       A Yes.
  5        A Yes.                                              5       Q So the Customer Service people were not
  6        Q But it's not a distinct set of answers            6   telling their own stories in the forum post,
  7    within the hub. It's a cross reference to the Roca      7   correct?
  8    Labs website, correct?                                  8       A You could -- yeah.
  9        A Yes. It's very different than what you            9       Q Let's look at some exhibits here. I'm
 10    guys are used to of kissing the ass of the customer,   10   going to have -- well, I've had marked as Exhibits
 11    being nice to the customer. We don't do that. Mine     11   90 through 94 some documents I am going to hand you,
 12    is a boot camp.                                        12   and would like you to review and we'll talk about
 13            MR. SETTLEMYER: We'll get into that            13   them in a moment.
 14        later. But let's move along to some exhibits.      14          (Thereupon, Plaintiff's Exhibit Nos. 90
 15        Can we go off the record for just 10 seconds.      15       through 94 were marked for identification.)
 16            (A brief recess.)                              16       A They were never asked to create a story,
 17    BY MR. SETTLEMYER:                                     17   but to represent what they heard from others.
 18        Q Mr. Juravin, we were talking about a             18       Q Mr. Juravin, look at Exhibit No. 90.
 19    variety of things, but I wanted to make sure that we   19       A Okay.
 20    didn't lose in the conversation some questions I had   20       Q Which is the e-mail from Sharon King to
 21    about Charmaine Novelo. Now Charmaine Novelo I         21   Sharon Hensley dated December 18, 2013. Do you see
 22    think you said worked for Roca Labs for a while.       22   that?
 23    Was she a nurse?                                       23       A Yes.
 24        A Most of them are.                                24       Q And do you see the subject is "blogs to
 25        Q What would the nurses in particular do           25   promote"?

                                                       237                                                         239
  1    with respect to customers or respective customers?      1       A Yes.
  2        A They will not really exercise their               2       Q So Sharon King writes to Sharon Hensley
  3    nursing. It's just that I thought it's worth paying     3   who's known as Roxy. "Roxy, have the team comment
  4    a little bit more and have somebody more                4   on these blogs and keep them promoting on good
  5    responsible.                                            5   YouTube videos." Do you see that?
  6        Q In terms of Charmaine Novelo's activities         6       A Yes.
  7    in particular, did she comment on blogs and forum       7       Q Does that reflect your instructions?
  8    posts?                                                  8       A Yes.
  9        A I don't remember Charmaine. Charmaine or          9       Q So the blogs listed in Exhibit No. 90,
 10    anybody else were all the same. There's nothing in     10   let's just start with the first one.
 11    particular about Charmaine. I don't even know who      11   Gastricbypassalternative.wordpress.com.
 12    she is. She's just one of the guys from the            12       A I will not recognize any one of them.
 13    Philippines that were Customer Service. There's        13       Q Do you know if that's a blog that Roca
 14    nothing in particular about her that's different       14   Labs paid to have someone create?
 15    than the others.                                       15       A I will not recognize. Because if I would
 16        Q Was Charmaine Novelo and the others, were        16   have recognized them, I would be very proud of them
 17    they paid to put comments on blog posts and            17   because I was absolutely not successful with any SEO
 18    websites?                                              18   that I did. So I'm not familiar with them, but I
 19        A I think that at a certain point I                19   definitely wanted to promote anything positive.
 20    suggested to Sharon King that she should instruct      20       Q Let me ask you this. Did Roca Labs pay to
 21    the Customer Service people that when they have a      21   have anyone create blogs?
 22    down time, they should go to posts, and think about    22       A I cannot recall a situation that we
 23    customers that they helped with success people that    23   paid -- I can tell you that if I would have found
 24    they worked with and kind of tell their story on the   24   somebody that could invest the time in one of the
 25    other blogs.                                           25   success stories, and I could have him create a blog,


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  1    this?                                                  1       A We were extremely frustrated with the BBB
  2        A I'm sorry. I think I want to explain what        2   not reflecting the truth about the company.
  3    I think that she meant here.                           3   Actually, distorting the truth about the company.
  4        Q In particular, what do you mean?                 4       Q What did you want specifically Roxy and
  5        A What Sharon King meant. She meant                5   Sharon King to do here?
  6    comment. In other words, this was negative ones        6       A I learned that there is possibility in BBB
  7    probably that we wanted to tell customers in           7   for customers to also say something positive. I
  8    comment, look, the results are positive. So it         8   jumped on the opportunity and I asked Sharon to
  9    doesn't mean to make them -- it means -- just to       9   coordinate that customers with positive experience
 10    place good comments on the negative.                  10   will be posting their positive experience on the
 11        Q So it may be the case that for some of          11   BBB, whatever it is. Just put their positive
 12    these, you're not saying one way or the other         12   experience there.
 13    whether for sure they were or were not created by     13       Q Let's look at Exhibit No. 92.
 14    Roca Labs, but that this e-mail was simply an         14       A So I definitely remember that.
 15    instruction to comment on those blogs, whatever the   15       Q Exhibit 92 is an e-mail from Sharon King
 16    origin; is that right?                                16   to Sharon Hensley, October 10, 2014, and the subject
 17        A And probably positively comment. Like,          17   is FB ads to respond on.
 18    hey, look on YouTube and stuff. But even that it      18       A Just one second. Okay. You want me to
 19    would be a mistake to do, because it would promote    19   look at 92?
 20    the bad blog. It seems to me that these are bad       20       Q 92, that's correct, yes.
 21    blogs excluding one maybe.                            21       A Okay.
 22        Q So you would then say you wouldn't be           22       Q Do you recall what this e-mail is about?
 23    giving instructions to have them comment on a blog    23       A I cannot recall any e-mail. But if I know
 24    that's negative?                                      24   what it's about? If I know what is it about. No.
 25        A Maybe if I was stupid, I would ask Sharon       25   Maybe -- probably just again to -- I don't know what

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  1    to place positive comments. Positive by the way        1   this one is. But I wouldn't be surprised if it's
  2    means referring them to a good YouTube. It's not       2   something like Sharon asking Roxy to look at the
  3    writing how great the product is. Referring them to    3   recent positive comments and see if she identifies
  4    a good YouTube. But even that would be stupid,         4   other customers of ours or get, what do you call it,
  5    because it would promote the entire blog.              5   encouraged by it or -- I don't know.
  6       Q Well, the people who were commenting on           6      Q So do you think this would be a request to
  7    these blogs for Roca Labs, were they instructed to     7   have Sharon Hensley comment on links to Roca Labs
  8    disclose their association with Roca Labs when they    8   Facebook ads?
  9    made comments on these blogs?                          9       A Might be. It might be.
 10        A I don't know, but probably the answer is        10      Q Okay.
 11    no.                                                   11       A And I wouldn't be surprised if that's
 12       Q Let's move on to Exhibit No. 91. That's          12   something -- again, we were so frustrated with the
 13    an e-mail from Sharon King to Sharon Hensley dated    13   unfairness that Google presents our results, that I
 14    October 6, 2014, with the subject line, "BBB          14   not once, not twice, not three times asked the team,
 15    positive comments". Do you see that one?              15   do whatever you can to present the truth to give the
 16        A Yes.                                            16   truth more representation.
 17       Q Do you see it says, "This is the place we        17      Q By your team, explain what you mean by
 18    discussed last night on phone with Don to share       18   that just generally. Who are you talking about?
 19    positive about Roca Labs." Do you see that?           19       A Roxy had the people -- Roxy had the
 20        A Yes.                                            20   coaches that worked for her.
 21       Q Do you recall that discussion?                   21      Q So you're talking about mostly the
 22        A Yes.                                            22   coaches? Is there anybody else?
 23       Q What was happening here for -- what were         23       A The coaches and then the support team, the
 24    the instructions that they were talking about in      24   Philippines.
 25    Exhibit 91?                                           25      Q So the Philippines team is what you


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  1    referred to as people like Charmaine Novelo and         1       A Paid for what?
  2    others?                                                 2       Q Being paid and on the payroll generally
  3       A Many others, yes. And I want to explain            3   speaking of Roca Labs when they were leaving these
  4    what I mean positive comments.                          4   comments.
  5       Q Yes, please.                                       5       A Were they paid success coaches?
  6       A This is the way I told Sharon to tell              6       Q I'm just asking were the people whose
  7    them. I said, look at real people that have great       7   comments were posted to the BBB individuals who were
  8    success. We cannot ask them to go and post things.      8   in any way being compensated by Roca Labs?
  9    So look at what they say, watch the video, pick up      9       A I don't know if they were compensated.
 10    on something that they have experienced, and           10   They must be real people that have real experience
 11    represent whatever it is that they felt representing   11   with the regimen. If I look at Tina, I don't know
 12    your comments.                                         12   if it was before or after, but I think Tina is
 13       Q Were any instructions given to your team          13   somebody that had great success with the regimen.
 14    about whether or not to disclose in these posts that   14       Q You're talking about Tina Midgley whose
 15    the posting person was affiliated with Roca Labs in    15   remark is on page 2324.
 16    some way?                                              16       A Yes. Tina, the reason I remember her,
 17       A No, because it was representing a real            17   because she helped me with the English. So Tina, I
 18    customer with a real video with the real statements.   18   don't know if she wrote it before being hired or
 19    So if a customer says, I've lost 30 pounds in 30       19   after being hired, but she had real experience.
 20    days. So what they will do, I think I even asked       20   Nobody here -- there was nobody that didn't have
 21    them to do it, is to go on the blog, and say, I've     21   real, real experience with their regimen.
 22    lost -- not I -- or Johnnie lost 38 pounds in 38       22       Q Roger Morillo, he's somebody else who was
 23    days and this is his story, and give a link to the     23   compensated at a certain point in time anyway by
 24    video so they can see the rest. So there was no        24   Roca Labs?
 25    need to say, I'm from Roca Labs and Johnnie lost       25       A He's a real customer. All of them are

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  1    38 pounds. They just probably were asked to do          1   real.
  2    Johnnie lost 38 pounds in 30 days and this is his       2      Q I'm not questioning whether he was a real
  3    story, and refer him to the video. Because out of       3   customer. I'm asking at a certain point he was a
  4    the blue just saying, I lost 38 pounds, it's            4   paid -- he was being paid for his work for Roca
  5    nothing. It means nothing.                              5   Labs; is that right?
  6       Q Let's look at Exhibit 93, please. Are you          6      A Yes.
  7    familiar with Exhibit 93?                               7      Q So let's look at Exhibit 94 now.
  8       A Yes. Not with the exhibit, but with the            8      A Which doesn't change his story.
  9    whole project of BBB positive.                          9      Q My question isn't about that. I'm just
 10       Q So this is a series of e-mails it looks           10   trying to get some basic facts about who is
 11    like, and correct me if I'm mischaraterizing this,     11   responsible for these posts here and their
 12    but from the BBB to I believe it would be Sharon       12   relationship with the company.
 13    King among others at Roca Labs from late October of    13         Exhibit 94, Sharon King, July 2, 2015
 14    2014. Does that look right?                            14   e-mail to Sharon Hensley, subject, BBB compliments.
 15           MS. MARTENY: Look at it.                        15   Do you see this e-mail?
 16           THE WITNESS: It looks, yes.                     16      A Yes.
 17    BY MR. SETTLEMYER:                                     17      Q Are you familiar with what's being
 18       Q What is going on in these e-mails? What's         18   discussed in this e-mail?
 19    being brought to the company's attention here?         19      A "Please have your success coaches along
 20       A The project of me asking Sharon King to           20   with the Denise, Sam, etc. and whoever else you can
 21    find as many successful people and requesting them     21   get write a good review on the site."
 22    to contact the BBB and tell their story to the BBB     22          Sounds like something that I would even
 23    directly.                                              23   discuss with Sharon.
 24       Q Were some of these people who were                24      Q Was that task in fact carried out as far
 25    contacting the BBB directly being paid by Roca Labs?   25   as you know?


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  1    where they came from in case anybody wants to keep      1   Sharon King supervised the creation of blogs or
  2    track of this and pull up from your own copy of our     2   comments on blogs like this without you personally
  3    production. 107 is FTC-PROD-005065. 108 is same         3   being aware of the specific URL is what you're
  4    sequence, 5072. 109 is a photograph we pulled from      4   saying?
  5    the 26-Gigabyte production that we got about a month    5        A Possible. But the way that it would work
  6    ago at this point from Roca Labs.                       6   is that I will say, Sharon, there is a good blog
  7       A Okay.                                              7   that I saw. Okay. Normally Sharon will see things
  8       Q 110 is FTC-PROD-005093. 111, 5148. And             8   on her own. But we were both very frustrated that
  9    112 is 5174.                                            9   the Google search did not reflect the true success
 10           I want to draw your attention to the            10   of the company and the people that use the regimen.
 11    second page of Exhibit 107. Do you see the comments    11   So we tried to do everything we can. It's possible
 12    by someone whose name is Mae Olevon, O-L-E-V-O-N?      12   that I told her, Sharon, identify good blogs and try
 13       A Okay.                                             13   to help us promote them to the top. And Sharon will
 14       Q You see there's multiple comments on those        14   do everything that she needs to do. Whatever it is
 15    pages of comments going through the end of that        15   that she can. But at no time we will tell people
 16    document by Mae Olevon, correct?                       16   what to write. The only thing that we will tell
 17       A Okay.                                             17   people, say from your personal experience. And if
 18       Q Is this Charmaine Novelo using her last           18   it's somebody from the Philippines, then we will
 19    name spelled backwards commenting on this blog?        19   tell them, you watch a video and you be like a mouth
 20       A I have no idea. I have never seen it. I           20   for that person. So you watch a video of somebody
 21    have no idea what these people and what username       21   saying, I went to the gym and I also used Roca Labs,
 22    they are using. They don't register with us. I         22   and I lost so and so much. You take only that and
 23    don't know if somebody did it private time, working    23   you can place it as a comment. But don't create on
 24    time; when they did; what's the benefit. I don't       24   your own anything.
 25    know who is reading even these little comments. Why    25        Q Let's move on to Exhibit No. 108. Do you

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  1    would people comment here? No idea what's the           1   recognize the?
  2    benefit to the company even. No idea. No idea. No       2       A I want to be clear on something.
  3    idea.                                                   3       Q Sure.
  4        Q So let's look at the last page, second to         4       A Very clear. If Sharon did something and
  5    last page of Exhibit 107. You see there's a comment     5   she did it because she believed that this is my
  6    by someone named Alessandra Ricci Novelo?               6   instructions, I'm responsible as if I did it. If I
  7        A Okay.                                             7   tell you, I recognize, I don't recognize. Even if I
  8        Q Is that somebody who worked for Roca Labs?        8   don't recognize, I am still responsible for it as if
  9        A No idea. I don't recognize the name.              9   I instructed. Because Sharon was not a crazy person
 10        Q If that name shows up in bank statements         10   going off and doing things on her own. Not that I
 11    of Zero Calorie Labs, will that refresh your           11   know of. For the six years she's responsible. And
 12    recollection?                                          12   if she did something it's because she understood
 13        A Maybe. But right now when I look at it,          13   that this is what I'm asking for or because she
 14    as hard as I'm trying to look to recognize, I don't.   14   thought that this is the right thing to do. I'm
 15    If you show me that it was paid, I might not still     15   still responsible for it.
 16    remember. Because the way that it works, the end of    16       Q Let me ask you just generally about one of
 17    the month Sharon King says, these are the people       17   the ways that Roca Labs would operate internally.
 18    that you paid. This is how much you transfer. I        18   My understanding from other depositions is that Roca
 19    said, okay, and I pay. The fact that I don't           19   Labs has used a time tracking and screen shot saving
 20    recognize them does not mean that they did not work    20   program called Hubstaff. Are you familiar with
 21    or do something on behalf of Roca Labs. If I don't     21   Hubstaff?
 22    recognize doesn't mean that somebody -- that this      22       A Yes. But not really -- I told them that
 23    person did not --                                      23   there is a time tracking, but it wasn't really. I
 24        Q So it's possible then that as part of            24   didn't want to pay for it, because I never looked at
 25    general activities of the company, someone else like   25   them.


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  1    work named Bri.                                         1   150 milligrams per DL from my previous. I also
  2            MS. MARTENY: Wait, wait, wait, wait.            2   incorporated jogging as my form of exercise to aid
  3    BY MR. SETTLEMYER:                                      3   me on my weight loss journey." Do you see that?
  4        Q You're looking at still at 110, and               4        A Yes.
  5    someone has used the name I think Bri, B-R-I.           5       Q Now there's Dr. Ross Finesmith who is
  6        A We had somebody who lost 250 pounds.              6   working with Roca Labs in 2012, correct? Yes?
  7        Q I know who Bri is; the success coach.             7        A Yes.
  8            MS. MARTENY: Wait till he asks the              8       Q And there is also --
  9        questions and then answer them so we can speed      9        A There is Dr. Finesmith.
 10        this up.                                           10       Q So does this suggest to you that somebody
 11            THE WITNESS: Fine.                             11   associated with Roca Labs wrote that comment?
 12    BY MR. SETTLEMYER:                                     12        A No. It suggests to me that somebody that
 13        Q Do you recognize Exhibit 111?                    13   knows of Roca Labs that may be if somebody wanted to
 14        A First time in my life that I see it.             14   hurt Roca Labs, somebody might write something.
 15        Q So that's a no. And you don't recognize          15   But, again, if I did it, it's a person of Roca -- if
 16    then perhaps on page two there is another comment      16   it's a real person associated with Roca Labs, the
 17    from someone using the name Mae Olevon discussing      17   rules were very simple. You cannot write things on
 18    their weight loss with Roca Labs?                      18   your own unless you experienced it. And the
 19        A But once again it might be that Mae worked       19   Philippines never experienced Roca Labs. The only
 20    for us. And it might be that her instructions were     20   thing they could do is listen to a video, a real
 21    at downtime, go and write something positive           21   video, and then they can say something exactly the
 22    referring to Roca Labs, and she did it. So the fact    22   same thing as the other person said. They can just
 23    that I don't recognize it doesn't mean that it's not   23   give them a voice. They cannot create something
 24    a person, you know. But I can tell you another         24   from nothing?
 25    thing. Okay. And I'm telling you, you will miss        25           MR. SETTLEMYER: Okay. I think we covered

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  1    me, a guy like me everywhere because I'm                1      that. I think we're done with these exhibits
  2    volunteering a lot of information.                      2      for now. We can take a quick break and I can
  3           This is wrong if she wrote "I lost". I           3      get to maybe hoping a near the end-ish chunk of
  4    don't know of any Philippine worker that tried the      4      exhibits.
  5    product aside from Marg, I think. If not Marg, no       5         (A brief recess.)
  6    Philippine person used the regimen and no Philippine    6         (Thereupon, Plaintiff's Exhibit No. 113
  7    person was allowed to say words like as if they used    7      was marked for identification.)
  8    it.                                                     8   BY MR. SETTLEMYER:
  9        Q Let's move to Exhibit 112.                        9      Q We've had some additional documents marked
 10           MS. MARTENY: Don, can you please just           10   as exhibits. Mr. Juravin, I'd like you to look at
 11        answer the question.                               11   Exhibit 113, and tell me if you recognize Exhibit
 12           THE WITNESS: Yes.                               12   113, please.
 13    BY MR. SETTLEMYER:                                     13      A Yes.
 14        Q Do you recognize Exhibit 112?                    14      Q What is Exhibit 113?
 15        A First time in my life that I see it.             15      A It's a document that one of the attorneys
 16        Q This has mybariatricsurgery.com as a             16   wrote to us -- wrote for us long, long ago about
 17    domain name. Page three of this document, again,       17   people that are trying to extort us.
 18    there's another comment by Mae Olevon dated July 16,   18      Q What would be done with this document?
 19    2012 talking about Roca Labs. Do you see that one?     19      A If somebody is trying to extort or
 20        A I see it, yes.                                   20   slander, we will inform them about the law.
 21        Q And it says, "I am using the Roca Labs           21      Q When did this document come into use by
 22    formula, too, since my Dr. Ross told me that I have    22   the company?
 23    to lose weight to help me manage my diabetes. And      23      A When somebody is trying to extort or
 24    so with the Roca Labs formula, I lost 30 pounds in     24   threatens with slander.
 25    three months and my blood sugar levels went down to    25      Q That's not what I mean. I mean,


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  1    chronologically in terms of what year was this first    1       A If somebody will ask for money or money
  2    being used?                                             2   equivalent or any favor in return for not doing
  3        A I remember this document for a long time.         3   something that they're legally supposed to do,
  4    I don't know exactly when.                              4   that's an extortion. In other words, if somebody
  5        Q So several years would you agree?                 5   will say, if you don't give me refund on my money.
  6        A Possible.                                         6   If you don't -- for example, I don't want to make a
  7        Q Is it still in use?                               7   payment. And if I have to make the payment, I will
  8        A Yes.                                              8   report to the BBB. That's an extortion. Because if
  9        Q When was the last time this was used?             9   they need to report something to any authority, they
 10        A Maybe I used it even -- maybe I even used        10   need to do it regardless of money or not money.
 11    it I remember a few months ago.                        11   They cannot ask us for money in return to not
 12        Q So this is a current -- do other people          12   reporting. They need to do it anyways. If somebody
 13    have access to be able to use this document?           13   says, if you don't give me -- if you don't send
 14        A Yes.                                             14   it -- asking some benefit or I will write negative
 15        Q Who else has access to be able to send           15   about you, that's also that's a slander. So we just
 16    this document?                                         16   want to scare them enough so they will not get into
 17        A It's not access to it. It's like if they         17   a situation of -- just for them to learn about the
 18    copied it from other documents, they will have         18   law. And they can learn about what we said about
 19    access.                                                19   the paragraph, and they can say, I still want to do
 20        Q But who?                                         20   it. But we -- I learned -- I learned that a lot of
 21        A Right now?                                       21   customers, if I would give them something like this,
 22        Q Yes.                                             22   it either calms them down or it makes them learn the
 23        A Priscilla.                                       23   law. And if they learn the law and they said
 24        Q Who's Priscilla?                                 24   whatever we got is nonsense, and we still want to
 25        A Priscilla is the woman that is responsible       25   write everything negative and we want to ask for the

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  1    for support.                                            1   money and everything, go ahead and do it. I just
  2        Q What's her full name?                             2   want to slow them before they do something that I
  3        A Priscilla Cucuta, C-U-C-U-T-A.                    3   will have to respond with a lawsuit because they did
  4        Q She was responsible for support you're            4   slander and defamation and so on. So this is my way
  5    saying?                                                 5   of like, calm down, read it, and think if you want
  6        A Yes.                                              6   to continue. And if they want to continue, that's
  7        Q She works under your supervision, correct?        7   fine.
  8        A Yes.                                              8          (Thereupon, Plaintiff's Exhibit No. 114
  9        Q Would she be authorized to use language           9       was marked for identification.)
 10    like what's shown in 113 without your authorization?   10       Q Let's look at an exhibit that's been
 11        A That would be a saved answer that we             11   marked as 114. Tell me if you recognize Exhibit
 12    will -- that the attorneys then, I don't remember      12   114.
 13    which one of them, told us that if somebody is         13       A What year is it? It doesn't matter. I
 14    trying to extort, this is the language we should       14   just wondered. It doesn't matter. I just wondered.
 15    use.                                                   15   No, I don't personally recognize it.
 16        Q Let's look at Exhibit 114.                       16       Q Do you recognize the language going from
 17        A Only, only for extortion. Nothing -- only        17   the pages marked Roca-00584 through 85. The first
 18    for extortion. And we have a very clear definition     18   two pages of the document as being an example of the
 19    of what extortion is.                                  19   language in Exhibit 113.
 20        Q What do you mean by extortion? As you're         20       A Yes.
 21    sitting here today and you use the word extortion,     21       Q And this Exhibit 114 was directed to Alice
 22    what do you mean specifically?                         22   Cinotto, also known as Dusty King. Do you see that?
 23        A Extortion and slander.                           23       A Okay.
 24        Q Let's take extortion first. What do you          24       Q On the first page?
 25    mean by extortion?                                     25       A Okay, Dusty. Okay.


                                                                                               30 (Pages 296 to 299)
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                                                        Juravin
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  1    the Vimeo service that are set for private, but         1      we asked them to stop archive because something
  2    still stored there?                                     2      would be said. I don't remember why.
  3        A Trick question. You promised no trick             3   BY MR. SETTLEMYER:
  4    questions.                                              4      Q Did you in addition to asking them to stop
  5        Q I'm hoping it's not a trick question. I           5   archiving, was there also a takedown notice to
  6    want to know whether the Vimeo videos are presently     6   remove content from the archive.org website from
  7    stored.                                                 7   being able to be displayed publicly?
  8        A Number, one, I don't know. Number two,            8      A One more time.
  9    let me try and know. It was a paid account with         9          MR. SETTLEMYER: Can we have the question
 10    certain storage amount. I stopped paying them. And     10      read back, please.
 11    I stopped accessing the account and we are not using   11          (Thereupon, the previous question was read
 12    the account. So I will have to find the password to    12      back.)
 13    log in and see if they delete it because I don't pay   13          THE WITNESS: I don't know. You need to
 14    or maybe it's still within the free account and it's   14      try and go on the website and see.
 15    still there. But whether or not it's the same          15   BY MR. SETTLEMYER:
 16    duplication of the YouTube. It's no different.         16      Q I think we've asked for it and I would
 17    They don't have --                                     17   like to get the communications that were sent to
 18        Q So it's just a different service platform        18   Internet Archive, and we can disambiguate --
 19    to provide the videos. It was not different            19      A Permission to help you again?
 20    content?                                               20          MS. MARTENY: Wait. No, no, no.
 21        A Because we try to have it on the search,         21          MR. SETTLEMYER: You don't need to.
 22    on the Google search maybe to show page one, page      22          THE WITNESS: I think I need to really.
 23    three like Google would.                               23          MR. SETTLEMYER: If it affects the truth
 24        Q So the answer is those videos are                24      of your testimony --
 25    preserved on YouTube set for private I believe?        25          THE WITNESS: Yes, it is affecting. Is

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  1        A Almost for sure. And on Vimeo, I just             1      there any help that doesn't affect the truth?
  2    told them I don't want to pay the amount.               2           MR. SETTLEMYER: I don't want to --
  3        Q Did Roca Labs since the lawsuit by the FTC        3           THE WITNESS: You guys will be sorry later
  4    was filed communicate with the Internet Archive to      4      if you don't let me --
  5    ask them or instruct them to take down any content?     5           MR. SETTLEMYER: If you need to clarify
  6        A What is internet archive?                         6      your testimony, please do.
  7        Q Wayback Machine, archive.org?                     7           THE WITNESS: We are using now -- because
  8        A Number one, no. Number two, you don't             8      the Roca Labs name is so damaged, I think we
  9    instruct them to remove it. You instruct them to        9      told you in the past that I'm trying to build a
 10    stop archiving. Number three, it was done because      10      brand new name, and we are working on the site
 11    of this consumer. Paul Berger advised to do it and     11      gastric.care. So when people go to Roca Labs
 12    we did it. I don't remember why and how. But I         12      and click rocalabs.com/FAQ, it will take you to
 13    think it was done whenever it is --                    13      gastric.care.
 14           MS. MARTENY: If it's attorney/client            14   BY MR. SETTLEMYER:
 15        privilege.                                         15      Q So that's a newer development?
 16    BY MR. SETTLEMYER:                                     16      A It's a few months old, a couple of months
 17        Q Yeah, don't tell me what the instruction         17   old. So you can see on the machine, whatever you
 18    was. But if Mr. Berger had a communication with        18   call it, the back machine, you can see on that
 19    Internet Archive, you can talk about what his          19   Michael Fox machine the history maybe.
 20    communication to them would have been I think.         20      Q Do you mean the Wayback Machine? You said
 21           MS. MARTENY: Yes.                               21   Michael Fox machine.
 22           MR. SETTLEMYER: Yes. Okay.                      22      A Because of the movie.
 23           THE WITNESS: Okay. So we didn't do              23      Q Okay. Back to the Future.
 24        something since. Okay. We didn't do anything       24      A So you will see there maybe the
 25        since the lawsuit. But as far as I remember,       25   gastric.care. Even if you don't see -- because the


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  1    important thing that customers see are on              1   the FTC, maybe legal, things that she will need to
  2    gastric.care. Is that helpful?                         2   prepare for. And I said, you know what, I don't
  3        Q It perhaps is. But let's move on to some         3   know what expenses you will have. Printing papers,
  4    additional topics. I want to try to get us over the    4   preparing. We knew that, you know -- we knew that
  5    goal line here.                                        5   it will come to that she will have to prepare. And
  6           (Thereupon, Plaintiff's Exhibit No. 128         6   I said, you know what, I don't -- let me forward you
  7        was marked for identification.)                    7   some money. See what expenses that you will have
  8           Will you please look at Exhibit 128, and        8   during August, and the rest please return to us
  9    tell me if you recognize Exhibit 128. Actually, can    9   let's say within a month.
 10    I have that back.                                     10       Q Was she also still working for Roca Labs
 11           Mr. Juravin, tell me if you recognize          11   at the time, right?
 12    Exhibit 128, please. It's a composite exhibit with    12       A Yes.
 13    two separate one page documents.                      13       Q And her normal pay would come from PayPal,
 14        A Looks the same to me.                           14   correct?
 15        Q These are coming from the Sharon King           15       A She could normally earn about 2,000 or
 16    production. Do you recognize Exhibit 128?             16   something. So I figured out that maybe she's
 17        A Yes.                                            17   getting an advance for the next couple of months.
 18        Q What is Exhibit 128?                            18   Plus, she will have a lot of expenses of papers and
 19        A Forwarding money to Sharon King.                19   time and a lot of things. Then she needed some
 20        Q Who forwarding money to Sharon King?            20   money because she was moving to another job and she
 21        A Me.                                             21   didn't have. And I said, you know what, you worked
 22        Q By what means?                                  22   for me for six years, I'm giving you an advance.
 23        A Either the bank or PayPal.                      23   Anyway you work for it. So look at it like I paid
 24        Q So this is -- the first page is a July 1,       24   you three months in advance. So either you return
 25    2016 transfer of $1,600 to Sharon King; is that       25   the difference. Use it for whatever you need. We

                                                      369                                                         371
  1    correct?                                               1   know each other for six years. And you'll give me
  2        A Yes.                                             2   back in the next couple of months.
  3        Q And is this money coming from Muscular           3      Q So this $8,000 advance of course was done
  4    Obesity?                                               4   on August 15th, which is the date that the FTC filed
  5        A Always.                                          5   a motion for an asset freeze. You recall that?
  6        Q And it's coming from the Muscular Obesity        6      A Nothing to do with that.
  7    PayPal account in this case?                           7      Q But it was the same date, correct?
  8        A I don't remember, but I think so.                8      A I don't even recall the asset freeze and
  9        Q Let's look at the second page. What is           9   the time.
 10    the second page of Exhibit 128?                       10      Q So did Ms. King in fact earn and record
 11        A The second page is giving Sharon King an        11   hours for the $8,000?
 12    advance.                                              12      A No. No.
 13        Q Of how much money?                              13      Q What do you mean no?
 14        A Eight thousand.                                 14      A The $8,000 was advance. It's marked
 15        Q On what date?                                   15   advance.
 16        A August 15.                                      16      Q No, not as of August 15th. But did she
 17        Q 2016, correct?                                  17   subsequently work and collect the money, earn the
 18        A Yes.                                            18   money, work the hours, record the hours?
 19        Q What was this an advance for?                   19      A If she worked the hours in September,
 20        A I don't remember. But I think it was a          20   October, and so on or before?
 21    combination of things. Number one, Sharon King        21      Q In August, the remainder of August,
 22    needed the money. I don't remember if it was          22   September and October, yes.
 23    something with her son's school. I don't remember     23      A She never gave me the balance.
 24    what it was. But I know the main thing I wanted       24      Q No. Did she record the hours that she
 25    to -- we discussed her having forward expenses with   25   worked?


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  1        Q Felicia E'bara?                                   1   secretaries. Does that sound --
  2        A Felicia is somebody that I think Sharon           2       A The same thing as I said. The same thing.
  3    tried to train to help her. Tried to duplicate          3       Q What were generally their duties?
  4    Sharon a few times unsuccessfully. So I think           4       A Sharon needed help. And I said, Sharon,
  5    Felicia was one of them.                                5   duplicate yourself. So she looked for -- she tried
  6        Q Josh Roth?                                        6   to do it with those people. She will say secretary.
  7        A Yes. He's a guy from Boston that helped           7   I say duplication; the same.
  8    me with English, and he will help me to write           8       Q Then you mentioned the name Priscilla
  9    something on the web.                                   9   Cucata Laporte?
 10        Q He helped writing the scripts for the lab        10       A I did not say the last one.
 11    coat videos, correct?                                  11       Q It's on the list here. Priscilla Cucata
 12        A No. Lab is completely me. He will maybe          12   Laporte, L-A-P-O-R-T-E. She's someone you plan to
 13    do editing, maybe fix, but the lab is totally me.      13   have testify next week; is that correct?
 14    The lab people represented me, what I wanted to say.   14       A Yes.
 15        Q So the lab people I think in Sharon King's       15       Q But she's currently working for Roca Labs;
 16    deposition, she referred to one as a woman named       16   is that right?
 17    Morgan; is that correct?                               17       A For Muscular Obesity, MCO.
 18        A Yes, Morgan. And the other guy is Brian.         18       Q As part of the Roca Labs business?
 19    Brian and Morgan.                                      19       A There is no Roca Labs business.
 20        Q What was Morgan's last name?                     20       Q In selling the Roca Labs brand?
 21        A No idea.                                         21       A There is no Roca Labs brand.
 22        Q What was Brian's last name?                      22       Q As of when?
 23        A No idea. But he's the guy from the               23       A As of when you killed it.
 24    hair -- the one that dyed their hair for the Hair      24       Q So there's no rocalabs.com website
 25    for Men; Only for Men.                                 25   anymore?

                                                       385                                                         387
  1        Q So he's in a different commercial?                1       A There is.
  2        A He's a commercial guy.                            2       Q That's what I mean. In association with
  3        Q Who did you hire -- what production               3   things sold through the rocalabs.com website.
  4    company did you hire to create the lab coat videos?     4       A The formula is the same formula. But we
  5        A It's a guy from Coconut.                          5   are moving away from the Roca Labs name because you
  6        Q Coconut, Florida, a town?                         6   guys killed it. By you guys, I mean the FTC, Carl
  7        A Yeah, Coconut something in Miami, near            7   and Paul.
  8    Miami, and he's the guy that did it. But everything     8       Q Editorializing aside, what does
  9    was completely based on the script that I gave them,    9   Priscilla -- when did Priscilla start working with
 10    because I could not stand in front of the camera.      10   MCO?
 11    So I did the script that I wanted.                     11       A I don't remember. Six months ago maybe.
 12        Q But do you remember what his name was? Do        12       Q What are her -- there's some duties listed
 13    you remember what the --                               13   in the interrogatory response. What is it --
 14        A No.                                              14       A Support, Facebook, and a little bit
 15        Q Do you remember what the name of the             15   helping my wife in the warehouse.
 16    company was?                                           16       Q So what does she do on Facebook?
 17        A No. But to save time, every word that            17       A Answer comments. Priscilla has two hats.
 18    they said was mine rough only fix my English, that's   18   There's Priscilla, the individual who lost she says
 19    all. They really represented what I wanted to say.     19   100 pounds, 80 pounds, whatever, which I never deal
 20        Q Jacqueline Eiffle, do you recognize that         20   with because it's her personal life. It's personal.
 21    name?                                                  21   And there is Priscilla that works in the company and
 22        A Yes, from New Jersey. She's the same as          22   she manages the -- she manages the Facebook support,
 23    Felicia, trying to do what Sharon is doing.            23   and all the customer and non-customer interaction.
 24        Q So I believe that Sharon King described          24       Q In terms of current programmers and
 25    Jacqueline Eiffle and perhaps also Felicia as          25   designers working with MCO, who's in that line-up at


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  1    the moment?                                             1      A I'm trying to see how I got it. I would
  2       A Just one I have.                                   2   guesstimate it about seven.
  3       Q Who is that?                                       3      Q About how many total customers have bought
  4       A Mac.                                               4   from the rocalabs.com website between 2009 and
  5       Q And that's someone just to spell out the           5   September 2015?
  6    name in full.                                           6      A How many years is it?
  7       A M-A-C.                                             7      Q Approximately --
  8       Q I thought it was M-A --                            8         MS. MARTENY: Six.
  9       A I'm sorry, M-A-K.                                  9         MR. SETTLEMYER: -- five or six.
 10       Q It was an acronym for if I'm not mistaken,        10         THE WITNESS: 50 to 60,000 customers. 80
 11    and correct me if I'm wrong --                         11      to 90,000 users.
 12       A Now I see your point, yes. I did not know         12   BY MR. SETTLEMYER:
 13    that by the way, but yes.                              13      Q There was in the documents produced to us
 14       Q He's not Mussa --                                 14   probably last year one human clinical study of the
 15       A No. It's Mussa Azhar Kamal, correct?              15   Roca Labs product. What I want to know is since
 16       Q And that's M-U-S-S-A, A-Z-H-A-R,                  16   that one was produced, have any others been
 17    K-A-M-A-L, correct?                                    17   commissioned? Any other human clinical studies of
 18       A Yes.                                              18   the product?
 19       Q And he's based in Pakistan?                       19      A Number one, no. Number two, it's only for
 20       A Yes.                                              20   the morning dose. I think it was only the morning
 21       Q And he's been working with Roca Labs and          21   dose.
 22    Muscular Obesity for a number of years?                22      Q I'm just trying to identify, were there
 23       A Only Muscular Obesity.                            23   any other clinical trials subsequent to the one that
 24       Q When did he start working with Muscular           24   was produced?
 25    Obesity?                                               25      A No.

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  1        A I don't know. A year ago, year and a half         1       Q I want to ask about your education. I've
  2    ago.                                                    2   already asked Mr. Whiting. I've already asked
  3        Q Is Fahad Uden, formerly known as Jack,            3   Dr. Finesmith about his.
  4    still doing any work with Muscular Obesity?             4          What is your educational background? I
  5        A No.                                               5   know that you went to -- I believe you went to
  6        Q And Mussa is also --                              6   Gonzaga University in Washington for a time?
  7        A No.                                               7       A I studied economics in Tel Aviv and don't
  8        Q Prashant Patel, Peter?                            8   remember how much. I transferred the credits to --
  9        A Peter, no.                                        9   I studied a little in Germany, which is nothing.
 10        Q Let me go through just a few clean up            10   Shouldn't be mentioned. And I studied pre-med in
 11    questions in different categories and see if we can    11   Gonzaga.
 12    get towards the end.                                   12       Q So what sort of classes did you take in
 13           One question I was asking Mr. Whiting           13   the pre-med curriculum in Gonzaga?
 14    yesterday is whether he could say from a corporation   14       A It's biology chemistry. Mainly biology
 15    standpoint how much money was paid from Roca Labs,     15   chemistry and a little bit of psychology.
 16    Inc., Roca lab Nutraceutical and Muscular Obesity to   16       Q Did any of that involve assessing clinical
 17    Don Juravin?                                           17   studies of substances and their affect on human
 18        A For the invention?                               18   beings?
 19        Q How many dollars between 2009 and                19       A Even if it did, it's nothing that can
 20    September 2015 went from those businesses to Don       20   allow me to be an expert in any field. Nothing.
 21    Juravin for any reason at all total? How much          21       Q So I want to move on to and just ask do
 22    approximately, if you can tell me?                     22   you have any sort of certification or degree that
 23        A I will throw a number that will be maybe         23   you earned at any point based on the college
 24    seven million. Because I lost in the stock about --    24   courses?
 25        Q I'm not asking what you lost in the stock.       25       A Nothing that I have as a formal education

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  1    that will allow me to use any title of a doctor or      1      A Completely independent. I just give them
  2    understanding how to read the clinical or give          2   the subject. I give them the goals. I challenge
  3    psychological advice or give any medical advice.        3   them. I re-challenge their results. And then we
  4    And I'm actually an expert in one thing, what not to    4   create a review that it's basically we think it's
  5    do in a marriage. Aside from that, I'm not expert       5   always the most comprehensive possible, because I
  6    in anything else. By now, by the way, and now I'm       6   give them a lot of time to really search the entire,
  7    not kidding, I do consider myself an expert in the      7   you know, everything possible.
  8    field of weight reduction just because I've gained      8      Q How do you communicate with members of
  9    so much experience with so many people that I           9   this research team? Is it by e-mail or some other
 10    believe that I can -- just because I have so much      10   means?
 11    experience, I do believe I can advise. But not         11      A On Skype. Mainly meeting on Skype. Less
 12    psychological, not medical, or anything like it.       12   writing and more talking to them.
 13        Q Have you published any sort of articles          13      Q Do you only speak with them on Skype?
 14    relating to weight loss other than what has been put   14      A Yes. It's Skype and then we share a
 15    on to the rocalabs.com website?                        15   document. So I see what they are doing. So when I
 16        A I do have about 58 of them that I worked         16   see what they are doing, I will tell them, I don't
 17    on -- okay. I didn't publish, but I worked on many     17   like the direction here, I think you should look in
 18    since I started with Roca Labs. In other words,        18   that direction.
 19    every time that I will search on a certain             19      Q So the document is shared through images
 20    ingredient, I will do a whole search on it. I never    20   on Skype; is that correct? Like a screen sharing --
 21    put it in writing all the pieces together. So I        21      A Yes, we share. Yes. We share, I look, I
 22    will search an ingredient, what does it do and the     22   comment, we change. And then -- but they have a
 23    side effects, and read articles and read research,     23   normally independent work. They work completely
 24    and consult with doctors and pharmaceutical. Many,     24   independently. Sometimes I will give them a subject
 25    many, many people. But I never put it in writing.      25   and they will come back after a few days and say we

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  1     In the last year and a half, I did put a thing         1   found nothing.
  2     together and I asked them to follow my lead as far     2      Q Do you keep any copies of what they are
  3     as creating reviews. It's called reviews. So I do      3   working on in terms of drafts that you comment on?
  4     have the reviews here.                                 4      A No, it's verbally. It's a lot of facts
  5         Q And I think you produced some of those to        5   and issues. They don't type fast. We all with
  6     us previously if I'm not mistaken?                     6   different accents and we try to understand each
  7         A I think I have the whole folder here.            7   other. But the results are quite impressive I
  8         Q Those reviews are -- let me ask. Who's on        8   think.
  9     the team?                                              9          MS. MARTENY: It's 4:48. We're running
 10         A Harvard, a doctor, a neurologist. Harvard       10      out of time.
 11     fellow, Moteie, M-O-T-E-I-E.                          11          MR. SETTLEMYER: I'm going to try to wrap
 12         Q Okay.                                           12      up momentarily here.
 13         A Then there are two pharmacists from the         13          THE WITNESS: But there is almost nothing
 14     Far East. Kelley from England, a dietician. And       14      in what I have in the research that I haven't
 15     that's it. And myself. I'm directing them what I      15      done years ago. Just the first time I do them
 16     want. I challenge them. And I'm kind of the           16      in writing.
 17     director of the entire thing.                         17   BY MR. SETTLEMYER:
 18         Q Are any of them independently doing             18      Q I want to talk about the current practices
 19     literature research to create the reviews that        19   of Muscular Obesity with respect to qualification,
 20     you're asking them to put together?                   20   customer qualification to order the product.
 21         A I don't understand the question.                21          Is there still a qualification process
 22         Q Well, are you giving them articles to           22   that perspective customers have to go through by
 23     summarize and to create the reviews or are they       23   entering information on the web to purchase the
 24     independently searching for the articles they're      24   product?
 25     using --                                              25      A Yes.


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  1        Q Is there still health information being           1   trying to --
  2    elicited from perspective customers to allow them to    2      A But no. The answer is no. By the way,
  3    qualify to purchase?                                    3   you're not trying hard enough.
  4        A Not as elaborate as before. But if                4      Q In the past couple of weeks, on what I'm
  5    somebody has kidney issues, we will not sell them       5   hoping is my last topic, some documents were
  6    wheat. So, yes, we do qualify them.                     6   produced to us that were exports of Google Adwords
  7        Q So what are the criteria? What's the              7   and analytics information. Are you familiar with
  8    information being requested at this point?              8   those documents?
  9        A I don't recall for some reason, but               9      A Yes. It's really from the past.
 10    similar information. Similar information. Mainly       10      Q One of the questions I had is whether --
 11    we're trying to disqualify them. The main goal is      11   in some of those documents there were no date ranges
 12    to try and disqualify them.                            12   provided or evident in the spreadsheets.
 13        Q So is there height, weight and age               13      A They are dead accounts. We don't use them
 14    information elicited?                                  14   anymore.
 15        A Age, yes.                                        15      Q From what time period were those accounts?
 16        Q Height?                                          16      A Stopped about a year ago. I would look up
 17        A Yes.                                             17   maybe something got messed up in Excel, because they
 18        Q Weight?                                          18   should have dates.
 19        A Yes. Oh, and a lot of what you eat. We           19      Q Some of the documents do have dates, but
 20    help them -- yes, how can I forget. Yes, I'm sorry.    20   others don't. And that's just why I want to know
 21    It's not only trying to disqualify them. It's a        21   just generally if you recall. I'm assuming you had
 22    complete weight analysis that trying to open their     22   some involvement --
 23    eyes to what's the reasons for them being              23      A 2009 till 2015, '16. You shut us down
 24    overweight.                                            24   after the FTC.
 25        Q On how many occasions would you                  25      Q Right. The account that that's under,

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  1    estimate -- change topics -- over the past year MCO     1   what name is that under? How is that accessed just
  2    has communicated with any purchasers of Roca Labs       2   mechanically?
  3    product about alleged law violations, contractual       3       A It's like something from the past. We had
  4    provisions and making negative comments?                4   one or two. And whatever it is I transferred, I
  5        A We don't -- how many times did we have to         5   just followed your lead and I transferred everything
  6    threaten somebody that we will sue them if they will    6   all at once to you guys. The dates should be there.
  7    do something negative?                                  7   What dates did you try to find? What relations
  8        Q In the past year, yes.                            8   between the dates and the -- you wanted to know
  9        A Not even once. I think they brought to my         9   what played when?
 10    attention once or twice. Maybe then I sent             10       Q I'm trying to ascertain what ads were run
 11    something and I said, listen, you cannot ask for       11   at what times --
 12    your money back if this one. The customers are so      12       A All the time all the ads.
 13    happy and so understanding. I don't think even         13       Q What key words were being used?
 14    once, twice maybe.                                     14       A All the time the same. We never change
 15        Q Since the lawsuit was filed by the FTC in        15   it. Never. All the time all the key words --
 16    September of 2015, has Roca Labs filed any new         16       Q Yes.
 17    lawsuits against customers for any reason?             17       A -- that relate to bariatric surgery in all
 18        A There is almost no Roca Labs.                    18   formats. Never, almost never weight loss, diet.
 19        Q Well, Muscular Obesity.                          19   That's word that we completely -- that's bad for us.
 20        A No. With customers?                              20       Q Had they been used in the past however?
 21        Q Yes.                                             21       A Diet?
 22        A No, no, no. Even the ones that we did in         22       Q Yes.
 23    the past, we did only to show as an example to         23       A Maybe, maybe 2009 when the price was
 24    others --                                              24   cheap. We maybe competed. But when you say the
 25        Q You're not answering my question now. I'm        25   word diet, it's 40, $50. We are dealing with, you


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  1    know, an alternative to the surgery. So no diet,        1   inserted, and that would be what the user sees,
  2    weight loss and stuff. Bariatric surgery, that's        2   correct?
  3    what we are after. Maybe the first few days. And        3      A Yes, but only the key word.
  4    don't get confused if the name of the group is          4      Q Only the key words that you had been
  5    weight loss or diet lab. That just names -- no key      5   bidding on?
  6    words.                                                  6      A Exactly.
  7       Q That may not correlate?                            7      Q Which would be the bariatric surgery terms
  8       A No, it doesn't correlate.                          8   that you were --
  9       Q So the ad groups would have different --           9      A Exactly.
 10    I'm trying to use the Google terminology. So you       10         MS. MARTENY: I really do have a hard
 11    would create ad groups, correct? Yes?                  11      stop. I have to go get my kid.
 12       A Yes. And the programmer can give you that         12         MR. SETTLEMYER: What time is it?
 13    name.                                                  13         MS. MARTENY: I don't think that we would
 14       Q But the ad groups would have, for example,        14      be going this long. It's 4:58.
 15    a dozen different ads that would be in an ad group,    15         MR. SETTLEMYER: 4:58. Okay. Give me 10
 16    right, or maybe hundreds?                              16      seconds to converse with Mike.
 17       A Yes. They mix all the time between them.          17         (A brief recess.)
 18    Between the ads and between the key words. And we      18         Aside from the topics we've reserved to
 19    did it on a Google automate, because I didn't have     19      talk about tomorrow and I guess subject to any
 20    the personnel to do it. So we didn't have the          20      subsequent disclosures of information that we
 21    personnel. We just threw all the ads. And that's       21      might need to pick up relating to the
 22    why it was like 35, 40 percent of the cost. Because    22      companies, I don't have any further questions
 23    we threw all the key words, all the ads, and we let    23      for the corporate representative here.
 24    them mix.                                              24         MS. MARTENY: Okay. Good deal. So we'll
 25       Q In some of the Google ads that we looked          25      see you tomorrow and then talk about more

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  1    at in the paper production yesterday, it looked like    1      stuff. I just wanted to put on the record that
  2    there were placeholders in some of the ad copy for      2      Exhibit 123, we would like to have marked
  3    key words to be inserted. Does that sound correct?      3      confidential.
  4        A It doesn't matter. I'll explain.                  4         (Thereupon, the proceedings concluded for
  5        Q Okay.                                             5      the day at 4:58 P.M.)
  6        A I'll explain. I'll explain it like this.          6
  7    You say like this. I still -- okay. I'm saying          7
  8    like this. The ad will read do you want                 8
  9    placeholder.                                            9
 10        Q Yes.                                             10
 11        A But then again we say only bariatric             11
 12    surgery words. Gastric bypass, lap band. So you        12
 13    said lap band. So it says, "Do you want lap band?"     13
 14        Q So if the key word -- if the search term         14
 15    of the user were lap band, and the Google              15
 16    advertising system recognized that and placed in the   16
 17    Google ad -- the Roca Labs ad, it would insert the     17
 18    word lap band into the ad?                             18
 19        A Yes. But we will not give it words like          19
 20    diet or weight loss.                                   20
 21        Q So really whenever we see those listings         21
 22    in the ad in that exhibit we looked at yesterday       22
 23    with the Google text ads, any time there's a           23
 24    placeholder that would say I think key word, right,    24
 25    that would be the key word of the user would be        25

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